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 1   DENNIS J. HERRERA, State Bar #139669
     City Attorney
 2   RONALD P. FLYNN, State Bar #184186
     Chief Deputy City Attorney
 3   YVONNE R. MERÉ, State Bar #173594
     Chief of Complex and Affirmative Litigation
 4   OWEN J. CLEMENTS, State Bar #141805
     JAIME M. HULING DELAYE, State Bar #270784
 5   Deputy City Attorneys
     Fox Plaza
 6   1390 Market Street, Sixth Floor
     San Francisco, California 94102-5408
 7   Telephone:    (415) 554-3944
     Facsimile:    (415) 437-4644
 8   E-Mail:       owen.clements@sfcityatty.org

 9   Attorneys for Plaintiffs CITY AND COUNTY OF SAN FRANCISCO, CALIFORNIA
     and THE PEOPLE OF THE STATE OF CALIFORNIA, acting by
10   and through San Francisco City Attorney DENNIS J. HERRERA

11   [Additional counsel appear on signature page.]

12                                 UNITED STATES DISTRICT COURT

13                               NORTHERN DISTRICT OF CALIFORNIA

14    THE CITY AND COUNTY OF SAN                      Case No. 3:18-cv-7591
      FRANCISCO, CALIFORNIA and THE
15    PEOPLE OF THE STATE OF CALIFORNIA,              COMPLAINT FOR: (1) PUBLIC NUISANCE
      acting by and through San Francisco City        (IN THE NAME OF THE PEOPLE OF THE
16    Attorney DENNIS J. HERRERA,                     STATE OF CALIFORNIA); (2) PUBLIC
                                                      NUISANCE (ON BEHALF OF THE CITY AND
17           Plaintiffs,                              COUNTY OF SAN FRANCISCO);
                                                      (3) VIOLATION OF CALIFORNIA UNFAIR
18           vs.                                      COMPETITION LAW; (4) VIOLATION OF
                                                      FALSE ADVERTISING LAW; (5) VIOLATION
19                                                    OF RACKETEER INFLUENCED AND
      PURDUE PHARMA L.P., RICHARD S.                  CORRUPT ORGANIZATIONS ACT;
20    SACKLER, JONATHAN D. SACKLER,                   (6) NEGLIGENCE; (7) NEGLIGENT
      MORTIMER D.A. SACKLER, KATHE A.                 MISREPRESENTATION; AND
21    SACKLER, ILENE SACKLER LEFCOURT,                (8) FRAUDULENT CONCEALMENT
      BEVERLY SACKLER, THERESA
22    SACKLER, DAVID A. SACKLER, TRUST
      FOR THE BENEFIT OF MEMBERS OF THE
23    RAYMOND SACKLER FAMILY, RHODES
      PHARMACEUTICALS L.P., CEPHALON,
24    INC., TEVA PHARMACEUTICAL
      INDUSTRIES LTD., TEVA
25    PHARMACEUTICALS USA, INC., ENDO
      INTERNATIONAL PLC, ENDO HEALTH
26    SOLUTIONS INC., ENDO
      PHARMACEUTICALS INC., JANSSEN
27    PHARMACEUTICALS, INC., INSYS                    DEMAND FOR JURY TRIAL
      THERAPEUTICS, INC., MALLINCKRODT,
28    [Caption continued on following page]

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     PLC, MALLINCKRODT LLC, ALLERGAN
 1   PLC f/k/a ACTAVIS PLC, WATSON
     PHARMACEUTICALS, INC. n/k/a
 2   ACTAVIS, INC., WATSON
     LABORATORIES, INC., ACTAVIS LLC,
 3   ACTAVIS PHARMA, INC. f/k/a/ WATSON
     PHARMA, INC., AMERISOURCEBERGEN
 4   CORPORATION, CARDINAL HEALTH,
     INC. and McKESSON CORPORATION,
 5   Defendants.
 6         Defendants.
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 1          This civil action is a potential tag-along action and, in accordance with 28 U.S.C. §1407, should

 2   be transferred to the United States District Court for the Northern District of Ohio to be included in In

 3   re National Prescription Opiate Litigation, MDL No. 2804 (Hon. Dan A. Polster), for purposes of

 4   coordinated and consolidated pretrial proceedings.

 5   I.     INTRODUCTION
 6          1.      California, like many states across the country, is facing an unprecedented opioid

 7   addiction epidemic. In 2017, there were nearly 22 million opioid prescriptions in California.1 The

 8   opioid addiction epidemic claimed the lives of more than 2,190 Californians in 2017.2 That same year

 9   saw opioid overdoses straining California hospitals with 4,281 emergency room visits.3

10          2.      In 2014, more than 47,000 people died in the United States from lethal drug overdoses.

11   In 2015, that number exceeded 52,000.4 In 2016, it exceeded 63,000 – more than the number of

12   Americans who died during the entirety of the Vietnam War, and more than the number of Americans

13   who die from breast cancer every year.5 Sadly, this trend shows no sign of slowing. The number of

14   overdose deaths in 2017 is estimated to have been more than 72,000.6

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            1
                    2017 California Opioid Overdose Surveillance Dashboard, California Department of
18   Public Health (hereinafter, “2017 California Opioid Overdose Surveillance”),
     https://discovery.cdph.ca.gov/CDIC/ODdash/ (last visited Dec. 14, 2018).
19
            2
                    Id.
20           3
                    Id.
             4
21                  Overdose Death Rates, National Institute of Drug Abuse,
     https://www.drugabuse.gov/related-topics/trends-statistics/overdose-death-rates (hereinafter,
22   “Overdose Death Rates”) (last visited Dec. 14, 2018).
             5
                    Vietnam War U.S. Military Fatal Casualty Statistics, National Archives,
23   https://www.archives.gov/ research/military/vietnam-war/casualty-statistics.html (last visited Dec. 14,
     2018); Rose A. Rudd et al., Increases in Drug and Opioid Involved Overdose Deaths – United States,
24   2010-2015, 65 Morbidity & Mortality Weekly Report 1445-52 (2016),
     https://www.cdc.gov/mmwr/volumes/65/wr/mm655051e1.htm (hereinafter, “Rudd, Increases in Drug
25   and Opioid Involved Overdose”); Nadia Kounang, Opioids now kill more people than breast cancer,
     CNN (Dec. 21, 2017), https://www.cnn.com/2017/12/21/health/drug-overdoses-2016-final-
26   numbers/index.html.
             6
27                  Centers for Disease Control and Prevention National Center for Health Statistics, Vital
     Statistics Rapid Release Provisional Drug overdose Death Counts,
28   https://www.cdc.gov/nchs/nvss/vsrr/drug-overdose-data.htm (last visited Dec. 14, 2018).

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 1          3.      More than three out of five of those deaths involve opioids – a dangerous, highly

 2   addictive and often lethal class of natural, synthetic and semi-synthetic painkillers.7 Prescription opioids

 3   include brand-name medications like OxyContin, Opana, Subsys, Fentora and Duragesic, as well as

 4   generics like oxycodone, methadone and fentanyl. In all, more than 200,000 people died in the United

 5   States between 1999 and 2016 from overdoses directly related to prescription opioids.

 6          4.      That number does not take into account the staggering number of additional illicit opioid

 7   deaths that can be related back to prescribed opioids. Four out of five new heroin users began first with

 8   prescription opioid misuse.8 It is thus unsurprising that heroin overdose deaths increased in lockstep

 9   with those attributed to prescription opioids; the Centers for Disease Control found a fivefold increase

10   in the heroin death rate between 2002 and 2014.9 According to an article published in the New England

11   Journal of Medicine, two studies found that almost 80% of heroin users reported using prescription

12   opioids before initiating heroin use.10 Further, heroin use increased almost 140% among non-medical

13   users of prescription opioids from the period 2002-2004 to the period 2011-2013.11 These changes

14   appear to be driven primarily by market forces – “increased accessibility, reduced price, and high purity

15   of heroin appear to be major drivers of the recent increases in rates of heroin use” and predate most

16   policies aimed at combatting the abuse and diversion of prescription opioids.12

17          5.      Further, according to Robert Anderson (“Anderson”), Chief of the Mortality Statistics

18   Branch of the National Center for Health Statistics, deaths from synthetic opioids have undergone “more

19
            7
                    And nearly half of those involve legal opioids prescribed by doctors to treat pain.
20
            8
                    Christopher M. Jones, Heroin use and heroin use risk behaviors among nonmedical
21   users of prescription opioid pain relievers – United States, 2002-2004 and 2008-2010, 132 (1-2) Drug
     and Alcohol Dependence 95-100 (Sept. 1, 2013), http://www.drugandalcoholdependence.com/article/
22   S0376-8716(13)00019-7/fulltext.
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                    Centers for Disease Control and Prevention National Center for Health Statistics,
23   Number and age-adjusted rates of drug-poisoning deaths involving opioid analgesics and heroin:
     United States, 1999-2014,
24   http://www.cdc.gov/nchs/data/health_policy/AADR_drug_poisoning_involving_
     OA_Heroin_US_2000-2014.pdf (last visited Dec. 14, 2018).
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                    Wilson M. Compton et al., Relationship between Nonmedical Prescription-Opioid Use
26   and Heroin Use, 374 N. Eng. J. Med 154-63 (2016), https://www.nejm.org/doi/full/10.1056/
     NEJMra1508490.
27           11
                    Id.
            12
28                  Id.

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 1   than an exponential increase”13 with an expected trend line for 2017 deaths that “will be at least as steep

 2   as 2016, if not steeper.”14 Between 2005 and 2016, fatal overdoses from synthetic opioids doubled.

 3   “This surge in overdose deaths resulted in the first two-year drop in average U.S. life expectancy since

 4   the early 1960s.” In all, more than 200,000 people died in the United States between 1999 and 2016

 5   from overdoses directly related to prescription opioids.15

 6           6.      Public health officials have called the current opioid epidemic the worst drug crisis in

 7   American history.16 According to Anderson, “I don’t think we’ve ever seen anything like this. Certainly

 8   not in modern times.”17 On October 26, 2017, President Donald Trump declared it a public health

 9   emergency. According to recent estimates, as many as 145 people in the United States die every day

10   from opioid overdoses.18

11           7.      The following charts19 illustrate the rise of opioid-related overdose deaths in the United

12   States:20

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16           13
                     Internal quotation marks are omitted throughout this complaint except where the
     internal quotation marks set off a quote that resides within a longer quoted passage.
17
             14
                     Christopher Ingraham, CDC releases grim new opioid overdose figures: ‘We’re talking
18   about more than an exponential increase,’ Wash. Post (Dec. 21, 2017),
     https://www.washingtonpost.com/news/wonk/wp/2017/12/21/cdc-releases-grim-new-opioid-overdose-
19   figures-were-talking-about-more-than-an-exponential-increase/?utm_term=.ad8576e16bea.
             15
                     Prescription Opioid Overdose Data, Centers for Disease Control and Prevention:
20   Opioid Overdose, https://www.cdc.gov/drugoverdose/data/overdose.html (last visited Dec. 14, 2018).
             16
21                   Julie Bosman, Inside a Killer Drug Epidemic: A Look at America’s Opioid Crisis, N.Y.
     Times (Jan. 6, 2017), https://www.nytimes.com/2017/01/06/us/opioid-crisis-epidemic.html.
22           17
                     Drug overdoses now kill more Americans than guns, CBS News (Dec. 9, 2016),
     https://www.cbsnews.com/news/drug-overdose-deaths-heroin-opioid-prescription-painkillers-more-
23   than-guns/.
             18
24                   Patrick R. Keefe, The Family that Built an Empire of Pain, The New Yorker (Oct. 30,
     2017), https://www.newyorker.com/magazine/2017/10/30/the-family-that-built-an-empire-of-pain
25   (hereinafter, “Keefe, Empire of Pain”).
             19
                     German Lopez & Sarah Frostenson, How the opioid epidemic became America’s worst
26   drug crisis ever, in 15 maps and charts, Vox (Mar. 29, 2017), http://www.vox.com/science-and-
     health/2017/3/23/14987892/opioid-heroin-epidemic-charts (hereinafter, “Lopez, How the opioid
27   epidemic”).
             20
28                   Overdose Death Rates, supra n.4.

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22          8.      The opioid crisis and related expenses continue to grow. According to a report issued on

23   February 13, 2018 by Altarum, a nonprofit health systems research and consulting organization, the cost

24   of the country’s opioid crisis is estimated to have exceeded $1 trillion from 2001 to 2017, and is

25   projected to cost an additional $500 billion by 2020:21

26
            21
27                  Economic Toll Of Opioid Crisis In U.S. Exceeded $1 Trillion Since 2001, Altarum
     (Feb. 13, 2018), https://altarum.org/about/news-and-events/economic-toll-of-opioid-crisis-in-u-s-
28   exceeded-1-trillion-since-2001.

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17   Indeed, the Council of Economic Advisers, an agency within the Executive Office of the President of

18   the United States, concluded in a November 2017 report that the economic cost of the opioid crisis was

19   $504 billion in 2015 alone. That figure is 2.8% of the 2015 gross domestic product.22

20          9.     According to a Centers for Disease Control and Prevention (“CDC”) report issued in

21   March 2018, hospital emergency room visits for opioid overdoses rose 30% nationwide between July

22   2016 and September 2017, with overdoses increasing by 54% in large cities:

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            22
                  The Council of Economic Advisors, The Underestimated Cost of the Opioid Crisis 1
27   (Nov. 2017),
     https://www.whitehouse.gov/sites/whitehouse.gov/files/images/The%20Underestimated%
28   20Cost%20of%20the%20Opioid%20Crisis.pdf.

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11          10.    On February 27, 2018, then-Attorney General Jeff Sessions announced the creation of

12   the U.S. Department of Justice (“DOJ”) Prescription Interdiction & Litigation (“PIL”) Task Force to

13   fight the prescription opioid crisis.23 “We have no time to waste,” then-Attorney General Sessions

14   proclaimed. He continued:

15          “Every day, 180 Americans die from drug overdoses. This epidemic actually lowered
            American life expectancy in 2015 and 2016 for the first time in decades, with drug
16          overdose now the leading cause of death for Americans under age 50. These are not
            acceptable trends and this new task force will make us more effective in reversing them
17          and saving Americans from the scourge of opioid addiction.”
18          11.    According to the press release accompanying its announcement, the PIL Task Force will,

19   among other things, seek criminal and civil remedies to hold opioid manufacturers accountable for

20   unlawful practices to ensure that distributors and pharmacies are obeying U.S. Drug Enforcement

21   Administration (“DEA”) rules designed to prevent diversion and improper prescribing. In addition,

22   then-Attorney General Sessions directed the PIL Task Force to examine state and local government

23   lawsuits against opioid manufacturers to determine what assistance federal law, and presumably federal

24   agencies such as the DEA, can provide.

25   //

26
            23
27                  Press Release, U.S. Department of Justice, Attorney General Sessions Announces New
     Prescription Interdiction & Litigation Task Force (Feb. 27, 2018), https://www.justice.gov/
28   opa/pr/attorney-general-sessions-announces-new-prescription-interdiction-litigation-task-force/.

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 1          12.     The City and County of San Francisco (“San Francisco”) has been hard-hit by the opioid

 2   crisis and has expended substantial resources to combat its effects for more than a decade. San Francisco

 3   responded to the crisis swiftly, but its efforts have been stymied and overwhelmed by the magnitude of

 4   the epidemic. In 1999, for example, San Francisco began a program providing opioid users with

 5   treatment on demand with methadone and, later, buprenorphine. Under this program, San Francisco

 6   provided among the promptest access to these treatments by any locality. Indeed, heroin use indicators

 7   consistently showed a peak in 1999 in the San Francisco Bay Area, followed by a significant decline.24

 8   And yet, in the early 2000s, San Francisco was consistently ranked among the worst metropolitan areas

 9   for emergency room visits related to heroin.25

10          13.     Similarly, in 2003, San Francisco was the first city in the United States to make naloxone,

11   an emergency medication that rapidly reverses opioid overdoses, readily available to members of the

12   public through a partnership between the San Francisco Department of Public Health (“SFDPH”) and a

13   community-based program, the Drug Overdose Prevention and Education Project (“DOPE Project”).26

14   The goal of the DOPE Project was to integrate overdose prevention education and naloxone distribution

15   into all settings serving people at risk for opioid overdose. 27 DOPE Project staff and SFDPH medical

16   providers have trained and distributed naloxone at syringe exchange programs, re-entry programs, pain

17   management clinics, methadone maintenance and buprenorphine treatment programs and single room

18   occupancy hotels.28 These efforts also included training 65 librarians at the public library on naloxone

19   administration in 2017.29 In 2017 alone, the program reported 1,247 overdose reversals, a number that

20   does not include naloxone administered by the San Francisco Police Department or paramedics or

21          24
                   John A. Newmeyer, Patterns and Trends of Use in the San Francisco Bay Area, 35 J.
     of Psychoactive Drugs 127-32 (2003), https://www.tandfonline.com/doi/pdf/10.1080/02791072.2003.
22   10400507.
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23                 Evelyn Nieves, An Old Nemesis Scarring San Francisco, N.Y. Times (Jan. 9, 2001),
     https://www.nytimes.com/2001/01/09/us/an-old-nemesis-keeps-scarring-san-francisco.html.
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                   Laura Enteen et al., Overdose Prevention and Naloxone Prescription for Opioid Users
     in San Francisco, 87 J. Urb. Health 931-941 (2010), http://harmreduction.org/wp-
25   content/uploads/2012/02/AJPH-overdose.pdf.
             27
26                 Id. at 933.
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                   Id.
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                   Ken Miguel, San Francisco librarians trained to treat drug overdoses, ABC 7 News
28   (Dec. 27, 2017), https://abc7news.com/health/sf-librarians-trained-to-treat-drug-overdoses/2803729.

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 1   naloxone prescribed by medical providers to lay people.30 Treatment with naloxone and opioid agonists

 2   are the two best-established interventions to reduce opioid overdose mortality.

 3          14.     And still, opioid overdose deaths in San Francisco have remained relatively constant

 4   since 2006 at about 100 to 120 overdose deaths per year, with trends showing more deaths caused by

 5   prescription opioids than by heroin.31 In 2009 and 2010, only 13 and 8, respectively, of those deaths

 6   each year were from heroin.32 From 2010 through 2012, approximately 331 individuals died from

 7   accidental overdose caused by opioids (310 involving prescription opioids and 31 involving heroin).33

 8          15.     A June 2014 report by Alice A. Gleghorn, Ph.D. – the County Alcohol and Drug

 9   Administrator for the San Francisco Department of Public Health – noted that indicators of heroin usage

10   in San Francisco had begun to climb: “Heroin indicators have reversed trends from low points reported

11   in 2011 and show growth in treatment admissions, treatment episode consensus, and drug reports among

12   items seized and analyzed by DEA NFLIS laboratories.”34 Treatment admissions for heroin, estimated

13   at 1,781 in fiscal year 2010-2011, rose to 1,925 in fiscal year 2012-2013, and the number of treatment

14   episodes primarily related to heroin rose from 3,002 to 3,479 during that same period – more than the

15   treatment episodes caused by any other drug or alcohol in San Francisco.35             Further, although

16   prescriptions of hydrocodone, the most frequently prescribed medication, had declined since 2011,

17

18
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                     Nuala Sawyer, A Radical Reversal, SF Weekly (Apr. 4, 2018),
19   http://www.sfweekly.com/topstories/a-radical-reversal (hereinafter, “Sawyer, Radical Reversal”); San
     Francisco Safe Injection Services Task Force, San Francisco Department of Public Health, 2017 Final
20   Report (Sept. 2017), https://www.sfdph.org/dph/files/SIStaskforce/SIS-Task-Force-Final-Report-
     2017.pdf (hereinafter, “SFDPH 2017 Final Report”).
21
             31
                     SFDPH 2017 Final Report, supra n.30, Appendix B at 5.
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                     U.S. Department of Health & Human Services, Substance Abuse and Mental Health
     Services Administration, DAWN ME 2010 County Profiles, San Francisco County, CA (2010),
23   https://www.samhsa.gov/data/sites/default/files/DAWNMEAnnualReport2010/
     DAWNMEAnnualReport2010/DAWN-ME-AnnualReport2010-009-CA.htm.
24
             33
                     AJ Visconti et al. Opioid Overdose Deaths in the City and County of San Francisco:
25   Prevalence Distribution and Disparaties, 92 (4) J. Urban Health 758-72 (Aug. 2015) (hereinafter,
     “Visconti, Opioid Overdose Deaths”), https://www.ncbi.nlm.nih.gov/pubmed/26077643.
26           34
                     Alice A. Gleghorn, Ph.D., Drug Abuse Patterns and Trends in the San Francisco Bay
     Area—Update: June 2014, Proceedings of the Community Epidemiology Work Group (June 2014),
27   https://archives.drugabuse.gov/sites/default/files/sanfrancisco2014.pdf.
            35
28                  Id.

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 1   Dr. Gleghorn concluded that “various heroin and prescription opioid indicators, including treatment

 2   admission and NFLIS data, showed sustained increases.”36

 3          16.     Overall, as of 2015, heroin overdose deaths, previously common in San Francisco, had

 4   become less common; whereas prescription opioid overdose had emerged as a significant concern,

 5   particularly among individuals in high-poverty areas.37 If not for the DOPE Project, San Francisco

 6   would have seen several hundred more opioid deaths in 2016 alone.38 By the end of 2016, there were

 7   an estimated 25,000 people who inject drugs in San Francisco – approximately 14,000-17,000 of whom

 8   inject heroin.39 This represents over a 275% increase from the number of people who injected drugs in

 9   San Francisco in 2005, which was estimated to be 9,000.40

10          17.     Further, since 2015, deaths due to fentanyl overdose have increased exponentially.

11   Twice as many people died of fentanyl overdoses in San Francisco in 2016 as in 2015.41 In early 2018,

12   the SFDPH unanimously endorsed a task force’s recommendation to open what could become the

13   nation’s first legal safe-injection site aimed at curbing the opioid epidemic, including the recent spike in

14   fentanyl-related overdoses.42

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            36
17                   Id.
             37
                     Visconti, Opioid Overdose Deaths, supra n.33.
18
             38
                     Sawyer, Radical Reversal, supra n.30.
19           39
                     Shelly N. Facente et al., Correction: Estimated hepatitis C prevalence and key
     population sizes in San Francisco: A foundation for elimination, PloS One (Apr. 11, 2018),
20   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5895024/; Coffin et al., Trends in use of health care
     and HIV prevention services for persons who inject drugs in San Francisco: results from National HIV
21   Behavioral Surveillance 2005-2012, Drug and Alcohol Dependence Journal (Jan. 1, 2015),
     https://www.ncbi.nlm.nih.gov/pubmed/25468816.
22
             40
                     Yea-Hung Chen et al., Estimated Number of People Who Inject Drugs in San
23   Francisco, 2005, 2009, and 2012, AIDS Behav (Dec. 20, 2016),
     https://www.ncbi.nlm.nih.gov/pubmed/26721246.
24           41
                     Sara Gaiser, Fentanyl link confirmed in Haight-Ashbury deaths, San Francisco
     Examiner (Feb. 23, 2018), http://www.sfexaminer.com/fentanyl-link-confirmed-haight-ashbury-
25   deaths/.
             42
26                   Mark Lieber, Safe injection sites in San Francisco could be first in the US, CNN (Feb.
     7, 2018), https://www.cnn.com/2018/02/07/health/safe-injection-sites-san-francisco-opioid-epidemic-
27   bn/index.html; Alex Barasch, How Safe Injection Facilities Could Reduce Fentanyl Overdoses, Slate
     (Feb. 22, 2018), https://slate.com/technology/2018/02/how-safe-injection-facilities-could-limit-
28   fentanyl-overdoses.html.

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 1          18.     In 2017, more than 318,000 prescriptions were written for opioids in San Francisco, more

 2   than 311 prescriptions for every 1,000 residents, and 194 emergency department visits resulting from

 3   opioid overdoses, excluding heroin.43

 4          19.     On May 17, 2018, then-Mayor Mark Farrell announced that he would invest $6 million

 5   to create a first-in-the-nation program with a dedicated drug addiction street team bringing opioid

 6   treatment directly to people experiencing addiction on San Francisco streets.44 In the press release, then-

 7   Mayor Farrell was quoted as saying, “The opioid crisis plaguing our country is alive and visible on the

 8   streets of San Francisco. The status quo is simply unacceptable. I am creating this program to directly

 9   address drug addiction on our streets—to meet these individuals where they are and get them the help

10   they need, and to ensure that our streets remain safe for all our residents.”45

11          20.     Proactive programs described above have saved lives, but the toll of the opioid epidemic

12   cannot be measured by overdose deaths alone. Even though fewer lives have been lost, there are more

13   addicts in the general population, impacting crime, homelessness and other aspects of health and human

14   services.

15          21.     Drug manufacturers’ deceptive marketing and sale of opioids to treat chronic pain is one

16   of the main drivers of the opioid epidemic. Historically, prescription opioids had been used for short-

17   term, post-surgical and trauma-related pain, and for palliative end-of-life care primarily in cancer

18   patients. Because opioids are highly addictive and dangerous, the U.S. Food and Drug Administration

19   (“FDA”) regulates them as Schedule II Controlled Substances, i.e., drugs that have a high potential for

20   abuse and that may lead to severe psychological or physical dependence.

21          22.     This demonstrated need for caution comports with the historical understanding of both

22   the medical community and the American culture at large regarding the serious consequences of opioid

23   use and misuse. Indeed, thousands of years of experience have taught that opioids’ ability to relieve

24
            43
25                  2017 California Opioid Overdose Surveillance, supra n.1.
              44
                    Press Release, Office of the Mayor, San Francisco, Mayor Mark Farrell Announces
26   Innovative Program to Fight Opioid Crisis on San Francisco Streets (May 17, 2018),
     https://sfmayor.org/article/mayor-mark-farrell-announces-innovative-program-fight-opioid-crisis-san-
27   francisco-streets.
            45
28                  Id.

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 1   pain comes at a steep price; opioids are dangerously addictive and often lethal substances. For

 2   generations, physicians were taught that opioid painkillers were highly addictive and should be used

 3   sparingly and primarily for patients near death.46 The medical community also understood that opioids

 4   were poorly suited for long-term use because tolerance would require escalating doses and dependence

 5   would make it extremely difficult to discontinue their use.

 6          23.     The prevailing and accurate understanding of the enormous risks and limited benefits of

 7   long-term opioid use constrained drug manufacturers’ ability to drive sales. In order to decrease

 8   reasonable concerns about opioids and to maximize profits, opioid manufacturers, including defendants

 9   Purdue, the Sackler Defendants (defined below in §II infra), Janssen, Endo, Cephalon, Insys,

10   Mallinckrodt and Actavis (individually defined in §II infra) (collectively, the “Marketing Defendants”)

11   engaged in a concerted, coordinated strategy to shift the way in which doctors and patients think about

12   pain and, specifically, to encourage the use of opioids to treat not just the relative few who suffer from

13   acute post-surgical pain and end-stage cancer pain, but the masses who suffer from common chronic

14   pain conditions.

15          24.     Borrowing from the tobacco industry’s playbook, the Marketing Defendants employed

16   ingenious marketing strategies, as detailed further herein, designed to “reeducate” the public and

17   prescribers. The Marketing Defendants deliberately conceived these strategies to create, and in fact did

18   create, an entirely new “health care” narrative – one in which opioids are considered safe and effective

19   for long-term use, and pain is aggressively treated at all costs. According to this newly fabricated

20   narrative, pain was seriously under-treated throughout the United States because opioids were under-

21   prescribed, and doctors came under enormous pressure to treat all kinds of pain with opioids.

22          25.     The Marketing Defendants’ intention was to normalize aggressive prescribing of opioids

23   for various kinds of pain by downplaying the very real risks of opioids, especially the risk of addiction,

24   and by exaggerating the benefits of use. To accomplish this goal, they intentionally misled doctors and

25   patients about the appropriate uses, risks, safety and efficacy of prescription opioids. They did so

26
            46
27                 Harriet Ryan et al., OxyContin goes global – “We’re only just getting started,” L.A.
     Times (Dec. 18, 2016), http://www.latimes.com/projects/la-me-oxycontin-part3/ (hereinafter, “Ryan,
28   OxyContin goes global”).

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 1   directly through sales representatives and marketing materials and indirectly through financial

 2   relationships with academic physicians, professional societies, hospitals, trade associations for state

 3   medical boards and seemingly neutral third-party foundations.

 4          26.     False messages about the safety, addictiveness and efficacy were disseminated by

 5   infiltrating professional medical societies and crafting and influencing industry guidelines in order to

 6   disseminate false and deceptive pro-opioid communiques under the guise of science and truth.

 7   According to a February 2018 report issued by U.S. Senator Claire McCaskill, opioid manufacturers,

 8   including several of the Marketing Defendants here, paid nearly $9 million between 2012 and 2017 to

 9   advocacy groups and professional societies operating in the area of opioids policy.47 The manufacturers

10   got their money’s worth:

11                  Initiatives from the groups in this report often echoed and amplified messages
            favorable to increased opioid use – and ultimately, the financial interests of opioid
12          manufacturers. These groups have issued guidelines and policies minimizing the risk
            of opioid addiction and promoting opioids for chronic pain, lobbied to change laws
13          directed at curbing opioid use, and argued against accountability for physicians and
            industry executives responsible for overprescription and misbranding.48
14

15          27.     The purportedly neutral medical societies also “strongly criticized 2016 guidelines from

16   the . . . (CDC) that recommended limits on opioid prescriptions for chronic pain,” which the February

17   2018 McCaskill Report described as “a key federal response to the ongoing epidemic.” In conclusion,

18   the report found “a direct link between corporate donations and the advancement of opioids-friendly

19   messaging.”

20          28.     The Marketing Defendants assured the public and prescribers that the risk of becoming

21   addicted to prescription opioids among patients being treated for pain was less than 1%. In reality, many

22   people with no addiction history can become addicted after just weeks or even days of use.49 According
            47
23                 Fueling an Epidemic, Report Two: Exposing the Financial Ties Between Opioid
     Manufacturers and Third-Party Advocacy Groups, U.S. Senate Homeland Security & Governmental
24   Affairs Committee, Ranking Member’s Office at 1 (Feb. 13, 2018),
     https://www.hsgac.senate.gov/imo/media/doc/REPORT-Fueling%20an%20Epidemic-Exposing%20
25   the%20Financial%20Ties%20Between%20Opioid%20Manufacturers%20and%20Third%20Party
     %20Advocacy%20Groups.pdf (hereinafter, “February 2018 McCaskill Report”).
26           48
                   Emphasis is added throughout unless otherwise noted.
             49
27                 Anna Lembke, Drug Dealer, MD: How Doctors Were Duped, Patients Got Hooked,
     and Why It’s So Hard to Stop 22 (Johns Hopkins University Press 2016) (hereinafter, “Lembke
28   (2016)”).

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 1   to estimates, as many as 56% of patients receiving long-term prescription opioid painkillers become

 2   addicted.50 Indeed, almost one in five people who receive an opioid prescription with ten days’ supply

 3   will still be taking opioids one year later.51 The following chart illustrates the degree to which the risk

 4   of dependency escalates based on the length of time for which the patient receives an initial opioid

 5   prescription:52

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16          29.        By 2015, over 20 million prescriptions for federally controlled substances, such as

17   opioids, were reported to the California Department of Justice. The Marketing Defendants’ focus on

18   driving opioid sales growth led to concomitant growth in the number of deaths resulting from opioid use

19   and in hospital admissions for opioid-related addiction treatment:53

20   //

21   //

22          50
                     Bridget A. Martell et al., Systematic Review: Opioid Treatment for Chronic Back Pain:
     Prevalence, Efficacy, and Association with Addiction, 146(2) Ann. Intern. Med. 116-27 (2007),
23   http://annals.org/aim/article/732048/systematic-review-opioid-treatment-chronic-back-pain-
     prevalence-efficacy-association (hereinafter, “Martell, Systematic Review”).
24
             51
                     Sarah Frostenson, The risk of a single 5-day opioid prescription, in one chart, Vox
25   (Mar. 18, 20107, 7:30 AM), www.vox.com/2017/3/18/14954626/one-simple-way-to-curb-opioid-
     overuse-prescribe-them-for-3-days-or-less.
26           52
                     Lopez, How the opioid epidemic, supra n.19.
             53
27                   Andrew Kolodny et al., The Prescription Opioid and Heroin Crisis: A Public Health
     Approach to an Epidemic of Addiction, 36 Annu. Rev. Public Health 559-74 (2015),
28   http://www.annualreviews.org/doi/pdf/10.1146/annurev-publhealth-031914-122957.

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10          30.     Put simply, the Marketing Defendants manipulated and misrepresented medical science

11   to serve their own agenda at great human cost. Indeed, in a study published on March 6, 2018 in the

12   Journal of the American Medical Association (“JAMA”),54 researchers who conducted the first

13   randomized clinical trial designed to compare the efficacy of opioids and non-opioids (including

14   acetaminophen, ibuprofen and lidocaine) for the treatment of moderate to severe back pain, hip pain or

15   knee osteoarthritis pain concluded that patients who took opioids over the long term experienced

16   improvements in pain-related function no better than patients who used safer alternatives.

17          31.     Defendants McKesson, Cardinal Health and AmerisourceBergen (individually defined

18   in §II infra) (collectively, the “Wholesaler Defendants”) are major distributors of controlled substances

19   that act as middlemen between drug companies and pharmacies. Like the Marketing Defendants, the

20   Wholesaler Defendants were also aware of a growing epidemic arising from the addiction to, and abuse

21   of, prescription opioids they supplied. The Marketing Defendants and the Wholesaler Defendants were

22   aware of the quantities and frequency with which those drugs were distributed to entities in San

23   Francisco. However, both the Marketing Defendants and the Wholesaler Defendants persisted in failing

24   to report suspicious sales as required by state and federal law. Their failure to follow the law

25   significantly contributed to rising addiction and overdose rates in San Francisco.

26
            54
                   Erin E. Krebs et al., Effect of Opioid vs. Nonopioid Medications on Pain-Related
27   Function in Patients with Chronic Back Pain or Hip or Knee Osteoarthritis Pain, The SPACE
     Randomized Clinical Trial, 319(9) JAMA 872-82 (2018) (hereinafter, “Krebs, Effect of Opioid vs.
28   Nonopioid Medications”).

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 1          32.     Defendants wholly failed to meet their obligation to timely report and put a halt to these

 2   and other suspicious sales, fueling the flood of pills into San Francisco. As a result, for example, on

 3   March 20, 2018, San Francisco surgeon Christopher Owens pleaded guilty to distributing oxycodone

 4   without a medical need, in violation of 21 U.S.C. §841(a)(1) and (b)(1)(C).55 Owens faces up to 20

 5   years’ imprisonment, a $1 million fine and restitution.

 6          33.     The country’s major opioid distributors have paid hefty fines for their failure to report

 7   suspicious orders as required by law. McKesson, the largest prescription drug wholesale company in

 8   the United States, agreed on January 17, 2017, to pay a $150 million fine to the federal government. In

 9   December 2016, Cardinal Health reached a $44 million settlement with the federal government. One

10   month later, Cardinal Health reached a $20 million settlement with the State of West Virginia.

11   AmerisourceBergen also agreed to pay West Virginia $16 million in 2017.56

12          34.     Defendants’ scheme was tremendously successful, if measured by profit. According to

13   Fortune magazine, McKesson, AmerisourceBergen and Cardinal Health are each among the top 15

14   companies in the Fortune 500. The Sackler family, which owns Purdue – a privately held company – is

15   listed on Fortune’s list of America’s wealthiest families; its “ruthless marketing of painkillers has

16   generated billions of dollars – and millions of addicts.”57

17          35.     The impact of opioid addiction has devastated the nation, emerging as one of the

18   country’s, and San Francisco’s, major health threats. Former FDA Commissioner David A. Kessler has

19   called the failure to recognize the dangers of painkillers “one of the greatest mistakes of modern

20   medicine.” As alleged herein, that “mistake” resulted in large part from defendants’ false and misleading

21   messaging, which was carefully calculated to reach as many prescribers as possible, as well as

22   defendants’ willingness to turn a blind eye to suspicious orders.

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            55
                    Press Release, U.S. Department of Justice, Medical Doctor Pleads Guilty To Unlawful
25   Distribution of Oxycodone (Mar. 20, 2018), https://www.justice.gov/usao-ndca/pr/medical-doctor-
     pleads-guilty-unlawful-distribution-oxycodone.
26          56
                    Charles Ornstein, Drug Distributors Penalized For Turning Blind Eye In Opioid
     Epidemic, National Public Radio (Jan. 27, 2017), http://www.npr.org/sections/health-
27   shots/2017/01/27/511858862/drug-distributors-penalized-for-turning-blind-eye-in-opioid-epidemic.
            57
28                  Keefe, Empire of Pain, supra n.18.

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 1          36.     Even where some defendants have previously been forced to admit the unlawful

 2   marketing and sale of opioids and/or the failure to report suspicious orders, the conduct does not abate

 3   because profits realized by the aggressive marketing and prescribing of opioids dwarf the penalties

 4   imposed as a result of violations found. Thus, the incentive to push opioids remains. The scheme was

 5   so financially successful, in fact, that despite the clear and obvious devastation it caused at home,

 6   Purdue’s owners, the Sackler Defendants, continue to pursue the same strategy abroad. As reported by

 7   the Los Angeles Times in 2016, Purdue stated “[w]e’re only just getting started,” and intends to “[p]ut

 8   the painkiller that set off the United States opioid crisis into medicine cabinets around the world. A

 9   network of international companies owned by the family is moving rapidly into Latin America, Asia,

10   the Middle East, Africa and other regions, and pushing for broad use of painkillers in places ill-prepared

11   to deal with the ravages of opioid abuse and addiction.”58

12   II.    PARTIES
13          37.     Plaintiff the City and County of San Francisco is one of the 58 counties in the State of

14   California. It is self-insured for certain of the benefits it provides its employees and other beneficiaries.

15   San Francisco City Attorney Dennis J. Herrera is authorized to bring claims under California’s Unfair

16   Competition Law (“UCL”), Cal. Bus. & Prof. Code §17200, et seq., and California’s False Advertising

17   Law (“FAL”), Cal. Bus. & Prof. Code §17500, et seq., on behalf of Plaintiff The People of the State of

18   California (“the People”).

19          38.     Defendant Purdue Pharma L.P. is a Delaware limited partnership formed in 1991 with

20   headquarters located in Stamford, Connecticut. The company maintains four operational branches:

21   Purdue Pharma L.P., the Purdue Frederick Company, Purdue Pharmaceutical Products L.P. and Purdue

22   Products L.P. Defendant Rhodes Pharmaceuticals L.P. (“Rhodes”) is a Delaware limited partnership

23   formed in or around 2007 with headquarters located in Coventry, Rhode Island. Purdue Pharma L.P.,

24   the Purdue Frederick Company, Purdue Pharmaceutical Products L.P., Purdue Products L.P. and Rhodes

25   are referred to collectively herein as “Purdue.”

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            58
28                  Ryan, OxyContin goes global, supra n.46.

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 1            39.   Defendant Richard S. Sackler is a natural person residing in Travis County, Texas. He

 2   has served as a member of the Board of Directors of Purdue and Purdue-related entities since the 1990s.

 3            40.   Defendant Jonathan D. Sackler is a natural person residing in Fairfield County,

 4   Connecticut. He has served as a member of the Board of Directors of Purdue and Purdue-related entities

 5   since the 1990s.

 6            41.   Defendant Mortimer D.A. Sackler is a natural person residing in New York County, New

 7   York. He has served as a member of the Board of Directors of Purdue and Purdue-related entities since

 8   the 1990s.

 9            42.   Defendant Kathe A. Sackler is a natural person residing in Fairfield County, Connecticut.

10   She has served as a member of the Board of Directors of Purdue and Purdue-related entities since the

11   1990s.

12            43.   Defendant Ilene Sackler Lefcourt is a natural person residing in New York County, New

13   York. She has served as a member of the Board of Directors of Purdue and Purdue-related entities since

14   the 1990s.

15            44.   Defendant Beverly Sackler is a natural person residing in Fairfield County, Connecticut.

16   She has served as a member of the Board of Directors of Purdue and Purdue-related entities since the

17   1990s.

18            45.   Defendant Theresa Sackler is a natural person residing in New York County, New York.

19   She has served as a member of the Board of Directors of Purdue and Purdue-related entities since the

20   1990s.

21            46.   Defendant David A. Sackler is a natural person residing in New York County, New York.

22   He has served as a member of the Board of Directors of Purdue and Purdue-related entities since 2012.

23            47.   Defendant Trust for the Benefit of Members of the Raymond Sackler Family (the

24   “Raymond Sackler Trust”) is a trust for which Defendants Beverly Sackler, Richard S. Sackler and/or

25   Jonathan D. Sackler are trustees. It is the 50% direct or indirect beneficial owner of Purdue and the

26   Purdue-related entities and the recipient of 50% of the profits from the sale of opioids by Purdue and

27   Purdue-related entities. Collectively, the defendants listed in ¶¶39-47 are referred to as the “Sackler

28   Defendants” or “Sackler Families.”

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 1          48.     Defendant Cephalon, Inc. is a Delaware corporation with its headquarters and principal

 2   place of business located in Frazer, Pennsylvania. Cephalon, Inc. was acquired by defendant Teva

 3   Pharmaceutical Industries Ltd. (“Teva Ltd.”) in October 2011. Teva Ltd. is incorporated under the laws

 4   of Israel with its principal place of business in Petah Tikva, Israel. Since Teva Ltd. acquired Cephalon,

 5   Inc., its United States sales and marketing activities have been conducted by defendant Teva

 6   Pharmaceuticals USA, Inc. (“Teva USA” and, together with Teva Ltd., “Teva”), a wholly owned

 7   operating subsidiary of Teva Ltd. Teva USA’s headquarters and principal place of business are in North

 8   Wales, Pennsylvania. Cephalon, Inc. and Teva are collectively referred to herein as “Cephalon.”

 9          49.     Defendant Endo International plc is an Irish public limited company with its headquarters

10   in Dublin, Ireland.    Defendant Endo Health Solutions Inc. is a Delaware corporation with its

11   headquarters and principal place of business in Malvern, Pennsylvania.                   Defendant Endo

12   Pharmaceuticals Inc. (together with Endo International plc and Endo Health Solutions Inc., “Endo”) is

13   a Delaware corporation with its headquarters and principal place of business in Malvern, Pennsylvania.

14   Endo Pharmaceuticals Inc. is an indirectly, wholly owned subsidiary of Endo International plc.

15          50.     Defendant Janssen Pharmaceuticals, Inc. (“Janssen”) (formerly known as Ortho-McNeil-

16   Janssen Pharmaceuticals, Inc. and Janssen Pharmaceutica) is headquartered in Titusville, New Jersey

17   and Raritan, New Jersey. Janssen is a wholly owned subsidiary of Johnson & Johnson, a New Jersey

18   corporation with its principal place of business in New Brunswick, New Jersey.

19          51.     Defendant Insys Therapeutics, Inc. (“Insys”) is a Delaware corporation with its principal

20   place of business in Chandler, Arizona.

21          52.     Defendant Mallinckrodt plc is an Irish public limited company with its headquarters in

22   Staines-Upon-Thames, Surrey, United Kingdom.             Defendant Mallinckrodt LLC (together with

23   Mallinckrodt plc, “Mallinckrodt”) is a Delaware limited liability company with its headquarters in

24   Hazelwood, Missouri.

25          53.     Defendant Allergan plc is a public limited company incorporated in Ireland with its

26   principal place of business in Dublin, Ireland. Actavis plc acquired Allergan plc in 2015, and the

27   combined company changed its name to Allergan plc. Defendant Actavis, Inc. was acquired by

28   Defendant Watson Pharmaceuticals, Inc. in October 2012, and the combined company changed its name

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 1   to Actavis, Inc. as of January 2013, then to Actavis plc in October 2013.              Defendant Watson

 2   Laboratories, Inc. is a Nevada corporation with its principal place of business in Corona, California, and

 3   is a wholly owned subsidiary of Allergan plc (f/k/a Actavis, Inc. f/k/a Watson Pharmaceuticals, Inc.).

 4   Defendant Actavis Pharma, Inc. is a Delaware corporation with its principal place of business in New

 5   Jersey and was formerly known as Watson Pharma, Inc. Defendant Actavis LLC is a Delaware limited

 6   liability company with its principal place of business in Parsippany, New Jersey. Each of these

 7   defendants and entities is owned by Defendant Allergan plc, which uses them to market and sell its drugs

 8   in the United States. Collectively, the defendants and entities in this paragraph are referred to as

 9   “Actavis.”

10          54.     Defendant AmerisourceBergen Corporation (“AmerisourceBergen”) is a Delaware

11   corporation with its headquarters and principal place of business located in Chesterbrook, Pennsylvania.

12          55.     Defendant Cardinal Health, Inc. (“Cardinal Health”) is an Ohio corporation with its

13   headquarters and principal place of business located in Dublin, Ohio.

14          56.     Defendant McKesson Corporation (“McKesson”) is a Delaware corporation with its

15   headquarters and principal place of business located in San Francisco, California.

16   III.   JURISDICTION AND VENUE
17          57.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §1331.                 It has

18   supplemental jurisdiction over Plaintiffs’ state law claims pursuant to 28 U.S.C. §1367.

19          58.     This is a judicial district where defendants are subject to personal jurisdiction in

20   accordance with 28 U.S.C. §1391 and Cal. Code Civ. Proc. §410.10, the California long-arm statute.

21   Defendants Purdue, the Sackler Defendants, Janssen, Endo, Cephalon, Insys, Mallinckrodt, Actavis,

22   McKesson, Cardinal Health and AmerisourceBergen purposefully availed themselves of the benefits,

23   profits and privileges deriving from their business activities in this state. Defendant McKesson has at

24   all relevant times maintained its corporate headquarters in San Francisco, California.

25          59.     The non-resident defendants regularly engage in business within the State of California

26   and within this District. Defendants have committed tortious acts that have caused injury to San

27   Francisco. Defendants expect, or should reasonably have expected, those acts to have consequences in

28   the State of California and in San Francisco. Moreover, defendants solicited business within this

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 1   District, engaged in persistent courses of conduct here and derived substantial revenue from goods used

 2   and services rendered in the State of California and this District through interstate commerce.

 3          60.     Defendants are regularly engaged in the business of manufacturing and distributing

 4   prescription opioids, either directly or indirectly through third-party related entities, in the State of

 5   California and, specifically, in San Francisco. Defendants’ activities in San Francisco in connection

 6   with the manufacture and distribution of prescription opioids were, and are, continuous and systematic,

 7   and give rise to the causes of action alleged herein.

 8          61.     Venue is proper within this District and this Division pursuant to 28 U.S.C. §1391 and

 9   Civ. L.R. 3-2(c) because Plaintiffs and Defendant McKesson are both located in this District and

10   Division, and a substantial part of the events or omissions giving rise to San Francisco’s and the People’s

11   claims occurred here.

12   IV.    FACTUAL ALLEGATIONS
13
            A.      Over the Course of More than Two Decades, the Marketing Defendants
14                  Misled the Public Regarding the Dangers of Opioid Addiction and the
                    Efficacy of Opioids for Long-Term Use, Causing Sales and Overdose Rates
15                  to Soar

16          62.     From the mid-90s to the present, the Marketing Defendants aggressively marketed and

17   falsely promoted liberal opioid prescribing as presenting little to no risk of addiction, even when used

18   long term for chronic pain. They infiltrated academic medicine and regulatory agencies to convince

19   doctors that treating chronic pain with long-term opioids was evidence-based medicine when, in fact, it

20   was not. Huge profits resulted from these efforts, as did the present addiction and overdose crisis.

21                  1.       Background on Opioid Overprescribing
22          63.     The Marketing Defendants’ scheme to drive their rapid and dramatic expansion of

23   prescription opioids was rooted in two pieces of so-called evidence. First was the publication of a 100-

24   word letter to the editor published in 1980 in the New England Journal of Medicine (“1980 Letter to the

25   Editor”).59 A recent article about the 1980 Letter to the Editor, titled, “A 5-sentence letter helped trigger

26          59
                     The 1980 Letter to the Editor by Jane Porter (“Porter”) and Dr. Herschel Jick (“Jick”),
     reported that less than 1% of patients at Boston University Medical Center who received narcotics
27   while hospitalized became addicted. Jane Porter & Hershel Jick, Addiction rate in patients treated
     with narcotics, 302(2) New Eng. J. Med. 123 (Jan. 10, 1980). However, the letter did not support the
28   conclusion for which it was often cited by the industry. Harrison Jacobs, This one-paragraph letter

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 1   America’s deadliest drug overdose crisis ever,” quoted a 2017 study in the New England Journal of

 2   Medicine, in which researchers concluded:

 3          [W]e found that a five-sentence letter published in the Journal in 1980 was heavily and
            uncritically cited as evidence that addiction was rare with long-term opioid therapy. We
 4          believe that this citation pattern contributed to the North American opioid crisis by
            helping to shape a narrative that allayed prescribers’ concerns about the risk of addiction
 5          associated with long-term opioid therapy.60
 6          64.     Second was a single medical study published by Drs. Russell Portenoy (“Portenoy”) and

 7   Kathleen Foley (“Foley”) (“Portenoy Publication”).61 Portenoy emerged as one of the industry’s most

 8   vocal proponents of long-term opioid use, who essentially made it his life’s work to campaign for the

 9   movement to increase use of prescription opioids. He was one of Big Pharma’s62 “thought leaders” and

10   was paid to travel the country to promote more liberal opioid prescribing for many types of pain. His

11   talks were sponsored by the Marketing Defendants and organizations paid by them as continuing

12
     may have launched the opioid epidemic, Bus. Insider (May 26, 2016),
13   http://www.businessinsider.com/porter-and-jick-letter-launched-the-opioid-epidemic-2016-5
     (hereinafter, “Jacobs, One-paragraph letter”). As discussed in a 2009 article in the American Journal
14   of Public Health, the 1980 Letter to the Editor “shed[] some light on the risk of addiction for acute
     pain, [but did] not help establish the risk of iatrogenic addiction when opioids are used daily for a
15   prolonged time in treating chronic pain. [Indeed, t]here are a number of studies . . . that demonstrate
     that in the treatment of chronic non-cancer-related pain with opioids, there is a high incidence of
16   prescription drug abuse.” Art Van Zee, The Promotion and Marketing of OxyContin: Commercial
     Triumph, Public Health Tragedy, 99(2) Am. J. Pub. Health 221-27 (Feb. 2009) (hereinafter, “Van Zee,
17   Promotion and Marketing”).
              60
                      German Lopez, A 5-sentence letter helped trigger America’s deadliest drug overdose
18   crisis ever, Vox (June 1, 2017), https://www.vox.com/science-and-health/2017/6/1/15723034/opioid-
     epidemic-letter-1980-study.
19
            61
                      In 1986, the medical journal Pain, which would eventually become the official journal
20   of the American Pain Society (“APS”), published an article by Portenoy and Foley summarizing the
     results of a “study” of 38 chronic non-cancer pain patients who had been treated with opioid painkillers.
21
     Portenoy and Foley concluded that, for non-cancer pain, opioids “can be safely and effectively
22   prescribed to selected patients with relatively little risk of producing the maladaptive behaviors which
     define opioid abuse.” However, their study was neither scientific nor did it meet the rigorous standards
23   commonly used to evaluate the validity and strength of such studies in the medical community. For
     instance, there was no placebo control group, and the results were retroactive (asking patients to describe
24   prior experiences with opioid treatment rather than less biased, in-the-moment reports). The authors
     themselves advised caution, stating that the drugs should be used as an “alternative therapy” and
25
     recognizing that longer-term studies of patients on opioids would have to be performed. None were.
26   See Russell K. Portenoy & Kathleen M. Foley, Chronic use of opioid analgesics in non-malignant pain:
     report of 38 cases, 25(2) Pain 171-86 (May 1986).
27
            62
                     “Big Pharma” is used herein to refer to large pharmaceutical companies, including, but
28   not limited to, defendants, considered especially as a politically influential group.

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 1   medical education (“CME”) programs for doctors. He had financial relationships with at least a dozen

 2   pharmaceutical companies, most of which produced prescription opioids.63

 3          65.     On November 1, 2017, the President’s Commission on Combating Drug Addiction and

 4   the Opioid Crisis noted the important and detrimental role played by the 1980 Letter to the Editor and

 5   the Portenoy Publication. In a section of the Commission’s Report with the header “Contributors to the

 6   Current Crisis,” the Commission wrote the following:

 7
            Unsubstantiated claims: One early catalyst can be traced to a single letter to the Editor
 8          of the New England Journal of Medicine published in 1980, that was then cited by over
            600 subsequent articles. With the headline “Addiction Rare in Patients Treated with
 9          Narcotics,” the flawed conclusion of the five-sentence letter was based on scrutiny of
            records of hospitalized patients administered an opioid. It offered no information on
10          opioid dose, number of doses, the duration of opioid treatment, whether opioids were
            consumed after hospital discharge, or long-term follow-up, nor a description of criteria
11          used to designate opioid addiction. Six years later, another problematic study concluded
            that “opioid maintenance therapy can be a safe, salutary and more humane alternative to
12          the options of surgery or no treatment in those patients with intractable non-malignant
            pain and no history of drug abuse.” High quality evidence demonstrating that opioids
13          can be used safely for chronic non-terminal pain did not exist at that time. These reports
            eroded the historical evidence (see Appendix 2) of iatrogenic addiction and aversion to
14          opioids, with the poor-quality evidence that was unfortunately accepted by federal
            agencies and other oversight organizations.64
15

16          66.     Portenoy has now admitted that he minimized the risks of opioids.65 In a 2011 interview

17   released by Physicians for Responsible Opioid Prescribing, Portenoy stated that his earlier work

18   purposefully relied on evidence that was not “real” and left real evidence behind:

19          I gave so many lectures to primary care audiences in which the Porter and Jick article
            was just one piece of data that I would then cite, and I would cite six, seven, maybe ten
20          different avenues of thought or avenues of evidence, none of which represented real
            evidence, and yet what I was trying to do was to create a narrative so that the primary
21          care audience would look at this information in [total] and feel more comfortable about
            opioids in a way they hadn’t before. In essence this was education to destigmatize
22

23
            63
24                   Lembke (2016), supra n.49, at 59 (citing Barry Meier, Pain Killer: A “Wonder” Drug’s
     Trail of Addiction and Death (St. Martin’s Press, 1st ed. 2003)).
25           64
                     The President’s Commission on Combating Drug Addiction and the Opioid Crisis at 20
     (Nov. 1, 2017), https://www.whitehouse.gov/sites/whitehouse.gov/
26   files/images/Final_Report_Draft_11-1-2017.pdf.
             65
27                   Celine Gounder, Who Is Responsible for the Pain-Pill Epidemic?, New Yorker (Nov. 8,
     2013), http://www.newyorker.com/business/currency/who-is-responsible-for-the-pain-pill-epidemic
28   (hereinafter, “Gounder, Who Is Responsible”).

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 1           [opioids], and because the primary goal was to destigmatize, we often left evidence
             behind.66
 2

 3           67.    The damage, however, was already done. The Marketing Defendants used these two

 4   publications, the 1980 Letter to the Editor and the Portenoy Publication, as the foundation for a massive,

 5   far-reaching campaign to dramatically shift the thinking of healthcare providers, patients, policymakers

 6   and the public on the risk of addiction presented by opioid therapy. By 1997, the APS and the American

 7   Academy of Pain Medicine (“AAPM”) (both funded by the Marketing Defendants) issued a “landmark

 8   consensus,” co-authored by Portenoy, stating there is little risk of addiction or overdose in pain

 9   patients.67

10           68.    In the years following publication of the 1980 Letter to the Editor and the Portenoy

11   Publication, the Marketing Defendants introduced powerful prescription opioids into the market. Purdue

12   introduced MS Contin in 1987 and OxyContin in 1995, Janssen introduced Duragesic in 1990 and

13   Cephalon’s Actiq was first approved by the FDA in 1998. More recently, Endo’s Opana and Opana ER

14   were approved by the FDA in 2006, as was Janssen’s Nucynta in 2008 and Nucynta ER in 2011,

15   Cephalon’s Fentora in 2006 and Insys’ Subsys in 2012.

16           69.    These branded prescription opioids and their generic counterparts are highly addictive.

17   Between doses, patients can suffer body aches, nausea, sweats, racing heart, hypertension, insomnia,

18   anxiety, agitation, opioid cravings, opioid-induced hyperalgesia (heightened sensitivity to pain) and

19   other symptoms of withdrawal. When the agony is relieved by the next dose, it creates a cycle of

20   dysphoria and euphoria that fosters addiction and dependence.

21           70.    Despite the prescription opioids’ highly addictive qualities, the Marketing Defendants

22   launched aggressive pro-opioid marketing efforts that caused a dramatic shift in the public’s and

23   prescribers’ perception of the safety and efficacy of opioids for chronic long-term pain and everyday

24   use. Contrary to what doctors had previously understood about opioid risks and benefits, they were

25   encouraged for the last two decades by the Marketing Defendants to prescribe opioids aggressively and

26           66
                   Jacobs, One-paragraph letter, supra n.59; Andrew Kolodny, Opioids for Chronic Pain:
     Addiction is NOT Rare, YouTube (Oct. 30, 2011), https://www.youtube.com/watch?
27   v=DgyuBWN9D4w&feature=youtu.be.
             67
28                  Jacobs, One-paragraph letter, supra n.59.

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 1   were assured, based on false evidence provided directly by the Marketing Defendants and numerous

 2   medical entities funded by the Marketing Defendants and others with financial interests in generating

 3   more opioid prescriptions, that: (a) the risk of becoming addicted to prescription opioids among patients

 4   being treated for pain was low, even as low as less than 1%; and (b) great harm was caused by “under-

 5   treated pain.” These two foundational falsehoods led directly to the current opioid crisis.

 6          71.     The strategy was a brilliant marketing success. It was designed to redefine back pain,

 7   neck pain, headaches, arthritis, fibromyalgia and other common conditions suffered by most of the

 8   population at some point in their lives as a distinct malady – chronic pain – that doctors and patients

 9   should take seriously and for which opioids were an appropriate, successful and low-risk treatment.

10   Indeed, studies now show more than 85% of patients taking OxyContin at common doses are doing so

11   for chronic non-cancer pain.68

12          72.     This false and misleading marketing strategy continued despite studies revealing that up

13   to 56% of patients receiving long-term prescription opioid painkillers for chronic back pain progress to

14   addictive opioid use, including patients with no prior history of addiction.69

15          73.     Despite the Marketing Defendants’ representations to the contrary, there was no evidence

16   of opioids’ efficacy for the treatment of chronic pain. In fact, the first randomized clinical trial designed

17   to make head-to-head comparisons between opioids and other kinds of pain medications was recently

18   published on March 6, 2018, in JAMA. The trial, sponsored by the U.S. Department of Veterans Affairs

19   (“Veterans Affairs”), was a randomized, 12-month study of 240 patients at Veterans Affairs primary

20   care clinics. Each of the eligible patients had moderate to severe chronic back pain or hip or knee

21   osteoarthritis despite the use of analgesic drugs.

22          74.     The researchers reported that “[t]here was no significant difference in pain-related

23   function between the 2 groups” – those whose pain was treated with opioids and those whose pain was

24   treated with non-opioids, including acetaminophen and other non-steroidal anti-inflammatory drugs

25

26

27          68
                    Ryan, OxyContin goes global, supra n.46.
            69
28                  Lembke (2016), supra n.49, at 22 (citing Martell, Systematic Review, supra n.50).

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 1   (“NSAIDs”) like ibuprofen. As such, they concluded: “Treatment with opioids was not superior to

 2   treatment with nonopioid medications for improving pain-related function over 12 months.”70

 3           75.     Thus, based on false and incomplete evidence, the Marketing Defendants expanded their

 4   market exponentially from patients with end-stage cancer and acute pain, an obviously limited customer

 5   base, to anyone suffering from chronic pain, which by some accounts includes approximately 100

 6   million Americans – nearly one-third of the country’s population.71 The treatment of chronic pain

 7   includes patients whose general health is good enough to refill prescriptions month after month, year

 8   after year, and the promotion, distribution (without reporting suspicious sales) and rampant sale of

 9   opioids for such treatment has made defendants billions of dollars. It has also led to the prevalence of

10   opioid addiction and the overdose crisis in San Francisco.

11                   2.      The Fraudulent Sales Practices
12           76.     As set forth below, the Marketing Defendants employed a variety of strategies to

13   normalize the use of opioids for chronic long-term pain without informing the public and prescribers

14   about the very significant risk of addiction, overdose and death.

15                           a.      The Marketing Defendants Funded Front Organizations that
                                     Published and Disseminated False and Misleading Marketing
16                                   Materials
17           77.     The Marketing Defendants sponsored purportedly neutral medical boards and

18   foundations that educated doctors and set guidelines for the use of opioids in medical treatment in order

19   to promote the liberal prescribing of opioids for chronic pain. The following organizations, funded by

20   the Marketing Defendants, advised doctors that liberal prescribing of opioids was both safe and

21   effective. In truth, it was neither.

22           78.     Federation of State Medical Boards: The Federation of State Medical Boards

23   (“FSMB”) is a national organization that functions as a trade group representing the 70 medical and

24   osteopathic boards in the United States. The FSMB often develops guidelines that serve as the basis for

25   model policies with the stated goal of improving medical practice. Defendants Purdue, Cephalon and

26
             70
                   Krebs, Effect of Opioid vs. Nonopioid Medications, supra n.54.
27
             71
                   AAPM Facts and Figures on Pain, The American Academy of Pain Medicine,
28   http://www.painmed.org/patientcenter/facts_on_pain.aspx#refer (last visited Dec. 14, 2018).

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 1   Endo have provided substantial funding to the FSMB. Among its members are the Medical Board of

 2   California and the Osteopathic Medical Board of California.

 3          79.     In 2007, the FSMB printed and distributed a physician’s guide on the use of opioids to

 4   treat chronic pain titled, “Responsible Opioid Prescribing” by Dr. Scott M. Fishman (“Fishman”). After

 5   the guide (in the form of a book, still available for sale on Amazon) was adopted as a model policy, the

 6   FSMB reportedly asked Purdue for $100,000 to help pay for printing and distribution. Ultimately, the

 7   guide was disseminated by the FSMB to 700,000 practicing doctors.

 8          80.     The guide’s clear purpose is to focus prescribers on the purported under-treatment of pain

 9   and falsely assure them that opioid therapy is an appropriate treatment for chronic, non-cancer pain:

10                 Pain management is integral to good medical practice and for all patients;
11                 Opioid therapy to relieve pain and improve function is a legitimate medical
                    practice for acute and chronic pain of both cancer and non-cancer origins;
12
                   Patients should not be denied opioid medications except in light of clear
13                  evidence that such medications are harmful to the patient.
14                                                  *     *      *
                    Four key factors contribute to the ongoing problem of under-treated pain:
15
            1.      Lack of knowledge of medical standards, current research, and clinical guidelines
16                  for appropriate pain treatment;
17          2.      The perception that prescribing adequate amounts of opioids will result in
                    unnecessary scrutiny by regulatory authorities;
18
            3.      Misunderstanding of addiction and dependence; and
19
            4.      Lack of understanding of regulatory policies and processes.72
20

21          81.     While it acknowledges the risk of “abuse and diversion” (with little attention to

22   addiction), the guide purports to offer “professional guidelines” that will “easily and efficiently” allow

23   physicians to manage that risk and “minimize the potential for [such] abuse.”73 Indeed, it states that

24   even for those patients assessed to have risk of substance abuse, “it does not mean that opioid use will

25

26
            72
                   Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide 8-9
27   (Waterford Life Sciences 2007).
            73
28                  Id. at 9.

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 1   become problematic or that opioids are contraindicated,” just that physicians should use additional care

 2   in prescribing.

 3          82.        The guide further warns physicians to “[b]e aware of the distinction between

 4   pseudoaddiction and addiction” and teaches that behaviors such as “[r]equesting [drugs] by name,”

 5   “[d]emanding or manipulative behavior,” “[o]btaining opioid drugs from more than one physician” and

 6   “[h]oarding opioids,” which are, in fact, signs of genuine addiction, are all really just signs of

 7   “pseudoaddiction.”74 It defines “Physical Dependence” as an acceptable result of opioid therapy not to

 8   be equated with addiction and states that while “[i]t may be tempting to assume that patients with chronic

 9   pain and a history of recreational drug use who are not adherent to a treatment regimen are abusing

10   medications,” there could be other acceptable reasons for non-adherence.75 The guide, sponsored by the

11   Marketing Defendants and their pain foundations, became the seminal authority on opioid prescribing

12   for the medical profession and dramatically overstated the safety and efficacy of opioids and understated

13   the risk of opioid addiction.

14          83.        In 2012, Fishman updated the guide and continued emphasizing the “catastrophic”

15   “under-treatment” of pain and the “crisis” such under-treatment created:

16                  Given the magnitude of the problems related to opioid analgesics, it can be
            tempting to resort to draconian solutions: clinicians may simply stop prescribing opioids,
17          or legislation intended to improve pharmacovigilance may inadvertently curtail patient
            access to care. As we work to reduce diversion and misuse of prescription opioids, it’s
18          critical to remember that the problem of unrelieved pain remains as urgent as ever.76
19          84.        The updated guide still assures that “[o]pioid therapy to relieve pain and improve

20   function is legitimate medical practice for acute and chronic pain of both cancer and noncancer

21   origins.”77

22          85.        In another guide by Fishman, he continues to downplay the risk of addiction: “I believe

23   clinicians must be very careful with the label ‘addict.’ I draw a distinction between a ‘chemical coper’

24

25          74
                   Id. at 62.
            75
26                 Id.
            76
                   Scott M. Fishman, Responsible Opioid Prescribing: A Clinician’s Guide 10-11
27   (Waterford Life Sciences 2012).
            77
28                     Id. at 11.

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 1   and an addict.”78 The guide also continues to present symptoms of addiction as symptoms of

 2   “pseudoaddiction.”

 3          86.     The heightened focus on the under-treatment of pain was a concept designed by Big

 4   Pharma to sell opioids. The FSMB actually issued a report calling on medical boards to punish

 5   doctors for inadequately treating pain.79 Among the drafters of this policy was Dr. J. David Haddox

 6   (“Haddox”), who coined the term “pseudoaddiction,” which wholly lacked scientific evidence but

 7   quickly became a common way for the Marketing Defendants and their allies to promote the use of

 8   opioids even to patients displaying addiction symptoms. Haddox later became a Purdue vice president

 9   who likened OxyContin to a vegetable, stating at a 2003 conference at Columbia University,80 “If I gave

10   you a stalk of celery and you ate that, it would be healthy. But if you put it in a blender and tried to

11   shoot it into your veins, it would not be good.”81

12          87.     As noted in §IV.A.2.c. infra, in 2012 and again in 2017, the guides and the sources of

13   their funding became the subject of a Senate investigation.

14          88.     On June 8, 2012, the FSMB submitted a letter to the Senate Finance Committee

15   concerning its investigation into the abuse and misuse of opioids.82 While the letter acknowledged the

16   escalation of drug abuse and related deaths resulting from prescription painkillers, the FSMB continued

17   to focus on the “serious and related problem” that “[m]illions of Americans suffer from debilitating pain

18   – a condition that, for some, can be relieved through the use of opioids.” Among other things, the letter

19   stated that “[s]tudies have concluded that both acute pain and chronic pain are often under-treated in the

20   United States, creating serious repercussions that include the loss of productivity and quality of life.”

21   The letter cited no such studies. The letter also confirmed that the FSMB’s “Responsible Opioid

22

23
            78
                    Scott M. Fishman, Listening to Pain: A Physician’s Guide to Improving Pain
24   Management Through Better Communication 45 (Oxford University Press 2012).
             79
                    Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall St.
25   J., Dec. 17, 2012, at A1.
             80
26                  Gounder, Who Is Responsible, supra n.65.
             81
                    Keefe, Empire of Pain, supra n.18.
27
             82
                    June 8, 2012 Letter from Federation of State Medical Boards to U.S. Senators Max
28   Baucus and Charles Grassley.

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 1   Prescribing: A Physician’s Guide” has been distributed in each of the 50 states and the District of

 2   Columbia.

 3          89.     In addition, the FSMB letter disclosed payments the FSMB received from organizations

 4   that develop, manufacture, produce, market or promote the use of opioid-based drugs from 1997 through

 5   the present. Included in the payments received are the following payments from defendants:

 6
                           Company             Fiscal Year                     Amount
 7                        Purdue                   2001                       $38,324.56
                                                   2002                       $10,000.00
 8                                                 2003                       $85,180.50
                                                   2004                       $87,895.00
 9                                                 2005                      $244,000.00
                                                   2006                      $207,000.00
10                                                 2007                       $50,000.00
                                                   2008                      $100,000.00
11                                     Total Purdue Payments                 $822,400.06
                          Endo                     2007                       $40,000.00
12                                                 2008                      $100,000.00
                                                   2009                      $100,000.00
13                                                 2011                      $125,000.00
14                                                 2012                       $46,620.00
                                       Total Endo Payments                   $411,620.00
15                        Cephalon                 2007                       $30,000.00
                                                   2008                      $100,000.00
16                                                 2011                       $50,000.00
                                       Total Cephalon Payments               $180,000.00
17                        Mallinckrodt             2011                      $100,000.00
                                       Total Mallinckrodt Payments           $100,000.00
18

19          90.     The letter also disclosed payments of $40,000 by Endo and $50,000 by Purdue to directly

20   fund the production of “Responsible Opioid Prescribing” and disclosed that sales of “Responsible

21   Opioid Prescribing” generated more than $2.75 million in revenues from sales in California.83

22          91.     The Joint Commission: The Joint Commission is an organization that establishes

23   standards for treatment and accredits healthcare organizations in the United States. The Marketing

24   Defendants, including Purdue, contributed misleading and groundless teaching materials and videos to

25   the Joint Commission, which emphasized what Big Pharma coined the “under-treatment of pain,”

26   referenced pain as the “fifth vital sign” (the first and only unmeasurable/subjective vital sign) that must

27
            83
28                  Id. at 15.

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 1   be monitored and treated and encouraged the use of prescription opioids for chronic pain while

 2   minimizing the danger of addiction. It also called doctors’ concerns about addiction “inaccurate and

 3   exaggerated.”

 4          92.      In 2000, the Joint Commission printed a book for purchase by doctors as part of required

 5   continuing education seminars that cited studies claiming “there is no evidence that addiction is a

 6   significant issue when persons are given opioids for pain control.” The book was sponsored by

 7   Purdue.

 8          93.      In 2001, the Joint Commission and the National Pharmaceutical Council (founded in

 9   1953 and supported by the nation’s major research-based biopharmaceutical companies84) collaborated

10   to issue a 101-page monograph titled, “Pain: Current understanding of assessment, management, and

11   treatments.” The monograph states falsely that beliefs about opioids being addictive are “erroneous”:

12          Societal issues that contribute to the undertreatment of pain include drug abuse
            programs and erroneous beliefs about tolerance, physical dependence, and addiction
13          (see I.E.5). For example, some clinicians incorrectly assume that exposure to an
            addictive drug usually results in addiction.
14
                                                      *        *    *
15          b.       Etiology, issues, and concerns
16                  Many medications produce tolerance and physical dependence, and some (e.g.,
            opioids, sedatives, stimulants, anxiolytics, some muscle relaxants) may cause addiction
17          in vulnerable individuals. Most experts agree that patients who undergo prolonged
            opioid therapy usually develop physical dependence but do not develop addictive
18          disorders. In general, patients in pain do not become addicted to opioids. Although
            the actual risk of addiction is unknown, it is thought to be quite low. A recent study of
19          opioid analgesic use revealed “low and stable” abuse of opioids between 1990 and 1996
            despite significant increases in opioids prescribed. . . .
20
                    Fear of causing addiction (i.e., iatrogenic addiction), particularly with opioid
21          use, is a major barrier to appropriate pain management. This fear sometimes reflects
            a lack of understanding of the risk of addiction with therapeutic drug use. Although
22          studies suggest that the risk of iatrogenic addiction is quite low (e.g., Perry and
            Heidrich, Zenz et al.), surveys indicate that clinicians often overestimate this risk.85
23

24   //

25
            84
                    Currently funded by Johnson & Johnson, Purdue and Teva, among others.
26
            85
                    National Pharmaceutical Council, Inc., Pain: Current Understanding of Assessment,
27   Management, and Treatments at 16-17 (Dec. 2001), http://www.npcnow.org/system/files/research/
     download/Pain-Current-Understanding-of-Assessment-Management-and-Treatments.pdf (footnotes
28   and citations omitted).

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 1          94.     Additionally, the monograph recommends that “[p]ain . . . is assessed in all patients” and

 2   suggests that long-acting (i.e., extended release) pain medications are superior and should be used

 3   whenever possible:

 4          Long-acting and sustained-release opioids are useful for patients with continuous
            pain, as they lessen the severity of end-of-dose pain and often allow the patient to sleep
 5          through the night.
 6                                                   *         *    *

 7                 Administer opioids primarily via oral or transdermal routes, using long-acting
                    medications when possible.86
 8

 9   In truth, there is no difference in abuse liability between short- and long-acting opioids prescribed to

10   treat chronic pain.87 Indeed, long-acting opioids often do not work for the full period stated and require

11   additional doses for what is described as “breakthrough pain,” and “the higher the dose, the worse the

12   side effects, including the risks of addiction and death due to accidental overdose.”88

13          95.     The Marketing Defendants’ infiltration and influence over the Joint Commission’s

14   standards and literature exerted overwhelming pressure on doctors to treat and eliminate pain. As more

15   and more doctors migrated from private practice to integrated healthcare systems in the 2000s, treatment

16   options were dictated by, among other things, the Joint Commission’s guidelines.89 Consistent with the

17   guidelines, doctors who left pain untreated were viewed as demonstrating poor clinical skills and/or

18   being morally compromised.90

19          96.     The U.S. General Accounting Office’s December 2003 Report to Congressional

20   Requesters confirms that Purdue funded the “pain management educational courses” that taught the new

21   //

22   //

23
            86
                    Id. at 38, 68 (Table 38).
24           87
                    Wilsey BL, Fishman S, Li CS, Storment J, Albanese A. Markers of abuse liability of
     short- vs long-acting opioids in chronic pain patients: a randomized cross-over trial. Pharmacol
25   Biochem Behav. 2009;94(1):98-107 available at
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2757543/.
26
             88
                    Lembke, (2016), supra n.49, at 60.
27           89
                    Id. at 119.
            90
28                  Id. at 42.

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 1   standard of care for treating pain. It further revealed that Purdue disseminated educational materials on

 2   pain management, which “‘facilitated [Purdue’s] access to hospitals to promote OxyContin.’”91

 3            97.   The American Pain Foundation: The American Pain Foundation (“APF”), described

 4   itself as the nation’s largest organization for pain patients.92 While APF held itself out as an independent

 5   patient advocacy organization, in reality it received 90% of its funding in 2010 from the drug and

 6   medical-device industry, including from defendants Purdue, Endo, Janssen and Cephalon. It received

 7   more than $10 million in funding from opioid manufacturers from 2007 to 2012, when it shut down days

 8   after the U.S. Senate Committee on Finance (“Senate Finance Committee”) launched an investigation

 9   of the APF’s promotion of prescription opioids.

10            98.   The APF’s guides for patients, journalists and policymakers trivialized the risk of

11   addiction and greatly exaggerated the benefits associated with opioid painkillers.93

12            99.   For example, in 2001, the APF published “Treatment Options: A Guide for People Living

13   with Pain.”94 The guide, which was produced due to support from companies including defendants

14   Cephalon and Purdue, misrepresented the risks associated with opioid use. Among other things, the

15   guide:
                   lamented that opioids were sometimes called narcotics because “[c]alling opioid
16                  analgesics ‘narcotics’ reinforces myths and misunderstandings as it places
                    emphasis on their potential abuse rather than on the importance of their use as
17                  pain medicines”;95
18                 stated that “[o]pioids are an essential option for treating moderate to severe pain
                    associated with surgery or trauma”;96 and
19

20            91
                     Gounder, Who Is Responsible, supra n.65; U.S. General Accounting Office,
     GAO-04-110, Prescription Drugs, OxyContin Abuse and Diversion and Efforts to Address the
21   Problem (Dec. 2003), http://www.gao.gov/new.items/d04110.pdf.
             92
22                   The APF was the focus of a December investigation by ProPublica in the Washington
     Post that detailed its close ties to drugmakers.
23           93
                     Charles Ornstein & Tracy Weber, American Pain Foundation Shuts Down as Senators
     Launch Investigation of Prescription Narcotics, ProPublica (May 8, 2012, 8:57 PM),
24   https://www.propublica.org/article/senate-panel-investigates-drug-company-ties-to-pain-groups/
     (hereinafter, “Ornstein, American Pain Foundation”).
25
             94
                     Treatment Options: A Guide for People Living with Pain, American Pain Foundation,
26   https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf (last visited Dec. 14,
     2018).
27           95
                     Id. at 11.
              96
28                  d.

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                   opined that “[r]estricting access to the most effective medications for treating pain
 1                  [opioids] is not the solution to drug abuse or addiction.”97
 2   The guide included blurbs from Portenoy, who is quoted as saying “[t]his is a very good resource for

 3   the pain patient,” and Fishman, who is quoted as saying, “[w]hat a great job! Finally, a pill consumer

 4   resource created for patients with pain. A ‘must have’ for every physician’s waiting room.”98

 5          100.    In 2003, the APF published a newsletter titled, “Best of . . . The Pain Community News”

 6   that purported to clarify any confusion over addiction and opioids and emphasized the “tragic

 7   consequence of leaving many people with severe pain under-treated because they – or their doctors –

 8   fear that opioids will cause addiction.”

 9          101.    In 2009, Endo sponsored the APF’s publication and distribution of “Exit Wounds: A

10   Survival Guide to Pain Management for Returning Veterans & Their Families” (“Exit Wounds”), a book

11   described as “the inspirational story of how one courageous veteran, with the aid of his family, recovered

12   and thrived despite near death, traumatic brain injury, and the loss of a limb.” It also purported to

13   “offer[] veterans and their families comprehensive and authoritative information on . . . treatment

14   options, and strategies for self-advocating for optimal pain care and medical resources inside and outside

15   the VA system.”

16          102.    Among other false statements, Exit Wounds reported: “Long experience with opioids

17   shows that people who are not predisposed to addiction are very unlikely to become addicted to opioid

18   pain medications.” Endo, through the APF, thus distributed false information with the purpose of

19   providing veterans false information they could use to “self-advocat[e]” for opioids while omitting a

20   discussion of the risks associated with opioid use.

21          103.    In 2009, the APF played a central role in a first-of-its-kind, web-based series called,

22   “Let’s Talk Pain,” hosted by veteran TV journalist Carol Martin. The series brought together healthcare

23   providers and “people with pain to discuss a host of issues from managing health care for pain to

24   exploring integrative treatment approaches to addressing the psychological aspects associated with

25   pain.” The “Let’s Talk Pain” talk show is still available online. In the very first episode of this talk

26   show, the following exchange took place:

27          97
                    Id. at 15.
            98
28                  Id. at 76.

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 1                 [Teresa Shaffer (APF Action Network Leader):] As a person who has been
            living with pain for over 20 years, opioids are a big part of my pain treatment. And I
 2          have been hearing such negative things about opioids and the risk factors of opioids.
            Could you talk with me a little bit about that?
 3
                    [Dr. Al Anderson (AAPM Board of Directors):] The general belief system in
 4          the public is that the opioids are a bad thing to be giving a patient. Unfortunately, it’s
            also prevalent in the medical profession, so patients have difficulty finding a doctor when
 5          they are suffering from pain for a long period of time, especially moderate to severe
            pain. And that’s the patients that we really need to use the opioids methods of treatment,
 6          because they are the ones who need to have some help with the function and they’re the
            ones that need to be controlled enough so that they can increase their quality of life.99
 7

 8          104.    In reality, there is little scientific evidence to support the contention that opioids taken

 9   long-term improve function or quality of life for chronic pain patients. 100 To the contrary, there is ample

10   evidence that opioids impose significant risks and adverse outcomes on long-term users and that they

11   may actually reduce function. 101 As a recent article in the New England Journal of Medicine concluded:

12   “Although opioid analgesics rapidly relieve many types of acute pain and improve function, the benefits

13   of opioids when prescribed for chronic pain are much more questionable.” The article continues, “opioid

14   analgesics are widely diverted and improperly used, and the widespread use of the drugs has resulted in

15   a national epidemic of opioid overdose deaths and addictions.”102 More recent still, a study published

16
            99
                     Episode 1: Safe Use of Opioids (PainSAFE), Let’s Talk Pain (Sept. 28, 2010),
17   https://www.youtube.com/watch?v=zeAlVAMRgsk.
             100
                     Lembke (2016), supra n.49, at 59 (citing The Effectiveness and Risks of Long-Term
18   Opioid Treatment of Chronic Pain, Evidence Report/Technology Assessment., No. 218, Agency for
     Healthcare Research and Quality (Sept. 2014), https://effectivehealthcare.ahrq.gov/sites/default/files/
19   related_files/chronic-pain-opioid-treatment_executive.pdf).
             101
20                   Discussing the CDC’s “March 2016 Guideline for Prescribing Opioids for Chronic
     Pain,” doctors wrote:
21           Most placebo-controlled, randomized trials of opioids have lasted 6 weeks or less, and
             we are aware of no study that has compared opioid therapy with other treatments in terms
22           of long-term (more than 1 year) outcomes related to pain, function, or quality of life. The
             few randomized trials to evaluate opioid efficacy for longer than 6 weeks had consistently
23           poor results. In fact, several studies have showed that use of opioids for chronic pain
             may actually worsen pain and functioning, possibly by potentiating pain perception.
24
             Thomas R. Frieden & Debra Houry, Reducing the Risks of Relief – The CDC Opioid-
25   Prescribing Guideline, 374 New Eng. J. Med. 1501-04 (Apr. 21, 2016),
     http://www.nejm.org/doi/full/10.1056/ NEJMp1515917?af=R&rss=currentIssue&#t=article (footnote
26   omitted).
             102
27                 Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain –
     Misconceptions and Mitigation Strategies, 374 New Eng. J. Med. 1253-63 (Mar. 31, 2016),
28   http://www.nejm.org/ doi/full/10.1056/NEJMra1507771#t=article.

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 1   in JAMA concluded that “[t]reatment with opioids was not superior to treatment with nonopioid

 2   medications for improving pain-related function over 12 months.”103

 3          105.    The APF also developed the National Initiative on Pain Control (“NIPC”), which ran a

 4   facially unaffiliated website, www.painknowledge.org. NIPC promoted itself as an education initiative

 5   and promoted its expert leadership team, including purported experts in the pain management field. The

 6   website painknowledge.org promised that, on opioids, “your level of function should improve; you may

 7   find you are now able to participate in activities of daily living, such as work and hobbies, that you were

 8   not able to enjoy when your pain was worse.” Elsewhere, the website touted improved quality of life

 9   (as well as “improved function”) as benefits of opioid therapy.             In a brochure available on

10   painknowledge.org titled, “Pain: Opioid Facts,” the NIPC misleadingly stated that “people who have no

11   history of drug abuse, including tobacco, and use their opioid medication as directed will probably not

12   become addicted” and even refused to rule out the use of opioid pain relievers for patients who have a

13   history of addiction to opioids.104

14          106.    In or around 2011, the APF published the “Policymaker’s Guide,” sponsored by Purdue,

15   which dispelled the notion that “strong pain medication leads to addiction” by characterizing it as a

16   “common misconception[]”:

17          Many people living with pain, and even some health care practitioners, falsely believe
            that opioid pain medicines are universally addictive. As with any medication, there are
18          risks, but these risks can be managed when these medicines are properly prescribed and
            taken as directed. For more information about safety issues related to opioids and other
19          pain therapies, visit http://www.painsafe.org.105
20          107.    The guide describes “pain in America” as “an evolving public health crisis” and

21   characterizes concerns about opioid addiction as misconceptions: “Unfortunately, too many Americans

22   are not getting the pain care they need and deserve. Some common reasons for difficulty in obtaining

23
            103
24                  Krebs, Effect of Opioid vs. Nonopioid Medications, supra n.54.
             104
                    Pain: Opioid Facts, Pain Knowledge (2007)
25   https://web.archive.org/web/20101007102042/
     http://painknowledge.org/patiented/pdf/Patient%20Education%20b380_b385%20%20pf
26   %20opiod.pdf (last visited Dec. 14, 2018).
             105
27                  A Policymaker’s Guide to Understanding Pain & Its Management, American Pain
     Foundation at 5 (Oct. 2011), http://s3.documentcloud.org/documents/277603/apf-policymakers-
28   guide.pdf.

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 1   adequate care include: . . . Misconceptions about opioid addiction.”106 It even characterizes as a

 2   “myth” that “[c]hildren can easily become addicted to pain medications.”107 The guide further asserts

 3   that “multiple clinical studies” have shown that opioids are effective in improving daily function,

 4   psychological health and health-related quality of life for chronic pain patients, which was not the

 5   case.108

 6              108.   In December 2011, the Washington Post reported on ProPublica’s investigation of the

 7   APF, which detailed the APF’s close ties to drugmakers:

 8              [T]he pills continue to have an influential champion in the American Pain
                Foundation, which describes itself as the nation’s largest advocacy group for pain
 9              patients. Its message: The risk of addiction is overblown, and the drugs are underused.
10                    What the nonprofit organization doesn’t highlight is the money behind that
                message.
11
                       The foundation collected nearly 90 percent of its $5 million in funding last year
12              from the drug and medical-device industry – and closely mirrors its positions, an
                examination by ProPublica found.109
13

14              109.   American Academy of Pain Medicine and American Pain Society: The Marketing

15   Defendants, including at least Endo, Janssen and Purdue, have contributed funding to the AAPM and

16   the APS for decades.

17              110.   In 1997, the AAPM issued a “consensus” statement that endorsed opioids to treat chronic

18   pain and claimed that the risk that patients would become addicted to opioids was low. At the time, the

19   chairman of the committee that issued the statement, Haddox, was a paid speaker for Purdue. Haddox

20              106
                      Id. at 6.
                107
21                    Id. at 40.
             108
                      The “Policymaker’s Guide” cites for support “Opioids for chronic noncancer pain: a
22   meta-analysis of effectiveness and side effects,” a review published in 2006 in the Canadian Medical
     Association Journal. Id. at 34. However, the review concludes: “For functional outcomes, the other
23   analgesics were significantly more effective than were opioids.” Andrea D. Furlan et al., Opioids for
     chronic noncancer pain: a meta-analysis of effectiveness and side effects,
24   174(11) Canadian Med. Assoc. J. 1589-94 (May 23, 2006), https://www.ncbi.nlm.nih.gov/
     pmc/articles/PMC1459894/. The Purdue-sponsored guide failed to disclose both this conclusion and
25   the fact that the review analyzed studies that lasted, on average, five weeks and therefore could not
     support the long-term use of opioids.
26
             109
                      Charles Ornstein & Tracy Weber, Patient advocacy group funded by success of
27   painkiller drugs, probe finds, Wash. Post (Dec. 23, 2011),
     https://www.washingtonpost.com/national/health-science/patient-advocacy-group-funded-by-success-
28   of-painkiller-drugs-probe-finds/2011/12/20/gIQAgvczDP_story.html?utm_term=. 22049984c606.

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 1   was later hired as Purdue’s vice president for health policy. The consensus statement, which also formed

 2   the foundation of the 1998 guidelines, was published on the AAPM’s website. AAPM’s corporate

 3   council includes Purdue, Depomed, Inc. (“Depomed”), Teva and other pharmaceutical companies.

 4   AAPM’s past presidents include Haddox (1998), Fishman (2005), Dr. Perry G. Fine (“Fine”) (2011) and

 5   Lynn R. Webster (“Webster”) (2013), all of whose connections to the opioid manufacturers are well-

 6   documented as set forth below.

 7          111.    At or about the same time, the APS introduced the “pain as the 5th vital sign” campaign,

 8   followed soon thereafter by Veterans Affairs adopting that campaign as part of its national pain

 9   management strategy.

10          112.    The AAPM and APS issued guidelines in 2009 (“2009 Guidelines”) that continued to

11   recommend the use of opioids to treat chronic pain. Fourteen of the 21 panel members who drafted the

12   2009 Guidelines received funding from Janssen, Cephalon, Endo or Purdue.

13          113.    The 2009 Guidelines falsely promoted opioids as safe and effective for treating chronic

14   pain and concluded that the risk of addiction was manageable for patients regardless of past abuse

15   histories.110 The 2009 Guidelines have been a particularly effective channel of deception and have

16   influenced not only treating physicians but also the body of scientific evidence on opioids; they were

17   reprinted in the journal Pain, have been cited hundreds of times in academic literature and remain

18   available online. The Marketing Defendants widely cited and promoted the 2009 Guidelines without

19   disclosing the lack of evidence to support their conclusions.

20          114.    The Alliance for Patient Access: Founded in 2006, the Alliance for Patient Access

21   (“APA”) is a self-described patient advocacy and health professional organization that styles itself as “a

22   national network of physicians dedicated to ensuring patient access to approved therapies and

23   appropriate clinical care.”111 It is run by Woodberry Associates LLC, a lobbying firm that was also

24

25          110
                    Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in
     Chronic Noncancer Pain, 10(2) J. Pain 113-30 (Feb. 2009), http://www.jpain.org/article/S1526-
26   5900(08)00831-6/pdf (hereinafter, “Chou, Clinical Guidelines”)
             111
27                  About AfPA, The Alliance for Patient Access, http:// allianceforpatientaccess.org (last
     visited Dec. 14, 2018). References herein to APA include two affiliated groups: the Global Alliance
28   for Patient Access and the Institute for Patient Access.

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 1   established in 2006.112 As of June 2017, the APA listed 30 “Associate Members and Financial

 2   Supporters.” The list includes Johnson & Johnson, Endo, Mallinckrodt, Purdue, Cephalon and Allergan.

 3          115.    APA’s board members have also directly received substantial funding from

 4   pharmaceutical companies.113       For instance, board vice president Dr. Srinivas Nalamachu

 5   (“Nalamachu”), who practices in Kansas, received more than $800,000 from 2013 through 2015 from

 6   pharmaceutical companies – nearly all of it from manufacturers of opioids or drugs that treat opioids’

 7   side-effects, including from Endo, Insys, Purdue and Cephalon. Nalamachu’s clinic was raided by

 8   Federal Bureau of Investigation (“FBI”) agents in connection with an investigation of Insys and its

 9   payment of kickbacks to physicians who prescribed Subsys.114 Other board members include Dr. Robert

10   A. Yapundich from North Carolina, who received $215,000 from 2013 through 2015 from

11   pharmaceutical companies, including payments by Cephalon and Mallinckrodt; Dr. Jack D. Schim from

12   California, who received more than $240,000 between 2013 and 2015 from pharmaceutical companies,

13   including Endo, Mallinckrodt and Cephalon; Dr. Howard Hoffberg from Maryland, who received

14   $153,000 between 2013 and 2015 from pharmaceutical companies, including Endo, Purdue, Insys,

15   Mallinckrodt and Cephalon; and Dr. Robin K. Dore from California, who received $700,000 between

16   2013 and 2015 from pharmaceutical companies.

17          116.    Among its activities, the APA issued a white paper titled, “Prescription Pain Medication:

18   Preserving Patient Access While Curbing Abuse.”115 Among other things, the white paper criticizes

19   prescription monitoring programs, purporting to express concern that they are burdensome, not user

20   friendly and of questionable efficacy:

21          112
                     Mary Chris Jaklevic, Non-profit Alliance for Patient Access uses journalists and
     politicians to push Big Pharma’s agenda, Health News Review (Oct. 2, 2017),
22   https://www.healthnewsreview.org/2017/10/non-profit-alliance-patient-access-uses-journalists-
     politicians-push-big-pharmas-agenda/ (hereinafter, “Jaklevic, Non-profit Alliance for Patient Access”).
23
             113
                     All information concerning pharmaceutical company payments to doctors in this
24   paragraph is from ProPublica’s Dollars for Docs database, available at
     https://projects.propublica.org/docdollars/.
25           114
                     Andy Marso, FBI seizes records of Overland Park pain doctor tied to Insys, Kansas
     City Star (July 20, 2017), http://www.kansascity.com/news/ business/health-
26   care/article162569383.html.
             115
27                   Prescription Pain Medication: Preserving Patient Access While Curbing Abuse,
     Institute for Patient Access (Oct. 2013), http://1yh21u3cjptv3xjder1dco9mx5s. wpengine.netdna-
28   cdn.com/wp-content/uploads/2013/12/PT_White-Paper_Finala. pdf.

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 1          Prescription monitoring programs that are difficult to use and cumbersome can place
            substantial burdens on physicians and their staff, ultimately leading many to stop
 2          prescribing pain medications altogether. This forces patients to seek pain relief
            medications elsewhere, which may be much less convenient and familiar and may even
 3          be dangerous or illegal.
 4
                                                       *       *       *
 5          In some states, physicians who fail to consult prescription monitoring databases before
            prescribing pain medications for their patients are subject to fines; those who repeatedly
 6          fail to consult the databases face loss of their professional licensure. Such penalties seem
            excessive and may inadvertently target older physicians in rural areas who may not be
 7          facile with computers and may not have the requisite office staff. Moreover, threatening
            and fining physicians in an attempt to induce compliance with prescription monitoring
 8          programs represents a system based on punishment as opposed to incentives. . . .
 9          We cannot merely assume that these programs will reduce prescription pain medication
            use and abuse.116
10

11          117.    The white paper also purports to express concern about policies that have been enacted

12   in response to the prevalence of pill mills:

13                   Although well intentioned, many of the policies designed to address this problem
            have made it difficult for legitimate pain management centers to operate. For instance,
14          in some states, [pain management centers] must be owned by physicians or professional
            corporations, must have a Board certified medical director, may need to pay for annual
15          inspections, and are subject to increased record keeping and reporting requirements. . . .
            [I]t is not even certain that the regulations are helping prevent abuses.117
16

17          118.    In addition, in an echo of earlier industry efforts to push back against what they termed

18   “opiophobia,” the white paper laments the stigma associated with prescribing and taking pain

19   medication:

20          Both pain patients and physicians can face negative perceptions and outright stigma.
            When patients with chronic pain can’t get their prescriptions for pain medication filled
21          at a pharmacy, they may feel like they are doing something wrong – or even criminal. . . .
            Physicians can face similar stigma from peers. Physicians in non-pain specialty areas
22          often look down on those who specialize in pain management – a situation fueled by the
            numerous regulations and fines that surround prescription pain medications.118
23

24          119.    In conclusion, the white paper states that “[p]rescription pain medications, and

25   specifically the opioids, can provide substantial relief for people who are recovering from surgery,

26
            116
                    Id. at 4-5 (footnote omitted).
27          117
                    Id. at 5-6.
            118
28                  Id. at 6.

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 1   afflicted by chronic painful diseases, or experiencing pain associated with other conditions that does not

 2   adequately respond to over-the-counter drugs.”119

 3          120.    The APA also issues “Patient Access Champion” financial awards to members of

 4   Congress, including 50 such awards in 2015. The awards were funded by a $7.8 million donation from

 5   unnamed donors. While the awards are ostensibly given for protecting patients’ access to Medicare,

 6   and are thus touted by their recipients as demonstrating a commitment to protecting the rights of senior

 7   citizens and the middle class, they appear to be given to provide cover to and reward members of

 8   Congress who have supported the APA’s agenda.120

 9          121.    The APA also worked to promote policies to limit low-enforcement oversight of opioid

10   distribution. In 2015, the APA signed onto a letter supporting legislation proposed to limit the ability

11   of the DEA to police pill mills by enforcing the “suspicious orders” provision of the Comprehensive

12   Drug Abuse Prevention and Control Act of 1970, 21 U.S.C. §801, et seq. (“CSA” or “Controlled

13   Substances Act”).121 The AAPM is also a signatory to this letter. An internal DOJ memo stated that the

14   proposed bill “could actually result in increased diversion, abuse, and public health and safety

15   consequences”122 and, according to DEA chief administrative law judge John J. Mulrooney

16   (“Mulrooney”), the law would make it “all but logically impossible” to prosecute manufacturers and

17   distributors, like the defendants here, in the federal courts.123 The law passed both houses of Congress

18   and was signed into law in 2016.124

19

20          119
                     Id. at 7.
            120
21                   Jaklevic, Non-profit Alliance for Patient Access, supra n.112.
             121
                     Letter from Alliance for Patient Access et al., to Congressmen Tom Marino, Marsha
22   Blackburn, Peter Welch, and Judy Chu (Jan. 26, 2015), http://www.hoparx.org/images/hopa/advocacy/
     advocacy-activities/FINAL_Patient_Access_Letter_of_Support_House_Bill.pdf.
23
             122
                     Bill Whitaker, Ex-DEA Agent: Opioid Crisis Fueled by Drug Industry and Congress,
24   CBS News (Oct. 17, 2017), https://www.cbsnews.com/news/ex-dea-agent-opioid-crisis-fueled-by-
     drug-industry-and-congress/ (hereinafter, “Whitaker, Opioid Crisis Fueled by Drug Industry”).
25           123
                     John J. Mulrooney, II & Katherine E. Legel, Current Navigation Points in Drug
     Diversion Law: Hidden Rocks in Shallow, Murky, Drug-Infested Waters, 101(2) Marquette L. Rev.
26   333-451 (Winter 2017),
     http://scholarship.law.marquette.edu/cgi/viewcontent.cgi?article=5348&context=mulr.
27
             124
                     Ensuring Patient Access and Effective Drug Enforcement Act of 2016, Pub. L. No.
28   114-145, 130 Stat. 353 (codified as amended at 21 U.S.C. §§823(j), 824(c), (d).

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 1          122.    Exposing the Financial Ties Between Opioid Manufacturers and Third-Party Groups:

 2   A February 12, 2018 report titled, “Fueling an Epidemic Report Two: Exposing the Financial Ties

 3   Between Opioid Manufacturers and Third Party Advocacy Groups” and issued by the U.S. Senate

 4   Homeland Security & Government Affairs Committee, Ranking Member’s Office, sheds additional light

 5   on the financial connections between opioid manufacturers and purportedly neutral patient advocacy

 6   organizations and medical professional societies that, unsurprisingly, have “echoed and amplified

 7   messages favorable to increased opioid use – and ultimately the financial interests of opioid

 8   manufacturers.”125

 9          123.    The report details findings resulting from subpoenas issued by Senator McCaskill to five

10   opioid manufacturers, including three of the Marketing Defendants – Purdue, Janssen, Insys, Depomed

11   and Mylan N.V. (“Mylan”) – and to 15 purportedly neutral patient advocacy organizations and medical

12   professional societies. “The information produced to the Committee demonstrates that many patient

13   advocacy organizations and professional societies focusing on opioids policy have promoted messages

14   and policies favorable to opioid use while receiving millions of dollars in payments from opioid

15   manufacturers,” the report found.      It continued: “Through criticism of government prescribing

16   guidelines, minimization of opioid addiction risk, and other efforts, ostensibly neutral advocacy

17   organizations have often supported industry interests at the expense of their own constituencies.”126

18          124.    According to the report, the five manufacturers whose information was subpoenaed by

19   Senator McCaskill alone contributed almost $9 million combined to patient advocacy organizations and

20   professional societies operating in the opioids policy area:

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27          125
                    February 2018 McCaskill Report, supra n.47, at 1.
            126
28                  Id. at 3.

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23          125.   As shown below, payments from Purdue comprise roughly half this funding, with Insys

24   providing the second-largest amount:

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16          126.    While Purdue’s payments slowed starting in 2016, Insys’ payments increased

17   exponentially in 2017:

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24          127.    In addition to the nearly $9 million in payments to purportedly neutral patient advocacy

25   organizations and medical professional societies, the five subpoenaed opioid manufacturers made an

26   additional $1.6 million in payments to the organizations’ and societies’ group executives, staff members,

27   board members and advisory board members. When payments from all opioid manufacturers are

28   //

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 1   tabulated, more than $10.6 million was paid to individuals affiliated with such organizations and

 2   societies from 2013 through the date of the report:

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17          128.    Included in the above-listed payments were payments of more than $140,000 from opioid

18   manufacturers, including Endo, Purdue and Mallinckrodt, to ten members of the American Chronic Pain

19   Association Advisory Board; $170,000 from Insys to National Pain Foundation (“NPF”) chairman and

20   founder D. Daniel Bennett; and more than $950,000 to members of the NPF board of directors from

21   various opioid manufacturers, including more than $250,000 from Insys alone.

22          129.    Worse still, the organizations provided limited disclosures of these sources of funding –

23   when they provided any information at all. The American Society of Pain Educators, the NPF, and the

24   Academy of Integrative Pain Management provided no information concerning their policies for

25   disclosing donors or donations, while several others stated explicitly that they did not disclose any

26   information concerning donor relationships. When the groups investigated did disclose their sources of

27   funding, they did so without providing specifics as donation amounts.

28   //

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 1          130.    Most importantly, many of the groups investigated “amplified or issued messages that

 2   reinforce industry efforts to promote opioid prescription and use, including guidelines and policies

 3   minimizing the risk of addiction and promoting opioids for chronic pain.” Several of the groups “also

 4   lobbied to change laws directed at curbing opioid use, strongly criticized landmark CDC guidelines on

 5   opioid prescribing, and challenged legal efforts to hold physicians and industry executives responsible

 6   for overprescription and misbranding.”127 The report provided details regarding four ways the groups

 7   investigated set about these tasks.

 8          131.    First, the report states that “[m]any of the groups have issued guidelines to physicians

 9   and other health practitioners that minimize the risk of opioid addiction or emphasize the long-term use

10   of opioids to treat chronic pain.”128 The report provides examples, including: (a) the AAPM’s and APS’s

11   1997 consensus statement endorsing opioids for chronic pain and stating that the risk of addiction was

12   low; (b) the 2009 issuance of guidelines by the AAPM and the APS allegedly promoting opioids as safe

13   and effective for chronic pain and concluding the risk of addiction was manageable regardless of past

14   abuse history; (c) the 2009 issuance of guidelines by the American Geriatrics Society (“AGS”) for the

15   management of persistent pain recommending that opioids should be considered for all patients with

16   moderate to severe pain in older patients and stating that the risks of addiction are exceedingly low in

17   older patients; and (d) the creation of a 2009 patient education guide by the AGS, the AAPM and Janssen

18   stating that opioids are rarely addictive when used properly to manage chronic pain.

19          132.    Second, the report notes that “[a]dvocacy groups have engaged in extensive lobbying

20   efforts to either defeat legislation restricting opioid prescribing or promote laws encouraging opioid

21   treatment with pain.”129 For example, in 2014, the Academy of Integrative Pain Management and the

22   American Cancer Society Cancer Action Network led the effort to protect a law making it difficult to

23   discipline doctors for overprescribing opioids and prohibited doctors from refusing to prescribe opioids

24   unless they also referred the patient to an “opioid-friendly” doctor.

25   //

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            127
                    Id. at 12.
27          128
                    Id.
            129
28                  Id. at 13.

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 1          133.    Third, the report admonished a majority of the groups for strongly criticizing CDC

 2   guidelines issued in 2016 providing prescribing recommendations for primary care doctors who are

 3   prescribing opioids for chronic pain outside of active treatment of cancer, palliative care and end-of life

 4   care. These guidelines were “the first national standards for prescription painkillers” and were “perhaps

 5   the first major step from the federal government [] toward limiting opioid prescriptions for chronic pain

 6   in the face of an unprecedented public health crisis.”130 However, most industry groups opposed the

 7   guidelines. For example, David Carr, the immediate past president of the AAPM, criticized the

 8   guidelines as reflecting “disproportionately strong recommendations based upon a narrowly selected

 9   portion of the available clinical evidence.” Other groups complained that the draft guidelines “were not

10   transparent,” cited purported conflicts of interest among those who created them, criticized the “overly

11   secretive manner” in which they’d been developed and called them “inherently biased.”131

12          134.    Fourth, several of the advocacy groups and professional societies organized legal efforts

13   to challenge government actions to punish executives responsible for fraudulent opioid marketing and

14   doctors who overprescribed opioids. For example, the NPF submitted an amicus brief to the U.S. Court

15   of Appeals for the Fourth Circuit in support of a doctor convicted of 16 counts of drug trafficking for

16   prescribing massive quantities of oxycodone and other narcotics – in one instance, more than 1,600 per

17   day – to patients in chronic pain. In its brief, the NPF opposed the conviction, criticizing the holding

18   that “a doctor acting in the good faith belief that he was serving the best medical interest of his patient

19   could be found to be a drug dealer.”132 The Washington Legal Foundation filed an amicus brief in the

20   U.S. Court of Appeals for the District of Columbia Circuit arguing that the exclusion of three former

21   Purdue executives from participation in federal healthcare programs for 12 years for their admitted

22   failure to prevent fraudulent marketing of OxyContin raised “serious constitutional due process

23   concerns.”

24          135.    In conclusion, the report found that, while health advocacy organizations are “among the

25   most influential and trusted stakeholders in U.S. health policy,” the reality is that their “positions closely

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            130
                    Id. at 13-14.
27          131
                    Id. at 14.
            132
28                  Id. at 15.

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 1   correspond to the marketing aims of pharmaceutical and device companies,” including in the area of

 2   opioids policy. “The findings in this report indicate that this tension exists in the area of opioids policy

 3   – that organizations receiving substantial funding from manufacturers have, in fact, amplified and

 4   reinforced messages favoring increased opioid use.” This amplification “may have played a significant

 5   role in creating the necessary conditions for the U.S. opioids epidemic.”133

 6                          b.      The Marketing Defendants Paid Key Opinion Leaders and
                                    Sponsored Speakers’ Bureaus to Disseminate False and
 7                                  Misleading Messaging
 8          136.    The Marketing Defendants have paid millions of dollars to physicians to promote

 9   aggressive prescribing of opioids for chronic pain. Recently released federal data shows that the

10   Marketing Defendants increased such payments to physicians who treat chronic pain even while the

11   opioid crisis accelerated and overdose deaths from prescription opioids and related illicit drugs, such as

12   heroin, soared to record rates.134 These payments come in the form of consulting and speaking fees, free

13   food and beverages, discount coupons for drugs and other freebies. The total payments from the

14   Marketing Defendants to doctors related to opioids doubled from 2014 to 2015. Moreover, according

15   to experts, research shows even small amounts of money can have large effects on doctors’ prescribing

16   practices.135 Physicians who are high prescribers are more likely to be invited to participate in

17   defendants’ speakers’ bureaus. According to a study published by the U.S. National Institutes of Health,

18   “[i]n the speakers’ bureau system, physicians are recruited and trained by pharmaceutical,

19   biotechnology, and medical device companies to deliver information about products to other physicians,

20   in exchange for a fee.”136

21          137.    According to a research letter published in JAMA Internal Medicine on May 14, 2018,

22   doctors who had just one extra meal paid for by an opioid company were more likely to prescribe opioids

23

24          133
                    Id. at 17.
            134
25                  Joe Lawlor, Even amid crisis, opioid makers plied doctors with perks, Portland Press
     Herald (Dec. 25, 2016), http://www.pressherald.com/2016/12/25/even-amid-crisis-opioid-makers-
26   plied-doctors-with-perks/.
            135
                    Id.
27
            136
                    Lynette Reid & Matthew Herder, The speakers’ bureau system: a form of peer selling,
28   7(2) Open Med. e31-e39 (Apr. 2, 2013), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3863750/.

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 1   than doctors who received fewer free meals:137 The study found that Insys accounted for 50% of the

 2   non-research payments.138

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17          138.    The use of speakers’ bureaus has led to substantial ethical concerns within the medical

18   field. As summarized in a 2013 publication by the Institute on Medicine as a Profession, which

19   substantiated its findings by citing:

20          The Problem:
21                 Pharmaceutical companies often recruit physicians to perform speeches or
            presentations for the purpose of marketing a specific drug. In 2010, 8.6% of physicians
22          reported having received payments for participating in speakers’ bureaus. These
            speakers’ bureaus leverage the credibility of physicians in order to promote the use of
23          pharmaceutical products. The physicians are generally trained to present a certain
24          137
                    Scott E. Hadland et al., Association of Pharmaceutical Industry Marketing of Opioid
     Products to Physicians With Subsequent Opioid Prescribing, JAMA Intern. Med. (May 14, 2018),
25   https://jamanetwork.com/journals/jamainternalmedicine/fullarticle/2681059. The study looked at the
     Open Payments database, which was used to pull out non-research payments to doctors in 2014. It
26   then compared that data to claims in the Medicare Part D Opioid Prescriber Summary File from
     doctors who wrote opioid prescriptions in 2015, leaving in “all physicians with complete, nonduplicate
27   information who had at least 10 opioid claims during 2015.”
            138
28                  Id.

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            message, or are provided with pre-produced slides. The audience may assume that
 1          these presentations are objective, when in fact they are heavily biased towards the
            interests of the industry sponsor.
 2
                    Speakers’ bureaus may lead to the dissemination of false or biased information.
 3          Exposure to industry-sponsored speaking events is associated with decreased quality of
            prescribing. Additionally, the compensation provided for these engagements may
 4          influence the attitudes or judgment of the presenter.139
 5          139.    For example, Fishman is a physician whose ties to the opioid drug industry are legion.

 6   He has served as an APF board member and as president of the AAPM, and has participated yearly in

 7   numerous CME activities for which he received “market rate honoraria.” As discussed above, he has

 8   authored publications, including the seminal guides on opioid prescribing, which were funded by the

 9   Marketing Defendants. He has also worked to oppose legislation requiring doctors and others to consult

10   pain specialists before prescribing high doses of opioids to non-cancer patients. He has himself

11   acknowledged his failure to disclose all potential conflicts of interest in a letter in JAMA titled,

12   “Incomplete Financial Disclosures in a Letter on Reducing Opioid Abuse and Diversion.”140

13          140.    Similarly, Fine’s ties to the Marketing Defendants have been well documented.141 He

14   has authored articles and testified in court cases and before state and federal committees, and he, too,

15   has served as president of the AAPM and argued against legislation restricting high-dose opioid

16   prescription for non-cancer patients. Multiple videos feature Fine delivering educational talks about

17   prescription opioids. He even testified at trial that the 1,500 pills a month prescribed to celebrity Anna

18   Nicole Smith for pain did not make her an addict before her death.142 He has also acknowledged having

19   failed to disclose numerous conflicts of interest.

20   //

21          139
                     Speakers’ Bureaus: Best Practices for Academic Medical Centers, IMAP (Oct. 10,
     2013), http://imapny.org/wp-content/themes/imapny/File%20Library/Best%20Practice%20
22   toolkits/Best-Practices_Speakers--bureaus.pdf (citing research in JAMA, The Journal of Law,
     Medicine & Ethics and Academic Psychiatry).
23
             140
                     Scott M. Fishman, Incomplete Financial Disclosures in a Letter on Reducing Opioid
24   Abuse and Diversion, 306(13) JAMA 1445 (2011); Tracy Weber & Charles Ornstein, Two Leaders in
     Pain Treatment Have Long Ties to Drug Industry, ProPublica (Dec. 23, 2011, 2:14 PM),
25   https://www.propublica.org/article/two-leaders-in-pain-treatment-have-long-ties-to-drug-industry
     (hereinafter, “Weber, Two Leaders in Pain”).
26           141
                     Weber, Two Leaders in Pain, supra n.140.
             142
27                   Linda Deutsch, Doctor: 1,500 pills don’t prove Smith was addicted, Seattle Times
     (Sept. 22, 2010, 5:16 PM), http://www.seattletimes.com/entertainment/doctor-1500-pills-dont-prove-
28   smith-was-addicted/.

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 1          141.    Fishman and Fine are only two of the many physicians whom the Marketing Defendants

 2   paid to present false or biased information on the use of opioids for chronic pain.

 3                          c.     Senate Investigations of the Marketing Defendants
 4          142.    In May 2012, the Chair and Ranking Member of the Senate Finance Committee, Max

 5   Baucus (D-MT) and Chuck E. Grassley (R-IA), launched an investigation into makers of narcotic

 6   painkillers and groups that champion them. The investigation was triggered by “an epidemic of

 7   accidental deaths and addiction resulting from the increased sale and use of powerful narcotic

 8   painkillers,” including popular brand names like OxyContin, Vicodin and Opana.

 9          143.    The Senate Finance Committee sent letters to Purdue, Endo and Johnson & Johnson, as

10   well as five groups that support pain patients, physicians or research, including the APF, AAPM, APS,

11   University of Wisconsin Pain & Policy Studies Group and the Center for Practical Bioethics. Letters

12   also went to the FSMB and the Joint Commission.

13          144.    As shown below in an excerpt from the Senators’ letter to the APF, the Senators

14   addressed the magnitude of the epidemic and asserted that mounting evidence supports that the

15   pharmaceutical companies may be responsible:

16                 It is clear that the United States is suffering from an epidemic of accidental
            deaths and addiction resulting from the increased sale and use of powerful narcotic
17          painkillers such as Oxycontin (oxycodone), Vicodin (hydrocodone), Opana
            (oxymorphone). According to CDC data, “more than 40% (14,800)” of the “36,500 drug
18          poisoning deaths in 2008” were related to opioid-based prescription painkillers. Deaths
            from these drugs rose more rapidly, “from about 4,000 to 14,800” between 1999 and
19          2008, than any other class of drugs, [killing] more people than heroin and cocaine
            combined. More people in the United States now die from drugs than car accidents as
20          a result of this new epidemic. Additionally, the CDC reports that improper “use of
            prescription painkillers costs health insurers up to $72.5 billion annually in direct
21          health care costs.”
22                                                 *      *      *
                    Concurrent with the growing epidemic, the New York Times reports that, based
23          on federal data, “over the last decade, the number of prescriptions for the strongest
            opioids has increased nearly fourfold, with only limited evidence of their long-term
24          effectiveness or risks” while “[d]ata suggest that hundreds of thousands of patients
            nationwide may be on potentially dangerous doses.”
25
                    There is growing evidence pharmaceutical companies that manufacture and
26          market opioids may be responsible, at least in part, for this epidemic by promoting
            misleading information about the drugs’ safety and effectiveness. Recent investigative
27          reporting from the Milwaukee Journal Sentinel/MedPage Today and ProPublica
            revealed extensive ties between companies that manufacture and market opioids and non-
28          profit organizations such as the American Pain Foundation, the American Academy of

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 1          Pain Medicine, the Federation of State Medical Boards, and University of Wisconsin
            Pain and Policy Study Group, and the Joint Commission.
 2
                   In a ProPublica story published in the Washington Post, the watchdog
 3          organization examined the American Pain Foundation, a “health advocacy”
            organization that received “nearly 90 percent of its $5 million funding from the drug
 4          and medical device industry.” ProPublica wrote that its review of the American Pain
            Foundation’s “guides for patients, journalists, and policymakers play down the risks
 5          associated with opioids and exaggerate their benefits. Some of the foundation’s
            materials on the drugs include statements that are misleading or based on scant or
 6          disputed research.”
 7                 According to the Milwaukee Journal Sentinel/MedPage Today, a “network of
            national organizations and researchers with financial connections to the makers of
 8          narcotic painkillers . . . helped create a body of dubious information” favoring opioids
            “that can be found in prescribing guidelines, patient literature, position statements,
 9          books and doctor education courses.”143
10                  Although it is critical that patients continue to have access to opioids to treat
            serious pain, pharmaceutical companies and health care organizations must distribute
11          accurate and unbiased information about these drugs in order to prevent improper use
            and diversion to drug abusers.144
12

13          145.    The Senators demanded substantial discovery, including payment information from the

14   companies to various groups, including the front organizations identified above, and to physicians,

15   including Portenoy, Fishman and Fine, among others. They asked about any influence the companies

16   had on a 2004 pain guide for physicians that was distributed by the FSMB, on the APS’ guidelines and

17   on the APF’s Military/Veterans Pain Initiative. Almost immediately upon the launch of the Senate

18   investigation, the APF shut down “due to irreparable economic circumstances.” The opioid report

19   resulting from this investigation has not been released publicly.145

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            143
23                  For example, the Sentinel reported that the FSMB, with financial support from opioid
     manufacturers, distributed “[m]ore than 160,000 copies” of a model policy book that drew criticism
24   from doctors because “it failed to point out the lack of science supporting the use of opioids for
     chronic, non cancer pain.” John Fauber, Follow the Money: Pain, Policy, and Profit, MedPage Today
25   (Feb. 19, 2012), http://www.medpagetoday.com/Neurology/PainManagement/31256.
            144
                    May 8, 2012 Letter from U.S. Senators Charles E. Grassley and Max Baucus to
26   Catherine Underwood, Executive Director, American Pain Society (footnote added).
            145
27                  Paul D. Thacker, Senators Hatch and Wyden: Do your jobs and release the sealed
     opioids report, Stat News (June 27, 2016), https://www.statnews.com/2016/06/27/opioid-addiction-
28   orrin-hatch-ron-wyden/; see also Ornstein, American Pain Foundation, supra n.93.

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 1          146.    On March 29, 2017, it was widely reported146 that yet another Senate investigation had

 2   been launched:

 3                   Missouri Senator Claire McCaskill has launched an investigation into some of the
            country’s leading prescription drug manufacturers, demanding documents and records
 4          dating back the past five years which indicate just what the companies knew of the drugs’
            risk for abuse as well as documents detailing marketing practices and sales presentations.
 5          Her office has sent letters to the heads of Purdue, Janssen/Johnson & Johnson, Insys,
            Mylan, and Depomed.
 6

 7   The above-referenced companies were reportedly targeted based on their role in manufacturing some of

 8   the opioid painkillers with the highest sales in 2015.

 9          147.    On September 6, 2017, Senator McCaskill’s first report, “Fueling an Epidemic: Insys

10   Therapeutics and the Systemic Manipulation of Prior Authorization,” was published. The report found

11   that Insys manipulated the prior authorization process by misleading pharmacy benefit managers

12   (“PBMs”) in order to increase sales of the Insys-manufactured opioid, Subsys.147 The PBM prior

13   authorization process requires additional approval before dispensing and paying for certain powerful

14   and expensive drugs, which, in the case of Subsys, included “confirmation that the patient had an active

15   cancer diagnosis, was being treated by an opioid (and, thus, was opioid tolerant), and was being

16   prescribed Subsys to treat breakthrough pain that the other opioid could not eliminate.”148 The report

17   found Insys actively and systematically misled PBMs about the presence of breakthrough cancer pain

18   in potential Subsys patients to improperly circumvent the process, however.149 On November 28, 2018,

19   the former Vice President of Sales of Insys pled guilty in federal court to his role in a nationwide

20   conspiracy to bribe medical practitioners to unnecessarily prescribe fentanyl-based pain medication and

21   defraud healthcare insurers.

22          146
                    Nadia Kounang, Senator McCaskill opens investigation into opioid manufacturers,
     CNN (Mar. 29, 2017, 11:06 AM), http://www.cnn.com/2017/03/28/health/senate-opioid-
23   manufacturer-investigation/ index.html.
            147
24                  Fueling an Epidemic: Insys Therapeutics and the Systematic Manipulation of Prior
     Authorization, U.S. Senate Homeland Security & Government Affairs Committee, Ranking Member’s
25   Office at 2 (Sept. 6, 2017), https://www.hsgac.senate.gov/imo/media/doc/REPORT%20-
     %20Fueling%20an%20Epidemic%20-%20Insys%20Therapeutics%20and%20the%20Systemic%20
26   Manipulation%20of%20Prior%20Authorization.pdf.
            148
                    Id. (quoting Complaint, Blue Cross of California, Inc., et al. v. Insys Therapeutics, Inc.,
27   (No. 2:17 CV 02286) (D. Ariz. July 12, 2017)).
            149
28                  Id.

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 1          148.    On September 12, 2017, Senator McCaskill convened a Roundtable Discussion on

 2   Opioid Marketing. During the hearing, Senator McCaskill stated:

 3                   The opioid epidemic is the direct result of a calculated marketing and sales
            strategy developed in the 90’s, which delivered three simple messages to physicians.
 4          First, that chronic pain was severely undertreated in the United States. Second, that
            opioids were the best tool to address that pain. And third, that opioids could treat pain
 5          without risk of serious addiction. As it turns out, these messages were exaggerations at
            best and outright lies at worst.
 6
                                                  *     *       *
 7                 Our national opioid epidemic is complex, but one explanation for this crisis is
            simple, pure greed.
 8

 9          149.    Professor Adriane Fugh-Berman (“Fugh-Berman”), Associate Professor at Georgetown

10   University Medical Center and director of a program at Georgetown called Pharmed Out, which

11   conducts research on and educates the public about inappropriate pharmaceutical company marketing,

12   also testified during the hearing. She, too, placed the blame for the opioid crisis squarely at the feet of

13   pharmaceutical companies:

14                  Since the 1990’s, pharmaceutical companies have stealthily distorted the
            perceptions of consumers and healthcare providers about pain and opioids. Opioid
15          manufacturers use drug reps, physicians, consumer groups, medical groups, accreditation
            and licensing bodies, legislators, medical boards and the federal government to advance
16          marketing goals to sell more opioids. This aggressive marketing pushes resulted in
            hundreds of thousands of deaths from the overprescribing of opioids. The U.S. is about
17          – comprises about five percent of the world population, but we use about two-thirds of
            the world supply of opioids.
18

19          150.    Fugh-Berman also answered why doctors were able to be convinced by pharmaceutical

20   companies’ marketing efforts:

21                 Why do physicians fall for this? Well, physicians are overworked, overwhelmed,
            buried in paperwork and they feel unappreciated. Drug reps are cheerful. They’re
22          charming. They provide both appreciation and information. Unfortunately, the
            information they provide is innately unreliable.
23
                    Pharmaceutical companies influence healthcare providers’ attitudes and their
24          therapeutic choices through financial incentives that include research grants, educational
            grants, consulting fees, speaking fees, gifts and meals.
25

26          151.    Fugh-Berman further described the false information provided by pharmaceutical

27   companies and the industry creation of front organizations, including the APF, to pass industry-

28   influenced regulations and policies:

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                    Pharmaceutical companies convinced healthcare providers that they were
 1          opiophobic and that they were causing suffering to their patients by denying opioids to
            patients with back pain or arthritis. They persuaded prescribers that patients with pain
 2          were somehow immune to addiction. Even when addiction was suspected, physicians
            were taught that it might not really be addiction, it might be pseudo-addiction, an
 3          invented condition that’s treated by increasing opioid dosages.
 4                  Industry created the American Pain Foundation co-opted other groups including
            medical organizations, and they change state laws to eliminate curbs on opioid
 5          prescribing. Between 2006 and 2015, pharmaceutical companies and the advocacy
            groups they control employ 1,350 lobbyists a year in legislative hubs. Industry-
 6          influenced regulations and policies ensure that hospitalized patients were and are berated
            constantly about their level of pain and overmedicated with opioids for that pain. Even
 7          a week of opioids can lead a patient into addiction so many patients are discharged from
            hospitals already dependent on opioids.
 8

 9          152.     In addition, Fugh-Berman pointed out that promotion of opioids remains ongoing despite

10   increasing public concern about their use:

11                  Promotion of opioids is not in the past. Between 2013 and 2015, one in 12
            physicians took out money from opioid manufacturers, a total of more than $46 million.
12          Industry-friendly messages that pharmaceutical companies are currently perpetuating
            reassure physicians that prescribing opioids is safe as long as patients do not have a
13          history of substance abuse or mental illness.
14          153.     Fugh-Berman concluded by stating: “It is a misperception to think that most opioid

15   deaths are caused by misuse of opioids or overdoses. In fact, many deaths occur when people are using

16   opioids in exactly the way they were prescribed. Misuse isn’t the problem; use is the problem.”

17                   3.     The Devastating Impact
18          154.     The impact of the Marketing Defendants’ false messaging has been profound. The drug

19   companies profited handsomely as more and more people became addicted to opioids and died of

20   overdoses.150

21          155.     For Purdue, sales grew from $48 million per year in 1996, to over $1 billion per year in

22   2000, to $3.1 billion per year ten years later. In 2011, pharmaceutical companies generated revenues of

23   $11 billion from opioid sales alone.

24   //

25   //

26
            150
27                 German Lopez, How big pharma got people hooked on dangerous opioids – and made
     tons of money off it, Vox (Sept. 22, 2016, 3:00 PM), http://www.vox.com/2016/2/5/10919360/opioid-
28   epidemic-chart.

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 1          156.    The United States, including specifically San Francisco, is experiencing an

 2   unprecedented opioid addiction and overdose epidemic, costing millions in health insurance and public

 3   safety as well as lost productivity in the workforce.

 4          157.    By 2002, “[l]ifetime nonmedical use of OxyContin increased from 1.9 million to 3.1

 5   million people between 2002 and 2004, and in 2004 there were 615,000 new nonmedical users of

 6   OxyContin.”151

 7          158.    By 2004, OxyContin had “become the most prevalent prescription opioid abused in the

 8   United States.”152 The severity of the problem was first felt in states including Maine, West Virginia,

 9   eastern Kentucky, southwestern Virginia and Alabama, where, from 1998 through 2000, hydrocodone

10   and oxycodone were being prescribed 2.5-5 times more often than the national average. By 2000, these

11   same areas had a prescription rate up to 5-6 times higher than the national average. These areas were

12   also the first to suffer increased abuse and diversion, which became apparent by 1999 and 2000.

13   Manufacturers then expanded the geographic market by investing hundreds of millions of dollars in

14   marketing, and the once-regional problem began to spread nationally. “[B]y 2004 OxyContin had

15   become a leading drug of abuse in the United States.”153

16          159.    As OxyContin sales grew between 1999 and 2002, so did sales of other opioids, including

17   fentanyl (226%), morphine (73%) and oxycodone (402%). And, as prescriptions surged between 1999

18   and 2010, so did deaths from opioid overdoses (from about 4,000 to almost 17,000).154

19          160.    In 2012 alone, an estimated 259 million opioid prescriptions were filled, enough to

20   medicate every adult in the United States for a month on a round-the-clock basis.155 In 2014, there were

21   more than 47,000 drug overdose deaths nationwide, 61% involving a prescription or illicit opioid.156

22

23
            151
                     Van Zee, Promotion and Marketing, supra n.59.
24
            152
                     Id.
25           153
                     Id.
             154
26                   Gounder, Who Is Responsible, supra n.65.
             155
                     Opioid Painkiller Prescribing, Centers for Disease Control and Prevention: Vital Signs
27   (July 2014), https://www.cdc.gov/vitalsigns/opioid-prescribing/.
            156
28                  Rudd, Increases in Drug and Opioid Involved Overdose, supra n.5.

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 1   The use of prescription painkillers cost health insurers up to $72.5 billion annually in direct healthcare

 2   costs.157

 3           161.     The problem of opioid addiction has become so prevalent that California has responded

 4   by mandating the use of a Controlled Substance Utilization Review and Evaluation System database to

 5   evaluate excessive painkiller prescriptions and put a stop to them.158

 6           162.     San Francisco has suffered, and continues to suffer, significant financial consequences

 7   as a result of opioid over-prescription and addiction, including, but not limited to: (a) increased public

 8   health expenditures; (b) law enforcement and judicial expenditures; (c) increased jail expenditures;

 9   (d) increased subsidized housing and rehousing costs; (e) increased substance abuse treatment, diversion

10   and education plan expenditures, including payments to outside service providers; (f) increased

11   supportive housing costs; (g) increased emergency and medical care services; (h) increased social

12   services expenditures, including to adult and child protective services; (i) reduced worker productivity;

13   and (j) lost economic opportunity.

14           B.       The Marketing Defendants’ Specific Unlawful Practices that Targeted San
                      Francisco Prescribers
15
                      1.     Purdue
16
             163.     Purdue manufactures, markets, sells and distributes opioids in San Francisco and
17
     nationwide, including the following:
18         OxyContin          Opioid agonist159 indicated for pain severe enough to          Schedule II
           (oxycodone         require daily, around-the-clock, long-term opioid
19         hydrochloride      treatment; not indicated as an as-needed (p.r.n.)
           extended           analgesic. It was first approved by the FDA in
20         release)           December 1995.
21
             157
                     Katherine Eban, OxyContin: Purdue Pharma’s painful medicine, Fortune Magazine
22   (Nov. 9, 2011), http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/
     (hereinafter, “Eban, Painful Medicine”).
23            158
                     Patrick McGreevy, ‘Doctor shopping’ targeted in new law signed by Gov. Brown to
     curb epidemic of opioid overdose deaths, L.A. Times (Sept. 27, 2016),
24   http://www.latimes.com/politics/ essential/la-pol-sac-essential-politics-updates-gov-brown-acts-to-
     curb-epidemic-of-1475015236-htmlstory.html.
25
              159
                     An “agonist” medication is one that binds to and fully activates targeted receptors in the
26   brain. They activate these neurotransmitter receptors to illicit a certain response. An “antagonist”
     medication, on the other hand, works to prevent the binding of other chemicals to neurotransmitters in
27   order to block a certain response. Both may be used to offer pain relief. Health Q&A, Reference*,
     https://www.reference.com/ health/difference-between-agonist-antagonist-drugs-838e9e0994a788eb
28   (last visited Dec. 14, 2018).

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           MS Contin      Opioid agonist; controlled-release tablet form of         Schedule II
 1         (morphine      morphine sulfate indicated for the management of
           sulfate extended
                          severe pain; not intended for use as a p.r.n. analgesic;
 2         release)       first approved in May 1987 as the first formulation of an
                          opioid pain medicine that allowed dosing every 12
 3                        hours.
           Dilaudid       Opioid analgesic; injectable and oral formulation; eight Schedule II
 4         (hydromorphone times more potent than morphine.160
           hydrochloride)
 5         Dilaudid-HP    Opioid analgesic; injectable and oral high-potency and    Schedule II
           (hydromorphone highly concentrated formulation indicated for relief of
 6         hydrochloride) moderate-to-severe pain in opioid-tolerant patients.
           Hysingla ER    Brand-name extended-release form of hydrocodone           Schedule II
 7         (hydrocodone   bitrate indicated for the management of severe pain.
           bitrate)
 8         Targiniq ER    Brand-name extended-release opioid analgesic made of Schedule II
           (oxycodone     a combination of oxycodone hydrochloride and
 9         hydrochloride  naloxone hydrochloride. It was approved by the FDA
           and naloxone   on July 23, 2013.
10         hydrochloride)
11

12                          a.      Purdue Falsely Marketed Extended-Release Drugs as Safer
                                    and More Effective than Regular-Release Drugs
13

14          164.    At all relevant times, the Sackler Families – Richard Sackler, Jonathan Sackler, Mortimer

15   Sackler, Kathe Sackler, Beverly Sackler, Theresa Sackler, Ilene Sackler Lefcourt, David Sackler and the

16   Raymond Sackler Trust – controlled Purdue and its related entities. This small group became

17   extraordinarily wealthy because of their positions within Purdue and wielded immense amounts of

18   power. Rather than use this power in a lawful and responsible manner, the Sackler Defendants directed

19   and oversaw Purdue’s deceptive and unlawful sales and marketing practices.

20          165.    The small and closely-held nature of Purdue and its associated entities makes the

21   companies, in effect, the personal enterprises of the Sackler Defendants. The Sackler Defendants

22   beneficially own and direct all the associate companies of Purdue in essentially the same manner as

23   Purdue itself is controlled. All of Purdue’s profits from opioids go to Sackler Family trusts and entities.

24          166.    The Sackler Defendants caused Purdue and associate companies that they owned and

25   controlled to distribute hundreds of millions of dollars in profit from the sale of opioids.

26   //

27
            160
                   Dilaudid Addiction, Suboxone California, https://www.suboxonecalifornia.com/
28   suboxone-treatment/dilaudid-addiction (last visited Dec. 14, 2018).

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 1          167.    Because the Sackler Families control Purdue’s board, the officers of the company report

 2   directly to them, ensuring the Sackler Families’ control even if the company’s officers were not

 3   themselves members of the families.

 4          168.    Each of the Sackler Defendants named in this complaint has served on the board of

 5   directors of Purdue, and some of them have also served as officers of Purdue and/or one or more Purdue-

 6   related associate companies.

 7          169.    Purdue launched OxyContin 20 years ago with a bold marketing claim: “One dose

 8   relieves pain for 12 hours, more than twice as long as generic medications.”161 Prior to launching

 9   OxyContin, Purdue conducted focus groups with doctors and “learned that the ‘biggest negative’ that

10   might prevent widespread use of the drug was ingrained concern regarding the ‘abuse potential’ of

11   opioids.”162   In its initial press release launching the drug, Purdue told doctors that one OxyContin

12   would provide “smooth and sustained pain control all day and all night.” Based in large part on that

13   promise, and on Purdue’s repeated assurances that opioids were both effective and non-addictive,

14   OxyContin became America’s bestselling painkiller.163 Purdue had no evidentiary basis for those

15   claims.164

16          170.    In truth, Purdue’s nationwide marketing claims were false and highly deceptive.

17   OxyContin was not superior to immediate-release opioids. And not only does OxyContin wear off early,

18   as Purdue’s own early studies showed, it is highly addictive:

19          OxyContin’s stunning success masked a fundamental problem: The drug wears off hours
            early in many people, a Los Angeles Times investigation found. OxyContin is a
20

21          161
                    Harriet Ryan et al., “You Want A Description of Hell?” OxyContin’s 12-Hour Problem,
     L.A. Times (May 5, 2016), http://www.latimes.com/projects/oxycontin-part1/ (hereinafter, “Ryan,
22   Description of Hell”).
             162
23                  Keefe, Empire of Pain, supra n.18.
             163
                    Press Release, Purdue Pharma L.P., New Hope for Millions of Americans Suffering
24   from Persistent Pain: Long-Acting OxyContin Tablets Now Available to Relieve Pain (May 31, 1996),
     https://www.freelibrary.com/NEW+HOPE+FOR+MILLIONS+OF+AMERICANS+SUFFERING
25   +FROM+PERSISTENT+PAIN%3A…-a018343260.
             164
26                  Though the FDA’s 1995 approval allowed Purdue to include a package insert for
     OxyContin declaring the drug to be safer than its competitors due to its delayed release design, Purdue
27   had in fact “conducted no clinical studies on how addictive or prone to abuse the drug might be. . . .
     The F.D.A. examiner who oversaw the process, Dr. Curtis Wright, left the agency shortly afterward.
28   Within two years, he had taken a job at Purdue.” Keefe, Empire of Pain, supra n.18.

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            chemical cousin of heroin, and when it doesn’t last, patients can experience
 1          excruciating symptoms of withdrawal, including an intense craving for the drug.165
 2          171.   Furthermore, experts call the 12-hour dosing “‘an addiction producing machine.’”166

 3   Purdue had reportedly known for decades that it falsely promised 12-hour relief but nevertheless

 4   mobilized hundreds of sales representatives to “refocus” physicians on 12-hour dosing:

 5                Even before OxyContin went on the market, clinical trials showed many patients
                   weren’t getting 12 hours of relief. Since the drug’s debut in 1996, the company
 6                 has been confronted with additional evidence, including complaints from doctors,
                   reports from its own sales reps and independent research.
 7
                  The company has held fast to the claim of 12-hour relief, in part to protect its
 8                 revenue. OxyContin’s market dominance and its high price – up to hundreds of
                   dollars per bottle – hinge on its 12-hour duration. Without that, it offers little
 9                 advantage over less expensive painkillers.
10                When many doctors began prescribing OxyContin at shorter intervals in the late
                   1990s, Purdue executives mobilized hundreds of sales reps to “refocus”
11                 physicians on 12-hour dosing. Anything shorter “needs to be nipped in the bud.
                   NOW!!” one manager wrote to her staff.
12
                  Purdue tells doctors to prescribe stronger doses, not more frequent ones, when
13                 patients complain that OxyContin doesn’t last 12 hours. That approach creates
                   risks of its own. Research shows that the more potent the dose of an opioid such
14                 as OxyContin, the greater the possibility of overdose and death.
15                More than half of long-term OxyContin users are on doses that public health
                   officials consider dangerously high, according to an analysis of nationwide
16                 prescription data conducted for the Los Angeles Times.167
17          172.   As reported by The New York Times, “internal Purdue Pharma documents show that

18   company officials recognized even before the drug was marketed that they would face stiff resistance

19   from doctors who were concerned about the potential of a high-powered narcotic like OxyContin to be

20   //

21   //

22
            165
23                   The Los Angeles Times investigation, reported in three parts on May 5, July 10 and
     December 18, 2016, included the review of thousands of pages of confidential Purdue documents and
24   court and other records. They span three decades, from the conception of OxyContin in the mid-1980s
     to 2011, and include e-mails, memoranda, meeting minutes and sales reports, as well as sworn
25   testimony by executives, sales representatives and other employees. Ryan, Description of Hell, supra
     n.161. The Los Angeles Times reporters also examined FDA records, Patent Office files and medical
26   journal articles, and interviewed experts in pain treatment, addiction medicine and pharmacology. Id.
             166
                     Kathleen Frydl, Purdue Pharma: Corporate Fraud With a Body Count, Alternet (May
27   18, 2016), http://www.alternet.org/drugs/purdue-pharma-corporate-fraud-body-count.
            167
28                 Ryan, Description of Hell, supra n.161.

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 1   abused by patients or cause addiction.” To combat this resistance, Purdue promised the long-acting,

 2   extended-release formulation as safer and “less prone to such problems.”168

 3          173.    Purdue’s sales culture in California, in particular, was one that required aggressive sales

 4   of its opioids and embraced the sell-at-any-cost notion: “sell or be gone.” Aggressive quotas were put

 5   into place for opioids including OxyContin, at all dosage levels, as well as Hysingla products. The

 6   highest dosage for OxyContin was referred to by Purdue sales representatives as “hillbilly heroin.”

 7   When sales representatives failed to meet their quotas, they were placed on performance employment

 8   plans and/or terminated. When they were successful, they were richly rewarded with extravagant

 9   bonuses and prizes. There was so much money to be made, and so much pressure to meet quotas, that

10   sales representatives became desensitized to what they were selling.

11                          b.     Purdue Falsely Marketed Low Addiction Risk to Wide
                                   Swaths of Physicians
12

13          174.    In addition to pushing OxyContin as safe and non-addictive by equating extended-release

14   with a lower risk, Purdue also promoted the use of prescription opioids for use in non-cancer patients,

15   who make up 86% of the total opioid market today.169

16          175.    Rather than targeting merely those physicians treating acute severe short-term, like post-

17   operative pain physicians or oncologists treating end-stage cancer pain, reports indicate that Purdue

18   heavily promoted OxyContin nationwide to doctors such as general practitioners, who often had little

19   training in the treatment of serious pain or in recognizing signs of drug abuse in patients.170 According

20   to a report in The New Yorker, “[a] major thrust of the sales campaign was that OxyContin should be

21   prescribed not merely for the kind of severe short-term pain associated with surgery or cancer but also

22   for less acute, longer-lasting pain: arthritis, back pain, sports injuries, fibromyalgia” such that “[t]he

23   number of conditions that OxyContin could treat seemed almost unlimited.”171

24
            168
                    Barry Meier, In Guilty Plea, OxyContin Maker to Pay $600 Million, N.Y. Times (May
25   10, 2007), http://www.nytimes.com/2007/05/10/business/11drug-web.html (hereinafter, “Meier, Guilty
     Plea”).
26
             169
                    Ornstein, American Pain Foundation, supra n.93.
27           170
                    Meier, Guilty Plea, supra n.168.
            171
28                  Keefe, Empire of Pain, supra n.18.

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 1          176.       Sales representatives plied these and other physicians with coupons that were redeemable

 2   for a 7- to 30-day supply of free OxyContin, a Schedule II narcotic that by definition cannot be

 3   prescribed for more than one month at a time, with the promise that OxyContin was a safe opioid.

 4   Purdue “trained its sales representatives to carry the message that the risk of addiction was ‘less than

 5   one percent,” and “[a] consistent feature in the promotion and marketing of OxyContin was a systematic

 6   effort to minimize the risk of addiction in the use of opioids for the treatment of chronic non-

 7   cancer-related pain.”172

 8          177.       Sales representatives marketed OxyContin as a product “to start with and to stay with,”

 9   and Purdue deliberately exploited a misconception it knew many doctors held that oxycodone was less

10   potent than morphine.173 Sales representatives also received training in overcoming doctors’ concerns

11   about addiction with talking points they knew to be untrue about the drug’s abuse potential. The New

12   Yorker reported that “[i]n 2002, a sales manager from the company, William Gergely, told a state

13   investigator in Florida that Purdue executives ‘told us to say things like it is “virtually” non-

14   addicting.’”174

15          178.       Further, “[a]ccording to training materials, Purdue instructed sales representatives to

16   assure doctors – repeatedly and without evidence – that ‘fewer than one per cent’ of patients who took

17   OxyContin became addicted.” But “[i]n 1999, a Purdue-funded study of patients who used OxyContin

18   for headaches found that the addiction rate was thirteen per cent.”175

19          179.       Even as late as 2015, if not later, Purdue sales representatives were telling physicians

20   OxyContin was addiction resistant and had abuse-deterrent properties.

21          180.       The marketing worked. Keith Humphreys, Professor of Psychiatry at Stanford and drug-

22   policy adviser to the Obama Administration, said, “[t]hat’s the real Greek tragedy of this – that so many

23   //

24   //

25
            172
                       Van Zee, Promotion and Marketing, supra n.59.
26
            173
                       Keefe, Empire of Pain, supra n.18.
27          174
                       Id.
            175
28                     Id.

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 1   well-meaning doctors got co-opted. The level of influence is just mind-boggling. Purdue gave money

 2   to continuing medical education, to state medical boards, to faux grassroots organizations.”176

 3          181.    Purdue also tracked physicians’ prescribing practices by reviewing pharmacy

 4   prescription data it obtained from I.M.S. Health, a company that buys bulk prescription data from

 5   pharmacies and resells it to drug makers for marketing purposes. (Notably, Arthur Sackler co-founded

 6   I.M.S. Health.) Rather than reporting highly suspicious prescribing practices, Purdue used the data to

 7   track physicians who prescribed some opioids and might be persuaded to prescribe more. Purdue also

 8   could identify physicians writing large numbers of prescriptions, and particularly for high-dose 80 mg

 9   pills – potential signs of diversion and drug dealing.177 It called the high-prescribing doctors “whales.”
     178
10

11          182.    Purdue knew about many suspicious doctors and pharmacies from prescribing records,

12   pharmacy orders, field reports from sales representatives and, in some instances, its own surveillance

13   operations.179 Since 2002, Purdue maintained a confidential roster of suspected reckless prescribers

14   known as “Region Zero.” By 2013, there were more than 1,800 doctors in Region Zero, but Purdue had

15   reported only 8% of them to authorities. The Los Angeles Times reported that “[a] former Purdue

16   executive, who monitored pharmacies for criminal activity, acknowledged that even when the company

17

18
            176
                     Id.
19
            177
                     An 80 mg tablet is equivalent in strength to 16 Vicodin tablets, and was generally
20   reserved by doctors for patients with severe, chronic pain who had built up a tolerance over months or
     years. In the illegal drug trade, however, “80s” were the most in demand. For those attempting to
21   detect how OxyContin was getting onto the black market, a physician writing a high volume of 80s
     was a red flag. Harriet Ryan et al., More than 1 million OxyContin pills ended up in the hands of
22   criminals and addicts. What the drugmaker knew, L.A. Times (July 10, 2016),
     http://www.latimes.com/ projects/la-me-oxycontin-part2/ (hereinafter, “Ryan, More than 1 million”).
23           178
                     Keefe, Empire of Pain, supra n.18.
             179
24                   Purdue’s “Abuse and Diversion Detection” program requires its sales representatives to
     report to the company any facts that suggest a healthcare provider to whom it markets opioids may be
25   involved in the abuse or illegal diversion of opioid products. When a provider is reported under the
     program, Purdue purportedly conducts an internal inquiry regarding the provider to determine whether
26   he or she should be placed on a “no-call” list. If a provider is placed on this list, Purdue sales
     representatives may no longer contact the provider to promote the company’s opioid products. Bill
27   Fallon, Purdue Pharma agrees to restrict marketing of opioids, Stamford Advocate (Aug. 25, 2015,
     3:32 PM), http://www.stamfordadvocate.com/business/article/Purdue-Pharma-agrees-to-restrict-
28   marketing-of-6464800.php.

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 1   had evidence pharmacies were colluding with drug dealers, it did not stop supplying distributors selling

 2   to those stores.”180

 3                          c.      Purdue Funded Publications and Presentations with False
                                    and Misleading Messaging
 4

 5           183.    As explained above, Purdue’s false marketing scheme did not end with its own sales

 6   representatives and branded marketing materials. It extended far beyond, engaging third parties,

 7   including doctors and front groups, to spread the false message of prescription opioids’ safety and

 8   efficacy.

 9           184.    Purdue caused the publication and distribution of false and deceptive guidelines on opioid

10   prescribing. For example, as set forth above, Purdue paid $100,000 to the FSMB to help print and

11   distribute its guidelines on the use of opioids to treat chronic pain to 700,000 practicing doctors. Among

12   the FSMB’s members are the Medical Board of California and the Osteopathic Medical Board of

13   California.

14           185.    One of the advisors for Fishman’s 2007 publication, “Responsible Opioid Prescribing: A

15   Physician’s Guide,” and its 2012 update was Haddox, a longtime member of Purdue’s speakers’ bureau

16   who later became a Purdue vice president.

17           186.    Similarly,181 multiple videos feature Fine delivering educational talks about the drugs.

18   In one video from 2011 titled, “Optimizing Opioid Therapy,” he sets forth a “Guideline for Chronic

19   Opioid Therapy” discussing “opioid rotation” (switching from one opioid to another) not only for cancer

20   patients, but for non-cancer patients, and suggests it may take four or five switches over a person’s

21   “lifetime” to manage pain.182 He states the “goal is to improve effectiveness which is different from

22   efficacy and safety.” Rather, for chronic pain patients, effectiveness “is a balance of therapeutic good

23   and adverse events over the course of years.” The entire program assumes that opioids are appropriate

24   treatment over a “protracted period of time” and even over a patient’s entire “lifetime.” He even

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             180
26                 Ryan, More than 1 million, supra n.177.
             181
                   Weber, Two Leaders in Pain, supra n.140.
27
             182
                   Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
28   https://www.youtube.com/watch?v=_G3II9yqgXI.

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 1   suggests that opioids can be used to treat sleep apnea. He further states that the associated risks of

 2   addiction and abuse can be managed by doctors and evaluated with “tools,” but leaves that for “a whole

 3   other lecture.”183

 4           187.    Purdue provided many “teaching” materials free of charge to the Joint Commission.

 5           188.    Purdue also deceptively marketed the use of opioids for chronic pain through the APF,

 6   which was shut down after the Senate investigation launched in 2012. In 2010 alone, the APF received

 7   90% of its funding from drug and medical device companies. Purdue paid the APF unspecified amounts

 8   in 2008 and 2009 and between $100,000 and $499,999 in 2010.184

 9                          d.     The Guilty Pleas
10           189.    In May 2007, Purdue and three of its executives pled guilty to federal charges of

11   misbranding OxyContin for falsely marketing and promoting OxyContin as less addictive, less subject

12   to abuse and diversion and less likely to cause tolerance and withdrawal symptoms than other pain

13   medications in what the company acknowledged was an attempt to mislead doctors. Purdue was ordered

14   to pay $600 million in fines and fees. In its plea, Purdue admitted that its promotion of OxyContin was

15   misleading and inaccurate, misrepresented the risk of addiction and was unsupported by science.

16   Additionally, Michael Friedman (“Friedman”), the company’s president, pled guilty to a misbranding

17   charge and agreed to pay $19 million in fines; Howard R. Udell (“Udell”), Purdue’s top lawyer, pled

18   guilty and agreed to pay $8 million in fines; and Paul D. Goldenheim (“Goldenheim”), its former

19   medical director, pled guilty and agreed to pay $7.5 million in fines.

20           190.    In a statement announcing the guilty plea, John Brownlee (“Brownlee”), the U.S.

21   Attorney for the Western District of Virginia, stated:

22           Purdue claimed it had created the miracle drug – a low risk drug that could provide long
             acting pain relief but was less addictive and less subject to abuse. Purdue’s marketing
23           campaign worked, and sales for OxyContin skyrocketed – making billions for Purdue
             and millions for its top executives.
24

25           183
                   Id.
             184
26                 American Pain Foundation, 2010 Annual Report at 16-19,
     https://www.documentcloud.org/ documents/277604-apf-2010-annual-report#document/ (last visited
27   Dec. 15, 2018). Defendants Endo, Cephalon, and Janssen also made substantial payments to the APF
     in 2010: Endo more than $1 million, Cephalon between $50,000 and $99,999, and Janssen between
28   $1,000 and $49,999. Id. at 19.

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 1          But OxyContin offered no miracles to those suffering in pain. Purdue’s claims that
            OxyContin was less addictive and less subject to abuse and diversion were false – and
 2          Purdue knew its claims were false. The result of their misrepresentations and crimes
            sparked one of our nation’s greatest prescription drug failures. . . . OxyContin was the
 3          child of marketers and bottom line financial decision making.185
 4          191.   Brownlee characterized Purdue’s criminal activity as follows:
 5
                    First, Purdue trained its sales representatives to falsely inform health care
 6          providers that it was more difficult to extract the oxycodone from an OxyContin tablet
            for the purpose of intravenous abuse. Purdue ordered this training even though its own
 7          study showed that a drug abuser could extract approximately 68% of the oxycodone from
            a single 10 mg OxyContin tablet by simply crushing the tablet, stirring it in water, and
 8          drawing the solution through cotton into a syringe.

 9                  Second, Purdue falsely instructed its sales representatives to inform health care
            providers that OxyContin could create fewer chances for addiction than immediate-
10          release opioids.

11                 Third, Purdue sponsored training that falsely taught Purdue sales supervisors
            that OxyContin had fewer “peak and trough” blood level effects than immediate-
12          release opioids resulting in less euphoria and less potential for abuse than short-acting
            opioids.
13
                   Fourth, Purdue falsely told certain health care providers that patients could stop
14          therapy abruptly without experiencing withdrawal symptoms and that patients who
            took OxyContin would not develop tolerance to the drug.
15
                   And fifth, Purdue falsely told health care providers that OxyContin did not
16          cause a “buzz” or euphoria, caused less euphoria, had less addiction potential, had
            less abuse potential, was less likely to be diverted than immediate-release opioids, and
17          could be used to “weed out” addicts and drug seekers.186

18          192.   Specifically, Purdue pled guilty to illegally misbranding OxyContin in an effort to

19   mislead and defraud physicians and consumers, while Friedman, Udell and Goldenheim pled guilty to

20   the misdemeanor charge of misbranding OxyContin by introducing it into interstate commerce in

21   violation of 21 U.S.C. §§331(a), 333(a)(1)-(2) and 352(a).

22          193.   Nevertheless, even after the settlement, Purdue continued to pay doctors on speakers’

23   bureaus to promote the liberal prescribing of OxyContin for chronic pain and fund seemingly neutral

24   organizations to disseminate the message that opioids were effective and non-addictive, and continued

25
            185
                   Press Release, U.S. Department of Justice, Statement of United States Attorney John
26   Brownlee on the Guilty Plea of the Purdue Frederick Company and Its Executives for Illegally
     Misbranding OxyContin (May 10, 2007), http://www.ctnewsjunkie.com/upload/2016/02/usdoj-
27   purdue-guilty-plea-5-10-2007.pdf.
            186
28                 Id.

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 1   to aggressively market the liberal prescribing of opioids for chronic pain while diminishing the

 2   associated dangers of addiction. After Purdue made its guilty plea in 2007,

 3          it assembled an army of lobbyists to fight any legislative actions that might encroach on
            its business. Between 2006 and 2015, Purdue and other painkiller producers, along with
 4          their associated nonprofits, spent nearly nine hundred million dollars on lobbying and
            political contributions – eight times what the gun lobby spent during that period.187
 5

 6          194.    Purdue has earned more than $31 billion from OxyContin, the nation’s bestselling

 7   painkiller, which constitutes approximately 30% of the United States market for painkillers. Since 2009,

 8   Purdue’s national annual sales of OxyContin have fluctuated between $2.47 billion and $2.99 billion,

 9   up threefold from 2006 sales of $800 million.188

10          195.    Purdue also made payments to physicians nationwide, including to San Francisco

11   physicians, for activities including participating on speakers’ bureaus, providing consulting services,

12   assisting in post-marketing safety surveillance and other services.

13          196.    Based on an analysis of publicly disclosed reports from the years 2013 through 2016,

14   Purdue made nearly $1.5 million in payments for expenses to San Francisco physicians that included

15   “food and beverage,” “charitable contribution,” “travel and lodging” and “consulting fee,” among other

16   types of expenses.

17          197.    According to public records collected by ProPublica, in 2015 alone, Medicare Part D

18   paid $85.6 million for claims arising from California physicians’ Oxycontin prescriptions.

19                         e.      The Sacklers Establish Rhodes as a “Landing Pad” from
                                   Purdue
20

21          198.    In or around November 2007, in the immediate aftermath of the guilty plea by Purdue

22   and its executives regarding the company’s false and misleading marketing of OxyContin, the Sackler

23   Defendants established Rhodes. According to a former senior manager at Purdue, “Rhodes was set up

24   //

25   //

26   //

27          187
                    Keefe, Empire of Pain, supra n.18.
            188
28                  Eban, Painful Medicine, supra n.157.

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 1   as a ‘landing pad’ for the Sackler family in 2007, to prepare for the possibility that they would need to

 2   start afresh following the crisis then engulfing OxyContin.”189

 3          199.      The Sacklers’ involvement in Rhodes and its relationship to Purdue was not publicly

 4   known until the September 9, 2018 publication of an article in the Financial Times. According to the

 5   article, “Rhodes has not been publicly connected to the Sackler family before, and their ownership of

 6   the company may weaken one of their longstanding defences: that they cannot be held responsible for

 7   the opioid crisis because Purdue accounts for a small fraction of the overall prescriptions.”190

 8          200.      Despite being registered as a separate company from Purdue, staff from Rhodes and

 9   Purdue use the same employee handbook and “little distinction is made internally between the two

10   companies.”191

11          201.      Rhodes manufactures, markets, sells and distributes the following opioids in

12   San Francisco and nationwide:
           Hydromorphone hydrochloride         Generic opioid agonist.                   Schedule II
13
            Hydrocodone bitartrate and         Generic opioid agonist.                   Schedule II
14          acetaminophen
15          Oxycodone and acetaminophen Generic opioid agonist.                          Schedule II
16          Buprenorphine hydrochloride        Generic opioid agonist indicated for      Schedule III
                                               the treatment of opioid dependence.
17

18          Morphine sulfate                   Generic opioid agonist.                   Schedule II

19          Oxycodone hydrochloride            Generic opioid agonist.                   Schedule II

20          Tapentadol hydrochloride           Generic opioid agonist.                   Schedule II

21

22          202.      According to the Financial Times, in 2016, Rhodes had a substantially larger share of

23   prescriptions in the U.S. prescription opioid market than Purdue.192

24

25          189
                    David Crow, How Purdue’s ‘one-two’ punch fuelled the market for opioids, Financial
     Times (Sept. 9, 2018), https://www.ft.com/content/8e64ec9c-b133-11e8-8d14-6f049d06439c.
26
            190
                    Id.
27          191
                    Id.
            192
28                    Id.

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 1          203.    According to public records collected by ProPublica, in 2015 alone, Medicare Part D

 2   paid $4.1 million for claims arising from California physicians’ generic hydromorphone hydrochloride

 3   prescriptions, $102.7 million for claims arising from California physicians’ generic hydrocodone

 4   bitartrate/acetaminophen prescriptions, $38.3 million for claims arising from California physicians’

 5   generic oxycodone/acetaminophen prescriptions, $34.4 million for claims arising from California

 6   physicians’ generic extended release morphine sulfate prescriptions and $18.1 million for claims arising

 7   from California physicians’ generic oxycodone hydrochloride prescriptions.

 8                          f.     Purdue Failed to Monitor and Report Suspicious Sales as
                                   Required
 9

10          204.    The Controlled Substances Act and the regulations promulgated thereunder, 21 C.F.R.

11   §1300, et seq., impose on all “registrants” the obligation to design and operate a system to monitor

12   suspicious orders of controlled substances and requires the registrant to notify the DEA field division

13   office in its area of any suspicious orders. “Suspicious orders include orders of unusual size, orders

14   deviating substantially from a normal pattern, and orders of unusual frequency.” 21 C.F.R. §1301.74(b).

15   The CSA’s requirements are also incorporated into California law. Cal. Bus. & Prof. Code §4301(o).

16          205.    Purdue is a “registrant” under the federal CSA. 21 C.F.R. §1300.02(b) defines a

17   registrant as any person who is registered with the DEA under 21 U.S.C. §823. Section 823, in turn,

18   requires manufacturers of Schedule II controlled substances to register with the DEA.

19          206.    The California Code of Regulations requires all drug manufacturers and wholesalers to

20   report “all sales of dangerous drugs subject to abuse” to the Board of Pharmacy (the “Board”) up to 12

21   times per year, pursuant to the Board’s request. 16 C.C.R. §1782.

22          207.    Purdue failed to design and operate a system to monitor suspicious orders of controlled

23   substances and/or failed to notify the appropriate DEA field division of suspicious orders. Purdue also

24   failed to report to the Board sales of dangerous drugs subject to abuse. Purdue’s failure to timely report

25   these and other suspicious sales violated the CSA and California law.

26   //

27   //

28   //

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                    2.      The Sackler Family
 1
                            a.     The Individual Sackler Defendants Direct and Control
 2                                 Purdue
 3          208.    Richard Sackler is one of the six inventors listed on the original patent for OxyContin.

 4   He began working for Purdue in the 1970s as an assistant to his father, Raymond Sackler, who served

 5   as the president of the company at that time. Richard rose through leadership in the subsequent decades,

 6   serving as President of Purdue from 1999 to 2003.

 7          209.    Richard Sackler resigned from his role in 2013 over apparent worry that executive

 8   officers of Purdue would be held personally liable for any opioid-related liabilities. He continued to

 9   serve as co-chair of Purdue’s board with his uncle, Mortimer Sackler. This allowed the Sackler

10   Defendants to retain control of the company regardless of their involvement at the executive level.

11          210.    During his executive tenure at Purdue, Richard Sackler actively participated in nearly

12   every aspect of the company’s opioid products, from invention to marketing to sale. With the assistance

13   of his father, Raymond, and his uncle, Mortimer, Richard introduced OxyContin to the market with one

14   of the largest pharmaceutical advertising campaigns in history. Within five years, OxyContin was

15   earning Purdue $1 billion a year.

16          211.    At all relevant times, Richard Sackler served as trustee of one or more trusts that own

17   and control Purdue or Purdue-associated companies. He is the direct or indirect beneficiary of some

18   portion of 25% of the profits earned from the sale of opioids by Purdue and the Purdue-associated

19   companies listed herein.

20          212.    Jonathan Sackler served as Senior Vice President of Purdue by 2000. Like Richard, his

21   brother, Jonathan resigned from his position in or after 2003, due to concerns that the executive officers

22   of Purdue would be personally liable for crimes and litigation stemming from Purdue’s opioid products.

23   Jonathan continued to serve on Purdue’s board after his resignation.

24          213.    At all relevant times, Jonathan Sackler served as trustee of one or more trusts that own

25   and control Purdue or Purdue-associated companies. He is the direct or indirect beneficiary of some

26   portion of 25% of the profits earned from the sale of opioids by Purdue and the Purdue-associated

27   companies listed herein.

28   //

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 1          214.     Mortimer Sackler is the direct or indirect beneficiary of 7.14% of the profits earned from

 2   the sale of opioids by Purdue and the Purdue-associated companies listed herein.

 3          215.     Kathe Sackler began serving as Senior Vice President of Purdue by 2000. She resigned

 4   from her position in or about 2003 due to concerns that the executive officers of Purdue could be held

 5   personally liable for crimes and litigation stemming from Purdue’s opioid products. She continued to

 6   serve on Purdue’s board. She is the direct or indirect beneficiary of 7.14% of the profits earned from

 7   the sale of opioids by Purdue and the Purdue-associated companies listed herein.

 8          216.     Ilene Sackler Lefcourt served as Vice President of Purdue during the initial development

 9   and launch of OxyContin. She, too, resigned from her position around 2003 due to concerns of personal

10   liability for executive officers of Purdue for opioid-related crime and litigation, but continued to serve

11   on the board.

12          217.     Beverly Sackler has served on the Board of Directors of Purdue and associated entities

13   since the 1990s. She serves as the trustee of one or more trusts that own or control Purdue and Purdue-

14   associated companies, and to which 50% of the profits of the companies’ sale of opioids have been

15   conveyed. She is the direct or indirect beneficiary of some portion of the 50% of profits earned by the

16   Purdue through the sale of opioids.

17          218.     Theresa Sackler has served on the Board of Directors of Purdue and associated entities

18   since the 1990s. She is the direct or indirect beneficiary of some portion of the 50% of profits earned

19   by Purdue through the sale of opioids.

20          219.     David Sackler has served on the Board of Directors of Purdue and associated entities

21   since 2012. He is the direct or indirect beneficiary of some portion of 25% of the profits earned by

22   Purdue through the sale of opioids.

23          220.     Richard Sackler, Jonathan Sackler, Mortimer Sackler, Kathe Sackler, Ilene Sackler

24   Lefcourt, Beverly Sackler, Theresa Sackler, David Sackler and the Raymond Sackler Trust (through its

25   trustees) each knowingly aided, participated in and benefited from the unlawful conduct of Purdue.

26   //

27   //

28   //

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 1                         b.      The Sackler Defendants Oversee and Direct Purdue’s
                                   Unlawful Conduct
 2

 3          221.    Prior to Purdue’s entry into the opioid market, the general standard use of opioids was

 4   for short-term periods, for example: acute pain, surgery recovery, cancer and palliative care. Chances

 5   of opioid abuse are low when applied in this manner. Purdue went to great effort to influence public

 6   perception of the perceived benefits and risks of long-term opioid use.

 7          222.    Arthur Sackler, the brother of Raymond and Mortimer Sackler, is largely responsible for

 8   this change in public perception, effectively creating the pharmaceutical advertising industry. He

 9   realized that direct advertising to doctors and prescribers would be the most effective means of turning

10   a profit. He paid prominent doctors to endorse his products, offered physicians perks and benefits,

11   published marketing material disguised as neutral medical journal articles and funded “education”

12   seminars that extolled the virtues of his drug products. His deceptive and unethical marketing techniques

13   led to Valium becoming the first hundred-million-dollar, then billion-dollar, prescription drug, and set

14   the precedent for the current problems with pharmaceutical marketing.

15          223.    The Sackler Defendants have continued to direct Purdue’s unlawful marketing

16   techniques, using many of the same unethical techniques developed by Arthur Sackler, in order to

17   maximize their sales of opioid products.

18          224.    OxyContin was launched with one of the largest pharmaceutical marketing campaigns in

19   history, with roughly 1,000 sales representatives touting the drug’s benefits. Representatives would

20   recommend OxyContin as the solution not just for acute, short-term pain, but also for less-acute, longer-

21   lasting pain. Sales training included lessons in overcoming doctors’ concerns about health and addiction

22   by minimizing or downplaying OxyContin’s true qualities. Purdue paid thousands of physicians to

23   present to medical conferences on the benefits of OxyContin.

24          225.    Upon information and belief, members of the Sackler Families were deeply involved in

25   OxyContin’s marketing campaign. Family members were on site at Purdue’s headquarters daily,

26   controlling the management of the family business. According to a former sales representative, Richard

27   Sackler was “the dude that made it happen.” In response to the concerns of benefit plans that OxyContin

28   //

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 1   was ripe for addictive use, Richard sent an email to sales representatives, asserting that “‘addiction’ may

 2   be a convenient way to just say ‘NO.’”193

 3           226.   In 1997, Richard and Kathe Sackler took part in a conspiracy to mislead doctors by

 4   claiming oxycodone was half as strong as morphine when the opposite was the case. Purdue engaged

 5   in this deception to alleviate the fears of medical professionals in prescribing the drug for non-acute

 6   pain.

 7           227.   Around 1999 to 2003, Purdue had a system where company emails would self-erase after

 8   pre-determined times. This policy created a system where potentially incriminating documents would

 9   be automatically erased even if received by third parties. Richard, Jonathan and Kathe Sackler were all

10   aware and supportive of this system.

11                          c.      Sackler Families Were Aware of the Abuse Potential of
                                    OxyContin from at Least Summer 1999
12

13           228.   Purdue and members of the Sackler Families were aware that OxyContin and other

14   prescription medication could lead to addiction since at least summer 1999. An internal memo prepared

15   by Purdue employee, Maureen Sara, described the abuse and recreational use of OxyContin. The memo

16   was sent directly to Purdue’s board members, including Richard, Jonathan and Kathe Sackler.

17           229.   In spite of the 1999 memo, Purdue President Michael Friedman testified before the U.S.

18   House of Representatives in 2001 that Purdue had not become aware of OxyContin’s potential for abuse

19   until 2000. No members of the Sackler Families attempted to correct this false narrative.

20           230.   The Sackler Defendants were thus aware of potential liability for Purdue since at least

21   1999 due to OxyContin’s addictive nature. Instead of attempting to fix or solve the issue they had

22   created, the Sackler Defendants began to transfer profits from Purdue and associated companies to their

23   own private trusts and accounts in order to shield their funds from creditors. In 2015, for example, the

24   Sackler Families removed $700 million from their privately held companies, two-thirds of which came

25   from Purdue. These transfers of ill-gotten gains were and are fraudulent, unjustly enriched the Sackler

26   Defendants and were done for the purpose of protecting the money from any civil or criminal judgment

27
             193
                    Patrick Radden Keefe, The Family that Built an Empire of Pain, The New Yorker (Oct.
28   30, 2017), https://www.newyorker.com/magazine/2017/10/30/the-family-that-built-an-empire-of-pain.

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 1   against Purdue for its participation in the opioid crisis. These transfers also left Purdue and its associated

 2   entities undercapitalized and potentially unable to pay a judgment against it in this litigation.

 3          231.    Rather than protect the public’s health once they became aware of OxyContin’s potential

 4   for abuse, the Sackler Families protected their own wealth.

 5                          d.      The Sackler Families Continued to Oversee Purdue’s
                                    Wrongdoing Even After Repeated Warnings and Fines
 6

 7          232.    The liability of the Sackler Defendants extends beyond their leadership of Purdue. They

 8   were aware of, and obligated to address, Purdue’s conduct due to previous investigations into the

 9   company’s deceptive practices.

10          233.    Purdue Pharma Inc. and Purdue Pharma L.P. were under investigation by 26 states and

11   the DOJ from 2001 to 2017. In 2003, on the advice of legal counsel, every Sackler who held an executive

12   role at Purdue resigned to avoid personal liability for the conduct in which they had engaged and

13   continued to engage prior to and after their resignations.

14          234.    In 2007, the directors of Purdue Pharma Inc. declared that it would pay roughly $700

15   million and plead guilty to a felony for misleading doctors and patients about opioid medications. (The

16   company that paid the money, the Purdue Frederick Company, was a separate corporate entity that was

17   controlled by the same people and shared the same headquarters as Purdue Pharma L.P.). The company

18   acknowledged that its supervisors and employees had fraudulently promoted OxyContin as safer and

19   less addictive than other pain medications.

20          235.    Michael Friedman, the Chief Executive Officer (“CEO”) of Purdue, pled guilty to

21   criminal charges of fraudulent marketing. Udell, Purdue’s chief lawyer, and Goldenheim, Purdue’s

22   chief medical officer, pled guilty to the same crime. The directors, including members of the Sackler

23   Families, were forced to choose a new CEO, and the felony convictions resulted in mass-scale retraining

24   of company employees.

25          236.    The 2007 convictions warned the directors against any further deception.

26          237.    The directors also agreed to a Consent Judgment that ordered Purdue not to make any

27   false or misleading oral or written claims about OxyContin, including concerning the risk of addiction.

28   The Consent Judgment also required Purdue to establish a program that would identify high-prescribing

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 1   doctors, stop promoting OxyContin to them and report them. This program was to last from 2007 to

 2   2017.

 3           238.   The directors also entered a Corporate Integrity Agreement with the U.S. government,

 4   wherein Purdue would appoint a compliance officer to a senior management position at Purdue. The

 5   officer would make periodic reports on compliance matters to the board to ensure no deception took

 6   place again. Under the agreement, the directors and CEO were “Covered Persons” who had to comply

 7   with rules prohibiting deception regarding Purdue’s products. This status lasted from 2007 to 2012 and

 8   required that leadership report all rule violations and undergo hours of compliance training. The

 9   directors and CEO were warned of consequences in case of a violation and certified that they understood

10   their new status.

11           239.   Purdue’s directors were clearly aware of their obligations under the above agreements.

12   In 2009, Purdue had to report to the Inspector General of the U.S. Department of Health and Human

13   Services (“HHS”) that it had not immediately trained a new director on the terms of the Corporate

14   Integrity Agreement. Purdue assured the government that the director had undergone the training the

15   day after Corporate Compliance had learned of the issue.

16           240.   The years after the 2007 guilty plea and Corporate Integrity Agreement were filled with

17   alarming reports and stories about the opioid crisis. However, in spite of these widespread warnings,

18   Purdue’s directors, including members of the Sackler Families, did nothing to stop Purdue’s misconduct.

19           241.   In 2008, opioid overdoses killed more Americans in that year than any year prior.

20           242.   In 2009, the American Journal of Public Health published “The Promotion and

21   Marketing of OxyContin: Commercial Triumph, Public Health Tragedy.”194 The article detailed the

22   misleading and deceptive nature of Purdue’s opioid marketing, including the misuse of sales

23   representatives, the targeting of high-prescribing practitioners and deception about the potential rates of

24   abuse. The CDC reported that deaths stemming from opioid use had tripled in the preceding year.

25   //

26   //

27
             194
28                  Van Zee, Promotion and Marketing, supra n.59.

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 1          243.    In 2010, Time magazine published “The New Drug Crisis: Addiction by Prescription.”195

 2   The article focused extensively on Purdue’s line of opioid products. Overdoses were the number one

 3   cause of accidental death in 15 states that year, and Purdue’s directors were informed that Purdue would

 4   not be able to get product liability insurance to cover OxyContin.

 5          244.    In 2011, the White House announced that prescription drug abuse was the nation’s

 6   fastest-growing drug problem and called for educating healthcare providers about prescription drug

 7   abuse to prevent overprescription. The CDC announced that prescription opioid overdoses had reached

 8   never before seen levels and specifically called out Purdue’s line of opioid products. Fortune magazine

 9   published an article that same year where Purdue executives were interviewed about the ongoing crisis

10   and the involvement of the company and the Sackler Families. The interviewees included Purdue Vice

11   President Alan Must, who admitted that Purdue was “well aware” of concerns about its conduct: “We

12   are well aware of detractors. For those individuals who think we’re evil . . . I don’t think there’s anything

13   we can do that is going to change their opinion.”196

14          245.    In 2012, the U.S. Senate announced an investigation into Purdue’s unlawful deception of

15   doctors and patients about the nature of its opioid products. The Senators warned of “an epidemic of

16   accidental deaths and addiction resulting from the increased sale and use of powerful narcotic

17   painkillers” in a letter to the CEO of Purdue Pharma, Inc. and Purdue Pharma L.P.197 The Senate letter

18   specifically warned of the danger of higher levels of opioid dosage: “over the last decade, the number

19   of prescriptions for the strongest opioids has increased nearly fourfold, with only limited evidence of

20   their long-term effectiveness or risks while data suggest that hundreds of thousands of patients

21   nationwide may be on potentially dangerous doses.”198 The Senate letter also warned about Purdue’s

22   deceptive tactics with doctors and patients: “There is growing evidence pharmaceutical companies that

23
            195
                     Jeffrey Kluger, The New Drug Crisis: Addiction by Prescription, TIME (Sept. 17,
24   2010), http://content.time.com/time/magazine/article/0,9171,2015763,00.html.
             196
25                   Katherin Eban, OxyContin: Purdue Pharma’s painful medicine, FORTUNE (Nov. 9,
     2011), http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/.
26           197
                     Letter from U.S. Senate Finance Committee to John H. Stewart, President and CEO of
     Purdue Pharma L.P., dated May 8, 2012,
27   https://www.finance.senate.gov/imo/media/doc/Purdue_May_8.pdf (last visited Dec. 14, 2018).
            198
28                  Id.

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 1   manufacture and market opioids may be responsible, at least in part, for this epidemic by promoting

 2   misleading information about the drugs’ safety and effectiveness.”199 The Senate specifically warned

 3   the directors and CEO that they were under scrutiny, demanding that Purdue present a set of

 4   “presentations, reports, and communications to Purdue’s management team or board of directors from

 5   2007 to the present.”200

 6          246.     In 2013, the Los Angeles Times reported that Purdue had created a list of 1,800 doctors

 7   suspected of recklessly prescribing its opioids over the past decade, but had reported only 8% of them

 8   to authorities. Purdue attorney Robin Abrams gave multiple interviews to the newspaper. Abrams was

 9   a Vice President of Purdue, and she signed Purdue’s 2007 settlement agreement. In 2013, she admitted

10   that Purdue had the list, and said with regard to Purdue’s unwillingness to disclose the list: “I don’t

11   really want to open up an opportunity for folks [to] come in here and start looking and second-

12   guessing.”201

13          247.     Abrams and Purdue’s directors had good reason to be concerned: the state of Kentucky

14   had brought a lawsuit against Purdue for deceiving doctors and patients about the nature of its opioid

15   products. When Purdue’s lawyers surveyed the local residents for potential jury service, one-third of

16   respondents said they knew someone who had been hurt or had overdosed taking Purdue opioids, and

17   29% knew someone who had died. Purdue itself filed these findings in court.

18          248.     In 2014, Edward Mahony, the Executive Vice President, Chief Financial Officer and

19   Treasurer of Purdue, announced that the Kentucky lawsuit was noteworthy enough to “jeopardize

20   Purdue’s long-term viability.”202 The Governor of Massachusetts declared the opioid crisis a public

21   health emergency in the same year.

22   //

23
            199
                   Id.
24
            200
                   Id.
25           201
                   Scott Glover & Lisa Girion, OxyContin maker closely guards its list of suspect doctors,
     Los Angeles Times (Aug. 11, 2013), https://www.latimes.com/local/la-me-rx-purdue-20130811-
26   story.html.
             202
27                 Tracy Staton, Addiction-riddled Kentucky out for blood in $1B suit against OxyContin-
     maker Purdue, FiercePharma.com (Oct. 20, 2014), https://www.fiercepharma.com/pharma/addiction-
28   riddled-kentucky-out-for-blood-1b-suit-against-oxycontin-maker-purdue.

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 1           249.     In 2016, in an attempt to stop the threatening spread of opioid overprescribing, the CDC

 2   published the CDC Guideline for Prescribing Opioids for Chronic Pain.

 3           250.     In 2017, the President of the United States announced that opioid use in the nation had

 4   risen to the level of a national public health emergency.

 5           251.     Plaintiffs are informed and believe, and thereupon allege, that the directors and CEO

 6   controlled the operation of Purdue’s sales representatives. Director Richard Sackler testified that Purdue

 7   primarily promoted its opioids through its sales representatives, and that regular visits from

 8   representatives were the key to get doctors to continue to prescribe the drugs. The board knew which

 9   drugs the sales representatives were to promote, the number of visits representatives made to doctors,

10   how much each visit cost the company and the quarterly plans for sales visits. The board approved

11   specific hiring plans for their sales representatives, hiring directors and regional managers and creating

12   sales territories for representatives to target doctors.

13           252.     Plaintiffs are informed and believe, and thereupon allege, that the directors and CEO

14   oversaw the specific tactics used by sales representatives to sell opioids; for example, a board report

15   encouraged the use of iPads during sales visits, which increased the average length of meetings to 16.7

16   minutes.

17           253.     Plaintiffs are informed and believe, and thereupon allege, that the directors and CEO

18   oversaw the promotional claims representatives used during sales visits. The directors and CEO

19   reviewed reports that Purdue sales representatives were deceptively promoting opioids as an appropriate

20   treatment for minor pain, among hundreds of other examples of unlawful marketing techniques in need

21   of correction.

22           254.     Plaintiffs are informed and believe, and thereupon allege, that the directors and CEO

23   oversaw Purdue’s research, which in some cases contradicted the company’s marketing. Company

24   leadership received detailed and specific reports concerning Purdue opioids being used for “opioid-

25   naïve” patients and patients with osteoarthritis.

26           255.     Plaintiffs are informed and believe, and thereupon allege, that company leadership was

27   directly informed of “Reports of Concern” filed by sales representatives regarding high-prescribing

28   doctors, as well as “field inquiries” in response to the reports.

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 1          256.    Plaintiffs are informed and believe, and thereupon allege, that the directors and CEO

 2   monitored sales representatives’ emails. Purdue had a policy of prohibiting sales representatives from

 3   communicating with doctors via email; when Purdue found that some representatives had in fact

 4   e-mailed doctors, the company “investigated” the matter and told the board that the representatives had

 5   been disciplined and the matter would be discussed at the next board meeting.

 6          257.    Plaintiffs are informed and believe, and thereupon allege, that the directors oversaw

 7   Purdue’s strategy to pay high-prescribing doctors to promote its opioids. The board was aware of the

 8   amount paid to specific high prescribers and the return on investment it received from these payments.

 9   The board knew that Purdue allowed a gift spending limit of $750 per doctor per year and was told

10   specifically that paying doctors was a high-risk activity that could result in improper off-label use or

11   other promotional activity for opioids.

12          258.    Plaintiffs are informed and believe, and thereupon allege, that the directors and CEO also

13   managed Purdue’s focus on encouraging patients to use higher and higher doses of opioids, leading to

14   health issues, addiction and greater profits for the company. Upon learning that sales of 40mg and 80mg

15   strengths of OxyContin had fallen below sales targets, the board received multiple reports that public

16   health authority initiatives to have doctors consult with pain specialists before prescribing high opioid

17   doses were a “threat.” The board oversaw measures to counteract against these initiatives and received

18   reports in 2013 that attempts to encourage increased total daily doses had had a positive impact on the

19   company’s bottom line.

20          259.    Plaintiffs are informed and believe, and thereupon allege, that the directors additionally

21   oversaw Purdue’s plan to keep patients hooked on opioids for longer periods of time through higher

22   doses. The board received thorough reports of how many patients remained on Purdue opioids for

23   extended lengths of time, as well as internal documents that indicated patients on higher doses used the

24   product for longer amounts of time, creating greater chances of addiction and abuse. The board was

25   presented with a plan to create workshops and give specific direction to representatives about this link,

26   and that increasing opioid use was a focus point of the company. The board was told in writing that

27   encouraging higher doses “is a focal point of our promotion” and that sales representatives should push

28   doctors to increase patient doses as soon as three days after initial treatment. The board knew or should

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 1   have known that this sales tactic was both deceptive and placing patients at high risk of addiction and

 2   overdose.

 3          260.    Plaintiffs are informed and believe, and thereupon allege, that the directors also oversaw

 4   Purdue’s use of “savings cards” to get patients on Purdue opioids for longer periods of time. The board

 5   knew exactly how many thousands of cards were used each quarter, the Return on Investment, and the

 6   goal of the program: for patients “to remain on therapy longer.”

 7          261.    Plaintiffs are informed and believe, and thereupon allege, that the directors also oversaw

 8   Purdue’s targeting of prescribers without special knowledge of opioids, as they were the most likely to

 9   respond to Purdue’s sales techniques. Purdue proceeded with this strategy despite the DEA expressing

10   concern that Purdue was marketing its opioids to doctors who were not appropriately trained in pain

11   management. Purdue’s leadership also oversaw a strategy of targeting elderly patients, using images of

12   older patients to target healthcare professionals who practiced in long-term care. The directors and CEO

13   knew or should have known both that this strategy was deceptive and that targeting doctors who lacked

14   special training in pain management and elderly patients increased the risk of addiction and overdose.

15          262.    Plaintiffs are informed and believe, and thereupon allege, that Purdue’s leadership was

16   also aware of a plan to steer patients away from safer pain-management medicines, which involved

17   efforts to emphasize the danger of acetaminophen-based pain medication to the liver. These efforts

18   included deceptive websites that the New York Attorney General specifically held to be misleading in

19   specific sections.

20          263.    Plaintiffs are informed and believe, and thereupon allege, that Purdue’s leadership also

21   oversaw the response to thousands of harm reports from patients, in one case receiving over 5,000

22   complaints in a single quarter.

23          264.    Plaintiffs are informed and believe, and thereupon allege, that Purdue possesses

24   documents that show each of the reports mentioned above was sent to every individual defendant on the

25   board, including every Sackler Defendant with a board position.

26          265.    These defendants’ duplicitous and unlawful acts have damaged, and continue to damage,

27   the State of California in a substantial amount to be determined at trial. Damages incurred by San

28   Francisco include: (a) the costs of treating opioid addiction, including addiction treatment, emergency

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 1   room visits and inpatient and outpatient treatment; (b) the costs of maintaining harm reduction, overdose

 2   prevention and education on the dangers of opioid use; (c) special costs incurred by San Francisco for

 3   the public safety, health and welfare of its citizens; and (d) the economic harm to San Francisco resulting

 4   from the addiction epidemic.

 5                  3.      Janssen
 6          266.    Janssen manufactures, markets, sells and distributes the following opioids in San

 7   Francisco and nationwide:
           Duragesic         Opioid analgesic delivered via skin patch; contains gel         Schedule II
 8         (fentanyl)        form of fentanyl, a synthetic opioid that is up to 100
                             times more potent than morphine; delivers fentanyl at
 9                           regulated rate for up to 72 hours; first approved by the
                             FDA in August 1990.
10         Nucynta ER        Opioid agonist; extended-release formulation indicated          Schedule II
           (tapentadol       for severe pain.
11         hydrochloride)
           Nucynta           Immediate-release version of tapentadol hydrochloride           Schedule II
12         (tapentadol       for the management of moderate to severe acute pain.
           hydrochloride)
13

14          267.    Janssen introduced Duragesic in 1990. It is indicated for the “management of pain in

15   opioid-tolerant patients, severe enough to require daily, around-the-clock, long-term opioid treatment

16   and for which alternative treatment options are inadequate.” Janssen also marketed Nucynta, which was

17   first approved by the FDA in 2008, formulated in tablet form and in an oral solution and indicated for

18   the “relief of moderate to severe acute pain in patients 18 years of age or older.” Additionally, Janssen

19   marketed Nucynta ER, which was first approved by the FDA in 2011 in tablet form. Initially, it was

20   indicated for the “management of . . . pain severe enough to require daily, around-the-clock, long-term

21   opioid treatment and for which alternative treatment options are inadequate.” This pain indication was

22   later altered to “management of moderate to severe chronic pain in adults” and “neuropathic pain

23   associated with diabetic peripheral neuropathy (DPN) in adults.” Janssen sold Nucynta and Nucynta

24   ER to Depomed in 2015 for $1.05 billion.

25                          a.      The FDA Warned Janssen Regarding Its False Messaging

26          268.    On February 15, 2000, the FDA sent Janssen a letter concerning the alleged

27   dissemination of “homemade” promotional pieces that promoted Duragesic in violation of the Federal

28   Food, Drug, and Cosmetic Act (“FDCA”), 21 U.S.C. §301, et seq. In a subsequent letter, dated

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 1   March 30, 2000, the FDA explained that the “homemade” promotional pieces were “false or misleading

 2   because they contain misrepresentations of safety information, broaden Duragesic’s indication, contain

 3   unsubstantiated claims, and lack fair balance.”

 4          269.    The March 30, 2000 letter identified specific violations, including misrepresentations

 5   that Duragesic had a low potential for abuse:

 6                 You present the claim, “Low abuse potential!” This claim suggests that
                    Duragesic has less potential for abuse than other currently available opioids.
 7                  However, this claim has not been demonstrated by substantial evidence.
                    Furthermore, this claim is contradictory to information in the approved product
 8                  labeling (PI) that states, “Fentanyl is a Schedule II controlled substance and can
                    produce drug dependence similar to that produced by morphine.” Therefore, this
 9                  claim is false or misleading.203
10          270.    The March 30, 2000 letter also stated that the promotional materials represented that

11   Duragesic was “more useful in a broader range of conditions or patients than has been demonstrated by

12   substantial evidence.”       Specifically, the FDA stated that Janssen was marketing Duragesic for

13   indications other than the treatment of chronic pain that cannot otherwise be managed, for which it was

14   approved:

15                 You present the claim, “It’s not just for end stage cancer anymore!” This claim
                    suggests that Duragesic can be used for any type of pain management. However,
16                  the PI for Duragesic states, “Duragesic (fentanyl transdermal system) is indicated
                    in the management of chronic pain in patients who require continuous opioid
17                  analgesia for pain that cannot be managed by lesser means . . . .” Therefore, the
                    suggestion that Duragesic can be used for any type of pain management promotes
18                  Duragesic[] for a much broader use than is recommended in the PI, and thus, is
                    misleading. In addition, the suggestion that Duragesic can be used to treat any
19                  kind of pain is contradictory to the boxed warning in the PI. Specifically, the PI
                    states,
20
            BECAUSE SERIOUS OR LIFE-THREATENING HYPOVENTILATION COULD
21          OCCUR, DURAGESIC® (FENTANYL TRANSDERMAL SYSTEM) IS
            CONTRAINDICATED:
22
                   In the management of acute or post-operative pain, including use in out-patient
23                  surgeries . . . .204
24   //
25   //
26
            203
                   NDA 19-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to Cynthia
27   Chianese, Janssen Pharmaceutica at 2 (Mar. 30, 2000).
            204
28                  Id. at 2-3.

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 1          271.    The March 30, 2000 letter also stated Janssen failed to adequately present

 2   “contraindications, warnings, precautions, and side effects with a prominence and readability reasonably

 3   comparable to the presentation of information relating to the effectiveness of the product”:

 4          Although this piece contains numerous claims for the efficacy and safety of Duragesic,
            you have not presented any risk information concerning the boxed warnings,
 5          contraindications, warnings, precautions, or side effects associated with Duragesic’s use
            . . . . Therefore, this promotional piece is lacking in fair balance, or otherwise
 6          misleading, because it fails to address important risks and restrictions associated with
            Duragesic therapy.205
 7

 8          272.    On September 2, 2004, HHS sent Janssen a warning letter concerning Duragesic due to

 9   “false or misleading claims about the abuse potential and other risks of the drug, and . . . unsubstantiated

10   effectiveness claims for Duragesic,” including, specifically, “suggesting that Duragesic has a lower

11   potential for abuse compared to other opioid products.”

12          273.    The September 2, 2004 letter warned Janssen regarding its claims that Duragesic had a

13   low reported rate of mentions in the Drug Abuse Warning Network (“DAWN”) as compared to other

14   opioids. The letter stated that the claim was false or misleading because the claim was not based on

15   substantial data and because the lower rate of mentions was likely attributable to Duragesic’s lower

16   frequency of use compared to other opioids listed in DAWN:

17                  The file card presents the prominent claim, “Low reported rate of mentions in
            DAWN data,” along with Drug Abuse Warning Network (DAWN) data comparing the
18          number of mentions for Fentanyl/combinations (710 mentions) to other listed opioid
            products,       including      Hydrocodone/combinations           (21,567      mentions),
19          Oxycodone/combinations (18,409 mentions), and Methadone (10,725 mentions). The
            file card thus suggests that Duragesic is less abused than other opioid drugs.
20
                    This is false or misleading for two reasons. First, we are not aware of substantial
21          evidence or substantial clinical experience to support this comparative claim. The
            DAWN data cannot provide the basis for a valid comparison among these products. As
22          you know, DAWN is not a clinical trial database. Instead, it is a national public health
            surveillance system that monitors drug-related emergency department visits and deaths.
23          If you have other data demonstrating that Duragesic is less abused, please submit them.
24                   Second, Duragesic is not as widely prescribed as other opioid products. As a
            result, the relatively lower number of mentions could be attributed to the lower frequency
25

26

27
            205
28                  Id. at 3 (emphasis in original).

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            of use, and not to a lower incidence of abuse. The file card fails to disclose this
 1          information.206
 2          274.    The September 2, 2004 letter also detailed a series of unsubstantiated, false or misleading

 3   claims regarding Duragesic’s effectiveness. The letter concluded that various claims made by Janssen

 4   were insufficiently supported, including that:

 5                 “Demonstrated effectiveness in chronic back pain with additional patient
                    benefits, . . . 86% of patients experienced overall benefit in a clinical study based
 6                  on: pain control, disability in ADLs, quality of sleep.”
 7                 “All patients who experienced overall benefit from DURAGESIC would
                    recommend it to others with chronic low back pain.”
 8
                   “Significantly reduced nighttime awakenings.”
 9
                   “Significant improvement in disability scores as measured by the Oswestry
10                  Disability Questionnaire and Pain Disability Index.”
11                 “Significant improvement in physical functioning summary score.”
12                 “Significant improvement in social functioning.”207
13          275.    In addition, the September 2, 2004 letter identified “outcome claims [that] are misleading

14   because they imply that patients will experience improved social or physical functioning or improved

15   work productivity when using Duragesic.” The claims include “‘1,360 [lives] . . . and counting,’

16   ‘[w]ork, uninterrupted,’ ‘[l]ife, uninterrupted,’ ‘[g]ame, uninterrupted,’ ‘[c]hronic pain relief that

17   supports functionality,’ ‘[h]elps patients think less about their pain,’ and ‘[i]mprove[s] . . . physical and

18   social functioning.’” The September 2, 2004 letter stated: “Janssen has not provided references to

19   support these outcome claims. We are not aware of substantial evidence or substantial clinical

20   experience to support these claims.”208

21          276.    On July 15, 2005, the FDA issued a public health advisory warning doctors of deaths

22   resulting from the use of Duragesic and its generic competitor, manufactured by Mylan. The advisory

23   noted that the FDA had been “examining the circumstances of product use to determine if the reported

24   adverse events may be related to inappropriate use of the patch” and noted the possibility “that patients

25
            206
                    Warning Letter from Thomas W. Abrams, U.S. Department of Health and Human
26   Services, to Ajit Shetty, Janssen Pharmaceutica, Inc., at 2 (Sept. 2, 2004),
     http://www.johnsonandtoxin.com/ 040920_duragesic_letter.pdf.
27           207
                    Id. at 2-3.
            208
28                  Id. at 3.

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 1   and physicians might be unaware of the risks” of using the fentanyl transdermal patch, which is a potent

 2   opioid analgesic meant to treat chronic pain that does not respond to other painkillers.

 3          277.    Regardless, even after receiving these letters, Janssen instructed California sales

 4   representatives to market Duragesic as having better efficacy, better tolerability and better patient

 5   compliance because it was a patch instead of a pill. California sales representatives were instructed to

 6   tell doctors that the patch provided better control in the event of patient opioid abuse because patients

 7   could not increase the patch dosage. However, sales representatives were aware of patients who

 8   increased the dosage by applying more than one patch at a time and were also aware that some patients

 9   abused the patch by freezing, then chewing on it.

10                          b.      Janssen Funded False Publications and Presentations
11          278.    Despite these repeated warnings, Janssen continued to falsely minimize the risks of

12   opioids. In 2009, PriCara, a “Division of Ortho-McNeil-Janssen Pharmaceuticals, Inc.,” sponsored a

13   2009 brochure, “Finding Relief: Pain Management for Older Adults,” aimed at potential patients. The

14   brochure included a free DVD featuring actress Kathy Baker, who played a doctor in the popular

15   television series “Picket Fences.”

16          279.    The brochure represented that it was a source for older adults to gain accurate information

17   about treatment options for effective pain relief:

18                  This program is aimed specifically at older adults and what they need to know to
            get effective pain relief. You will learn that there are many pathways to this relief.
19
                    You will learn about your options for pain management and how to find the
20          treatment that’s right for you. By learning more about pain and the many ways it can be
            treated, you are taking solid steps toward reducing the pain you or a loved one may be
21          feeling.209
22          280.    Despite representing itself as a source of accurate information, the brochure included

23   false and misleading information about opioids, including a section seeking to dispel purported “myths”

24   about opioid usage:

25          Opioid Myths
26          Myth: Opioid medications are always addictive.
27
            209
28                  Finding Relief, Pain Management for Older Adults (2009).

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             Fact: Many studies show that opioids are rarely addictive when used properly for the
 1           management of chronic pain.
 2           Myth: Opioids make it harder to function normally.
 3           Fact: When used correctly for appropriate conditions, opioids may make it easier for
             people to live normally.
 4
             Myth: Opioid doses have to get bigger over time because the body gets used to them.
 5
             Fact: Unless the underlying cause of your pain gets worse (such as with cancer or
 6           arthritis), you will probably remain on the same dose or need only small increases over
             time.210
 7

 8           281.    Among the “Partners” listed in “Finding Relief: Pain Management for Older Adults” are
 9   the AAPM, the AGS and the AGS Foundation for Health in Aging. Janssen (along with Purdue and
10   Endo) funded the AAPM. The AGS and the AGS Foundation for Health in Aging published a pain
11   guide titled, “Finding Relief: Pain Management for Older Adults,” which was funded by Janssen.211
12           282.    In addition, Janssen disseminated false information about opioids on the website
13   Prescribe Responsibly, which remains publicly accessible at www.prescriberesponsibly.com.
14   According to the website’s legal notice, all content on the site “is owned or controlled by Janssen.”212
15   The website includes numerous false or misleading representations concerning the relative safety of
16   opioids and omissions of the risks associated with taking them. For example, it states that while
17   practitioners are often concerned about prescribing opioids due to “questions of addiction,” such
18   concerns “are often overestimated. According to clinical opinion polls, true addiction occurs only in a
19   small percentage of patients with chronic pain who receive chronic opioid . . . analgesic therapy.”213
20           283.    Prescribe Responsibly also compared the risks of opioid use favorably to those associated
21   with NSAIDs, such as aspirin and ibuprofen, and stated that many patients develop tolerance for opioid
22   side effects:
23   //
24
             210
                     Id. (emphasis in original).
25
             211
                     Id.
26            212
                     Legal Notice, Prescribe Responsibly, http://www.prescriberesponsibly.com/legal-notice
     (last visited Dec. 14, 2018).
27
              213
                     Use of Opioid Analgesics in Pain Management, Prescribe Responsibly, http://
28   www.prescriberesponsibly.com/articles/opioid-pain-management (last visited Dec. 14, 2018).

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 1                 Opioid analgesics are often the first line of treatment for many painful conditions
            and may offer advantages over nonsteroidal anti-inflammatory drugs (NSAIDs). Opioid
 2          analgesics, for example, have no true “ceiling dose” for analgesia and do not cause direct
            organ damage; however, they do have several possible side effects, including
 3          constipation, nausea, vomiting, a decrease in sexual interest, drowsiness, and respiratory
            depression. With the exception of constipation, many patients often develop tolerance to
 4          most of the opioid analgesic-related side effects.214

 5          284.    Further, Prescribe Responsibly repeats the scientifically unsupported discussion of
 6   “pseudoaddiction” as “a syndrome that causes patients to seek additional medications due to inadequate
 7   pharmacotherapy being prescribed. Typically when the pain is treated appropriately, the inappropriate
 8   behavior ceases.”215 Thus, pseudoaddiction is defined as a condition requiring the prescription of more
 9   or stronger opioids.
10          285.    Janssen also made thousands of payments to physicians nationwide, including to San
11   Francisco physicians, for activities including participating on speakers’ bureaus, providing consulting
12   services, assisting in post-marketing safety surveillance and other services.
13          286.    Based on an analysis of publicly disclosed reports from the years 2013 through 2016,
14   Janssen made nearly 5,000 individual payments to San Francisco physicians totaling more than
15   $740,000 for expenses including education, food and beverage, travel and lodging charitable
16   contribution, consulting, compensation for services other than consulting, grants, space rental or facility
17   fees and travel and lodging fees.
18          287.    According to data collected by ProPublica, in 2014, California doctors prescribed nearly
19   $1 million worth of Duragesic, more than $500,000 worth of Nucynta and almost $400,000 worth of
20   Nucynta ER to patients insured by Medicare Part D. In 2015, those amounts rose to more than $2.4
21   million worth of Duragesic, almost $3.4 million worth of Nucynta and more than $2.8 million worth of
22   Nucynta ER.
23          288.    As people became more and more hooked on prescription painkillers, they moved to
24   heroin, and increasingly to fentanyl, which is even more potent and cheaper than heroin, is increasingly
25

26          214
                   Id.
            215
27                 What a Prescriber Should Know Before Writing the First Prescription, Prescribe
     Responsibly, http://www.prescriberesponsibly.com/articles/before-prescribing-opioids (last visited
28   Dec. 14, 2018).

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 1   mixed with or sold as heroin and, as set forth above, was also being deceptively marketed by Janssen.

 2   This transition to heroin and fentanyl caused a dramatic spike in overdose deaths in and around 2011:

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16                          c.     Janssen Failed to Monitor and Report Suspicious Sales as
                                   Required
17

18          289.    The federal CSA imposes on all “registrants” the obligation to design and operate a

19   system to monitor suspicious orders of controlled substances and requires the registrant to notify the

20   DEA field division office in its area of any suspicious orders. “Suspicious orders include orders of

21   unusual size, orders deviating substantially from a normal pattern, and orders of unusual frequency.” 21

22   C.F.R. §1301.74(b). The CSA’s requirements are also incorporated into California law. Cal. Bus. &

23   Prof. Code §4301(o).

24          290.    Janssen is a “registrant” under the federal CSA. 21 C.F.R. §1300.02(b) defines a

25   registrant as any person who is registered with the DEA under 21 U.S.C. §823. Section 823, in turn,

26   requires manufacturers of Schedule II controlled substances to register with the DEA.

27   //

28   //

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 1          291.    The California Code of Regulations requires all drug manufacturers and wholesalers to

 2   report “all sales of dangerous drugs subject to abuse” to the Board up to 12 times per year, pursuant to

 3   the Board’s request. 16 C.C.R. §1782.

 4          292.    Janssen failed to design and operate a system to monitor suspicious orders of controlled

 5   substances and/or failed to notify the appropriate DEA field division of suspicious orders. Doctors

 6   practicing in San Francisco and/or prescribing opioids to San Francisco residents have been arrested and

 7   arraigned for writing an egregiously high number of opioid prescriptions. Janssen also failed to report

 8   to the Board sales of dangerous drugs subject to abuse. Janssen’s failure to timely report these and other

 9   suspicious sales violated the CSA.

10                  4.      Endo
11          293.    Endo manufactures, markets, sells and distributes the following opioids in San Francisco

12   and nationwide:

13         Opana ER            Opioid agonist; extended-release tablet formulation;          Schedule II
           (oxymorphone        first drug in which oxymorphone was available in an
14         hydrochloride)      oral, extended-release formulation; first approved in
                               2006.
15         Opana               Opioid agonist; first approved in 2006.                       Schedule II
           (oxymorphone
16         hydrochloride)
           Percodan            Branded tablet combining oxymorphone hydrochloride            Schedule II
17         (oxymorphone        and aspirin; first approved in 1950; first marketed by
           hydrochloride       Endo in 2004.
18         and aspirin)
           Percocet            Branded tablet that combines oxymorphone                      Schedule II
19         (oxymorphone        hydrochloride and acetaminophen; first approved in
           hydrochloride       1999; first marketed by Endo in 2006.
20         and
           acetaminophen)
21         Oxycodone           Generic product.                                              Schedule II
           Oxymorphone         Generic product.                                              Schedule II
22
           Hydromorphone       Generic product.                                              Schedule II
23         Hydrocodone         Generic product.                                              Schedule II

24

25          294.    The FDA first approved an injectable form of Opana in 1959. The injectable form of

26   Opana was indicated “for the relief of moderate to severe pain” and “for preoperative medication, for

27   support of anesthesia, for obstetrical analgesia, and for relief of anxiety in patients with dyspnea

28   //

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 1   associated with pulmonary edema secondary to acute left ventricular dysfunction.”                     However,

 2   oxymorphone drugs were removed from the market in the 1970s due to widespread abuse.216

 3          295.    In 2006, the FDA approved a tablet form of Opana in 5 mg and 10 mg strengths. The

 4   tablet form was “indicated for the relief of moderate to severe acute pain where the use of an opioid is

 5   appropriate.” Also in 2006, the FDA approved Opana ER, an extended-release tablet version of Opana

 6   available in 5 mg, 10 mg, 20 mg and 40 mg tablet strengths. Opana ER was indicated “for the relief of

 7   moderate to severe pain in patients requiring continuous, around-the-clock opioid treatment for an

 8   extended period of time.” Endo’s goal was to use Opana ER to take market share away from OxyContin;

 9   thus it was marketed as being safer, with less abuse potential than OxyContin because it is supposed to

10   be crush-resistant.

11          296.    According to Endo’s annual reports, sales of Opana and Opana ER regularly generate

12   several hundred million dollars in annual revenue for the company, growing from $107 million in 2007

13   to as high as $384 million in 2011. Over the last ten years, Percocet has generated an average of well

14   over $100 million in annual revenue for the company.

15                          a.      Endo Falsely Marketed Opana ER as Crush Resistant
16          297.    In December 2011, the FDA approved a reformulated version of Opana ER, which Endo

17   claimed offered “safety advantages” over the original formulation because the new version “is resistant

18   to crushing by common methods and tools employed by abusers of prescription opioids . . . [and] is less

19   likely to be chewed or crushed even in situations where there is no intent for abuse, such as where

20   patients inadvertently chew the tablets, or where caregivers attempt to crush the tablets for easier

21   administration with food or by gastric tubes, or where children accidentally gain access to the tablets.”

22          298.    Endo publicized the reformulated version of Opana ER as “crush-resistant.” To combat

23   the fear of opioids, sales representatives touted it to doctors as a safer option due to its crush-resistance

24   and extended release. In a December 12, 2011 press release announcing FDA approval of the

25   //

26
            216
                     John Fauber & Kristina Fiore, Opana gets FDA approval despite history of abuse,
27   limited effectiveness in trials, Milwaukee Journal Sentinel (May 9, 2015), http://archive.jsonline.com/
     watchdog/watchdogreports/opana-gets-fda-approval-despite-history-of-abuse-limited-effectiveness-in-
28   trials-b99494132z1-303198321.html/.

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 1   reformulated Opana ER, Endo’s executive vice president for research and development and chief

 2   scientific officer highlighted the reformulated version’s safety characteristics:

 3                   “FDA’s approval of this new formulation of Opana ER is an important milestone
             for both the Long Acting Opioid category as well as Endo’s branded pharmaceutical
 4           portfolio. . . . Patient safety is our top concern and addressing appropriate use of opioids
             is a responsibility that we take very seriously. We firmly believe this new formulation
 5           of Opana ER, coupled with our long-term commitment to awareness and education
             around appropriate use of opioids will benefit patients, physicians and payers.”
 6

 7           299.    However, in October 2012, the CDC issued a health alert noting that 15 people in

 8   Tennessee had contracted thrombotic thrombocytopenic purpura, a rare blood-clotting disorder, after

 9   injecting reformulated Opana ER. In response, Endo’s chief scientific officer stated that, while Endo

10   was looking into the data, he was not especially concerned: “‘Clearly, we are looking into this data, . . .

11   but it’s in a very, very distinct area of the country.’”217

12           300.    Shortly thereafter, the FDA determined that Endo’s conclusions about the purported

13   safety advantages of the reformulated Opana ER were unfounded. In a May 10, 2013 letter to Endo, the

14   FDA found that the tablet was still vulnerable to “cutting, grinding, or chewing,” “can be prepared for

15   insufflation (snorting) using commonly available tools and methods” and “can [be readily] prepared for

16   injection.” It also warned that preliminary data suggested “the troubling possibility that a higher

17   percentage of reformulated Opana ER abuse is via injection than was the case with the original

18   formulation.”

19           301.    A 2014 study co-authored by an Endo medical director corroborated the FDA’s warning.

20   This 2014 study found that while overall abuse of Opana had fallen following Opana ER’s

21   reformulation, it also found that injection had become the preferred way of abusing the drug.218

22   However, the study reassured that it was not possible to draw a causal link between the reformulation

23   and injection abuse.

24           302.    The study’s failure to adequately warn healthcare providers and the public was

25   catastrophic. On April 24, 2015, the CDC issued a health advisory concerning its investigation of “a

26           217
                   Tom Dreisbach et al., How A Painkiller Designed To Deter Abuse Helped Spark An
     HIV Outbreak, National Public Radio (Apr. 1, 2016), http://www.npr.org/sections/health-
27   shots/2016/04/01/472538272/how-a-painkiller-designed-to-deter-abuse-helped-spark-an-hiv-outbreak.
             218
28                   Id.

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 1   large outbreak of recent human immunodeficiency virus (HIV) infections among persons who inject

 2   drugs.”219 The CDC specifically attributed the outbreak to the injection of Opana ER. As the advisory

 3   explained:

 4                   From November 2014 to January 2015, ISDH identified 11 new HIV infections
            in a rural southeastern county where fewer than 5 infections have been identified annually
 5          in the past. As of April 21, 2015, an on-going investigation by ISDH with assistance
            from CDC has identified 135 persons with newly diagnosed HIV infections in a
 6          community of 4,200 people; 84% were also HCV infected. Among 112 persons
            interviewed thus far, 108 (96%) injected drugs; all reported dissolving and injecting
 7          tablets of the prescription-type opioid oxymorphone (OPANA® ER) using shared drug
            preparation and injection equipment.220
 8
                           b.     New York’s Investigation Found Endo Falsely Marketed
 9                                Opana ER
10          303.   On February 18, 2017, the State of New York announced a settlement with Endo

11   requiring it “to cease all misrepresentations regarding the properties of Opana ER [and] to describe

12   accurately the risk of addiction to Opana ER.”221 In the Assurance of Discontinuance that effectuated

13   the settlement, the State of New York revealed evidence showing that Endo had known about the risks

14   arising from the reformulated Opana ER even before it received FDA approval.

15          304.   Among other things, the investigation concluded that:

16                Endo improperly marketed Opana ER as designed to be crush resistant even
                   though Endo’s own studies dating from 2009 and 2010 showed that the pill
17                 could be crushed and ground;
18                Endo improperly instructed its sales representatives to diminish and distort the
                   risks associated with Opana ER, including the serious danger of addiction; and
19
                  Endo made unsupported claims comparing Opana ER to other opioids and
20                 failed to disclose accurate information regarding studies addressing the
                   negative effects of Opana ER.
21
            305.   In October 2011, Endo’s director of project management e-mailed the company that
22
     developed the formulation technology for reformulated Opana ER to say there was little or no difference
23
            219
24                  Outbreak of Recent HIV and HCV Infections Among Persons Who Inject Drugs,
     Centers for Disease Control and Prevention, https://emergency.cdc.gov/han/han00377.asp (last visited
25   Dec. 14, 2018).
            220
                    Id.
26
            221
                    Press Release, Attorney General Eric T. Schneiderman, A.G. Schneiderman Announces
27   Settlement With Endo Health Solutions Inc. & Endo Pharmaceuticals Inc. Over Marketing Of
     Prescription Opioid Drugs (Mar. 3, 2016), https://ag.ny.gov/press-release/ag-schneiderman-
28   announces-settlement-endo-health-solutions-inc-endo-pharmaceuticals.

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 1   between the new formulation and the earlier formulation, which Endo withdrew due to risks associated

 2   with grinding and chewing:

 3          “We already demonstrated that there was little difference between [the original and
            new formulations of Opana] in Study 108 when both products were ground. FDA
 4          deemed that there was no difference and this contributed to their statement that we had
            not shown an incremental benefit. The chewing study (109) showed the same thing no
 5          real difference which the FDA used to claim no incremental benefit.”222
 6          306.    Endo conducted two additional studies to test the reformulated Opana ER’s crush

 7   resistance. Study 901 tested whether it was more difficult to extract opioid from reformulated Opana ER

 8   than from the original version, and whether it would take longer to extract opioid from reformulated

 9   Opana ER than from the original version. The test revealed that both formulations behaved similarly

10   with respect to manipulation time and produced equivalent opioid yields.

11          307.    The settlement also identified and discussed a February 2013 communication from a

12   consultant hired by Endo to the company in which the consultant concluded that “[t]he initial data

13   presented do not necessarily establish that the reformulated Opana ER is tamper resistant.” The same

14   consultant also reported that the distribution of the reformulated Opana ER had already led to higher

15   levels of abuse of the drug via injection.223

16          308.    Despite the results of Endo’s own studies and the conclusions of Endo’s director of

17   project management and consultant, pamphlets produced by Endo and distributed to physicians

18   misleadingly marketed the reformulated Opana ER as “‘designed to be’ crush resistant,” and Endo’s

19   sales representative training identified Opana ER as “CR,” short for crush resistant.224

20          309.    The Office of the Attorney General of New York also revealed that the “managed care

21   dossier” Endo provided to formulary committees of healthcare plans and PBMs misrepresented the

22   Opana ER studies. The dossier was distributed in order to assure the inclusion of reformulated

23   Opana ER in their formularies.

24   //

25
            222
                     In the Matter of Endo Health Solutions Inc. and Endo Pharmaceuticals Inc., Assurance
26   No. 15-228, Assurance of Discontinuance Under Executive Law Section 63, Subdivision 15 at 5 (Mar.
     1, 2016), https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.
27          223
                     Id. at 6.
            224
28                  Id.

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 1          310.    According to Endo’s vice president for pharmacovigilance and risk management, the

 2   dossier was presented as a complete compendium of all research on the drug. However, it omitted

 3   certain studies: Study 108 (completed in 2009) and Study 109 (completed in 2010), which showed that

 4   reformulated Opana ER could be ground and chewed.

 5          311.    The settlement also detailed Endo’s false and misleading representations about the non-

 6   addictiveness of opioids and Opana. Until April 2012, Endo’s website for the drug, www.opana.com,

 7   contained the following representation: “Most healthcare providers who treat patients with pain agree

 8   that patients treated with prolonged opioid medicines usually do not become addicted.”225 However,

 9   Endo neither conducted nor possessed a survey demonstrating that most healthcare providers who treat

10   patients with pain agree with that representation.

11          312.    The Office of the Attorney General of New York also disclosed that training materials

12   provided by Endo to sales representatives stated: “Symptoms of withdrawal do not indicate

13   addiction.”226 This representation is inconsistent with the diagnosis of opioid-use disorder as provided

14   in the Diagnostic and Statistical Manual of Mental Disorders by the American Psychiatric Association

15   (Fifth Edition).

16          313.    The Office of the Attorney General of New York also found that Endo trained its sales

17   representatives to falsely distinguish addiction from “pseudoaddiction,” which it defined as a condition

18   in which patients exhibit drug-seeking behavior that resembles, but is not the same as, addiction.

19   However, Endo’s vice president for pharmacovigilance and risk management testified that he was not

20   aware of any research validating the concept of pseudoaddiction.

21                          c.     Endo Funded False Publications and Presentations
22          314.    Like several of the other Marketing Defendants, Endo provided substantial funding to

23   purportedly neutral medical organizations, including the APF.

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25   //

26   //

27          225
                    Id.
            226
28                  Id. at 7.

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 1          315.    For example, in April 2007, Endo sponsored an article aimed at prescribers, written by

 2   Dr. Charles E. Argoff in Pain Medicine News, titled, “Case Challenges in Pain Management: Opioid

 3   Therapy for Chronic Pain.”227

 4          316.    The article commenced with the observation that “[a]n estimated 50 to 60 million people

 5   . . . suffer from chronic pain.” It continued:

 6                  Opioids represent a highly effective but controversial and often misunderstood
            class of analgesic medications for controlling both chronic and acute pain. The
 7          phenomenon of tolerance to opioids – the gradual waning of relief at a given dose – and
            fears of abuse, diversion, and misuse of these medications by patients have led many
 8          clinicians to be wary of prescribing these drugs, and/or to restrict dosages to levels that
            may be insufficient to provide meaningful relief.228
 9

10          317.    The article included a case study that focused on the danger of extended use of NSAIDs,

11   including that the subject was hospitalized with a massive upper gastrointestinal bleed believed to have

12   resulted from his protracted NSAID use. In contrast, the article did not provide the same detail

13   concerning the serious side effects associated with opioids. It concluded by saying that “use of opioids

14   may be effective in the management of chronic pain.”

15          318.    Later, in 2014, Endo issued a patient brochure titled, “Understanding Your Pain: Taking

16   Oral Opioid Analgesics.” It was written by nurses Margo McCaffery and Chris Pasero and edited by

17   APF board member Portenoy.

18          319.    The brochure included numerous false and misleading statements minimizing the

19   dangers associated with prescription opioid use.      Among other things, the brochure falsely and

20   misleadingly represented that:

21                 Addiction IS NOT when a person develops “withdrawal” (such as abdominal
            cramping or sweating) after the medicine is stopped quickly or the dose is reduced by a
22          large amount. Your doctor will avoid stopping your medication suddenly by slowly
            reducing the amount of opioid you take before the medicine is completely stopped.
23          Addiction also IS NOT what happens when some people taking opioids need to take a
            higher dose after a period of time in order for it to continue to relieve their pain. This
24          normal “tolerance” to opioid medications doesn’t affect everyone who takes them and
            does not, by itself, imply addiction. If tolerance does occur, it does not mean you will
25          “run out” of pain relief. Your dose can be adjusted or another medicine can be prescribed.
26
            227
                   Charles E. Argoff, Case Challenges in Pain Management: Opioid Therapy for Chronic
27   Pain, Pain Med. News, http://www.painmedicinenews.com/download/BtoB_Opana_WM.pdf.
            228
28                  Id.

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 1                                                   *        *     *

 2          How can I be sure I’m not addicted?

 3                 Addiction to an opioid would mean that your pain has gone away but you still
                    take the medicine regularly when you don’t need it for pain, maybe just to escape
 4                  from your problems.

 5                 Ask yourself: Would I want to take this medicine if my pain went away? If you
                    answer no, you are taking opioids for the right reasons – to relieve your pain and
 6                  improve your function. You are not addicted.

 7                                                   *        *     *
 8          Your doctor or nurse may instruct you to do some of the following:
 9                 Take the next dose before the last dose wears off. If pain is present most of the
                    day and night, the pain medicine may be taken at regularly scheduled times. If
10                  you are taking a short-acting opioid, this usually means taking it every 4 hours.
                    You may need to set your alarm, especially at night, to be sure you take your dose
11                  before the pain returns and wakes you up.
12                 If your pain comes and goes, take your pain medicine when pain first begins,
                    before it becomes severe.
13
                   If you are taking a long-acting opioid, you may only need to take it every 8 to 12
14                  hours, but you may also need to take a short-acting opioid in between for any
                    increase in pain.229
15

16          320.    In 2008, Endo also provided an “educational grant” to PainEDU.org, which produced a

17   document titled, “Screener and Opioid Assessment for Patients with Pain (SOAPP) Version 1.0-14Q.”

18   Endo and King Pharmaceuticals sponsor PainEDU.org.230 SOAPP describes itself “as a tool for

19   clinicians to help determine how much monitoring a patient on long-term opioid therapy might require.”

20   It falsely highlights purportedly “recent findings suggesting that most patients are able to successfully

21   remain on long-term opioid therapy without significant problems.”

22          321.    Endo also sponsored the now-defunct website painknowledge.com, which was created

23   by the APF and stated it was “a one-stop repository for print materials, educational resources, and

24   physician tools across the broad spectrum of pain assessment, treatment, and management

25          229
                   Margo McCaffery & Chris Pasero, Understanding Your Pain: Taking Oral Opioid
     Analgesics, Endo Pharmaceuticals (2004),
26   http://www.thblack.com/links/RSD/Understand_Pain_Opioid_ Analgesics.pdf (emphasis in original).
             230
27                 B. Eliot Cole, Resources for Education on Pain and Its Management: A Practitioner’s
     Compendium 2 (Am. Society of Pain Educators 2009), https://www.paineducators.org/wp-
28   content/uploads/2012/12/ASPE-ResForEducationOnPainAn.pdf.

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 1   approaches.”231 Among other featured content, painknowledge.com included a flyer titled, “Pain:

 2   Opioid Therapy,” which failed to warn of significant adverse effects that could arise from opioid use,

 3   including hyperalgesia, immune and hormone dysfunction, cognitive impairment, decreased tolerance,

 4   dependence and addiction.

 5          322.    Endo, along with Janssen and Purdue, also provided grants to the APF to distribute Exit

 6   Wounds, discussed above. See supra ¶¶101-102.232

 7          323.    Endo also made thousands of payments to physicians nationwide, including to San

 8   Francisco physicians, for activities including participating on speakers’ bureaus, providing consulting

 9   services, assisting in post-marketing safety surveillance and other services.

10
                            d.     FDA Requested Endo Withdraw Opana ER Due to the
11                                 Public Health Consequences of Abuse

12          324.    On June 8, 2017, the FDA requested that Endo remove reformulated Opana ER from the

13   market “based on its concern that the benefits of the drug may no longer outweigh its risks.”233

14   According to the FDA’s press release, it sought removal “due to the public health consequences of

15   abuse.” The decision to seek Opana ER’s removal from sale followed a March 2017 FDA advisory

16   committee meeting, during which a group of independent experts voted 18-8 that the drug’s benefits no

17   longer outweigh the risks associated with its use. According to Dr. Janet Woodcock, director of the

18   FDA’s Center for Drug Evaluation and Research, the risks include “several serious problems,” including

19   “outbreaks of HIV and Hepatitis C from sharing the drug after it was extracted by abusers” and “a[n]

20   outbreak of serious blood disorder.” Dr. Woodcock stated that if Endo did not comply with the request,

21   the FDA would issue notice of a hearing and commence proceedings to compel its removal.

22
            231
                     AboutPainKnowledge.org, PainKnowledge,
23   http://web.archive.org/web/20120119124921/ http://www.painknowledge.org/aboutpaink.aspx (last
     visited Dec. 14, 2018).
24           232
                     Iraq War Veteran Amputee, Pain Advocate and New Author Releases Exit Wounds: A
     Survival Guide to Pain Management for Returning Veterans and Their Families, Coalition for Iraq +
25   Afghanistan Veterans, https://web.archive.org/web/20160804131030/http://coalitionforveterans.org/
     2009/10/iraq-war-veteran-amputee-pain-advocate-and-new-author-releases-exit-wounds-a-survival-
26   guide-to-pain-management-for-returning-veterans-and-their-families/ (last visited Dec. 14, 2018).
             233
27                   Press Release, U.S. Food & Drug Administration, FDA requests removal of Opana ER
     for risks related to abuse (June 8, 2017), https://www.fda.gov/newsevents/newsroom/
28   pressannouncements/ucm562401.htm.

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 1          325.    On July 6, 2017, Endo pulled Opana ER from the U.S. market.

 2
                            e.     Endo Failed to Monitor and Report Suspicious Sales as
 3                                 Required

 4          326.    Opana ER has been widely prescribed in San Francisco. According to data collected by

 5   ProPublica, during 2014 and 2015, California doctors’ prescriptions of Opana ER to patients insured by

 6   the Medicare Part D program totaled more than $7.2 million and $8.4 million, respectively. San

 7   Francisco is home of two of the top 20 Medicare Part D claimants during 2015 for prescriptions of

 8   Opana ER in all of California.234

 9          327.    The federal CSA imposes on all “registrants” the obligation to design and operate a

10   system to monitor suspicious orders of controlled substances and requires the registrant to notify the

11   DEA field division office in its area of any suspicious orders. “Suspicious orders include orders of

12   unusual size, orders deviating substantially from a normal pattern, and orders of unusual frequency.” 21

13   C.F.R. §1301.74(b). The CSA’s requirements are also incorporated into California law. Cal. Bus. &

14   Prof. Code §4301(o).

15          328.    Endo is a “registrant” under the federal CSA. 21 C.F.R. §1300.02(b) defines a registrant

16   as any person who is registered with the DEA under 21 U.S.C. §823. Section 823, in turn, requires

17   manufacturers of Schedule II controlled substances to register with the DEA.

18          329.    The California Code of Regulations requires all drug manufacturers and wholesalers to

19   report “all sales of dangerous drugs subject to abuse” to the Board up to 12 times per year, pursuant to

20   the Board’s request. 16 C.C.R. §1782.

21          330.    Endo failed to design and operate a system to monitor suspicious orders of controlled

22   substances and/or failed to notify the appropriate DEA field division of suspicious orders. Endo also

23   failed to report to the Board sales of suspicious drugs subject to abuse. Endo’s failure to timely report

24   these and other suspicious sales violated the CSA and California law.

25   //

26   //

27
            234
                     Prescribers of OPANA ER in California, ProPublica,
28   https://projects.propublica.org/checkup/ drugs/1445/states/california (last visited Dec. 14, 2018).

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                    5.       Cephalon
 1

 2          331.    Cephalon manufactures, markets, sells and distributes the following opioids in

 3   San Francisco and nationwide:

 4         Actiq (fentanyl     Opioid analgesic; oral transmucosal lozenge; indicated    Schedule II
           citrate)            only for the management of breakthrough pain (“BTP”)
 5                             in cancer patients – pain that for a short time “breaks
                               through” medication that otherwise effectively controls a
 6                             patient’s persistent pain – in patients 16 and older with
                               malignancies; commonly referred to as a lollipop
 7                             because designed to look and perform like one;
                               approved in 1998 with restricted distribution program.
 8         Fentora             Rapid-release tablet for BTP in cancer patients who are   Schedule II
           (fentanyl           already receiving and tolerant of around-the-clock
 9         buccal)             opioid therapy; approved 2006.
           Generic of          Opiate agonist.                                           Schedule II
10         OxyContin
           (oxycodone
11         hydrochloride)
12

13   According to public records compiled by ProPublica, in 2015 alone, Medicare Part D paid $3.77 million

14   for claims arising from California physicians’ Fentora prescriptions.

15          332.    Actiq is designed to resemble a lollipop and is meant to be sucked on at the onset of

16   intense BTP in cancer patients. It delivers fentanyl citrate, a powerful opioid agonist that is 80 times

17   stronger than morphine,235 rapidly into a patient’s bloodstream through the oral membranes.236 Because

18   it is absorbed through those membranes, it passes directly into circulation without having to go through

19   the liver or stomach, thereby providing faster relief.237

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21   //

22   //

23
            235
                     See John Carreyrou, Narcotic “Lollipop” Becomes Big Seller Despite FDA Curbs, Wall
24   St. J. (Nov. 3, 2006), https://www.opiates.com/media/narcotic-lollipop-becomes-big-seller-despite-
     fda-curbs/ (hereinafter, “Carreyrou, Narcotic Lollipop”).
25            236
                     Actiq would later become part of a category of opioids now known as transmucosal
     immediate-release fentanyl (“TIRF”) products. “Transmucosal” refers to the means through which the
26   opioid is delivered into a patient’s bloodstream, across mucous membranes, such as inside the cheek,
     under the tongue or in the nose.
27
              237
                     Cephalon, Inc., Company-Histories.com, http://www.company-
28   histories.com/Cephalon-Inc-Company-History.html (last visited Dec. 14, 2018).

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 1          333.     In November 1998, the FDA approved Actiq for only a very narrow group of people –

 2   cancer patients “with malignancies who are already receiving and who are tolerant to opioid therapy for

 3   their underlying persistent cancer pain.”238

 4          334.     Understanding the risks of introducing such an intense opioid analgesic to the market,

 5   the FDA provided approval of Actiq “ONLY for the management of breakthrough cancer pain in patients

 6   with malignancies who are already receiving and who are tolerant to opioid therapy for their underlying

 7   persistent cancer pain.”239 Further, the FDA explicitly stated that Actiq “must not be used in opioid

 8   non-tolerant patients,” was contraindicated for the management of acute or postoperative pain, could be

 9   deadly to children and was “intended to be used only in the care of opioid-tolerant cancer patients and

10   only by oncologists and pain specialists who are knowledgeable of and skilled in the use of Schedule II

11   opioids to treat cancer pain.”

12          335.     The FDA also required that Actiq be provided only in compliance with a strict risk-

13   management program that explicitly limited the drug’s direct marketing to the approved target

14   audiences, defined as oncologists, pain specialists, their nurses and office staff.240

15          336.     In October 2000, Cephalon acquired the worldwide product rights to Actiq and began

16   marketing and selling Actiq in the United States.

17          337.     Cephalon purchased the rights to Fentora, an even faster-acting tablet formulation of

18   fentanyl, from Cima Labs, and submitted a new drug application to the FDA in August 2005. In

19   September 2006, Cephalon received FDA approval to sell this faster-acting version of Actiq; but once

20   again concerned about the power and risks inherent to fentanyl, the FDA limited Fentora’s approval to

21   the treatment of BTP in cancer patients who were already tolerant to around-the-clock opioid therapy

22   for their underlying persistent cancer pain.        Cephalon began marketing and selling Fentora in

23   October 2006.

24   //

25
            238
                    1998 FDA Label.
26           239
                    NDA 20-747 Letter from Cynthia McCormick, Center for Drug Evaluation and
     Research, to Patricia J. Richards, Anesta Corporation, http://www.accessdata.fda.gov/drugsatfda_docs/
27   appletter/1998/20747ltr.pdf.
            240
28                   Carreyrou, Narcotic Lollipop, supra n.235.

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 1                          a.      Cephalon Falsely and Aggressively Marketed Cancer Drug
                                    Actiq to Non-Cancer Treating Physicians
 2

 3           338.   Due to the FDA’s restrictions, Actiq’s consumer base was limited, as was its potential

 4   for growing revenue. In order to increase its revenue and market share, Cephalon needed to find a

 5   broader audience and thus began marketing its lollipop to treat headaches, back pain, sports injuries and

 6   other chronic non-cancer pain, targeting non-oncology practices, including, but not limited to, pain

 7   doctors, general practitioners, migraine clinics, anesthesiologists and sports clinics. It did so in violation

 8   of applicable regulations prohibiting the marketing of medications for off-label use and in direct

 9   contravention of the FDA’s strict instructions that Actiq be prescribed only to terminal cancer patients

10   and by oncologists and pain management doctors experienced in treating cancer pain.

11           339.   According to “[d]ata gathered from a network of doctors by research firm ImpactRx

12   between June 2005 and October 2006” (“ImpactRx Survey”), Cephalon sales representatives’ visits to

13   non-oncologists to market Actiq increased sixfold between 2002 and 2005. Cephalon representatives

14   would reportedly visit non-oncologists monthly, providing up to 60 or 70 coupons (each coupon was

15   good for six free Actiq lozenges) and encouraging prescribers to try Actiq on their non-cancer

16   patients.241

17           340.   Cephalon’s efforts paid off. In 2000, Actiq generated $15 million in sales.242 By 2002,

18   it attributed a 92% increase in Actiq sales to “a dedicated sales force for ACTIQ” and “ongoing changes

19   to [its] marketing approach including hiring additional sales representatives and targeting our marketing

20   efforts to pain specialists.”243 By 2005, Actiq’s sales total had jumped to $412 million, making it (a

21   drug approved for only a narrow customer base) Cephalon’s second-best-selling drug. By the end of

22   2006, Actiq’s sales had exceeded $500 million.244

23   //

24   //

25           241
                 Id.
             242
26               Id.
          243
                 Cephalon, Inc. Annual Report (Form 10-K) at 28 (Mar. 31, 2003), https://
27   www.sec.gov/Archives/edgar/ data/873364/000104746903011137/a2105971z10-k.htm.
             244
28                  Carreyrou, Narcotic Lollipop, supra n.235.

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 1          341.   During the first six months of 2006, only 1% of the 187,076 prescriptions for Actiq filled

 2   at retail pharmacies were prescribed by oncologists. Results of the ImpactRx Survey suggested that

 3   “more than 80 percent of patients who use[d] the drug don’t have cancer.”245

 4                         b.     Government Investigations Found Cephalon Falsely
                                  Marketed Actiq for Off-Label Uses
 5

 6          342.   Beginning in or about 2003, former Cephalon employees filed four whistleblower

 7   lawsuits claiming the company had wrongfully marketed Actiq for unapproved, off-label uses. On

 8   September 29, 2008, Cephalon finalized and entered into a corporate integrity agreement with the Office

 9   of the Inspector General of HHS and agreed to pay $425 million in civil and criminal penalties for its

10   off-label marketing of Actiq and two other drugs (Gabitril and Provigil). According to a DOJ press

11   release, Cephalon trained sales representatives to disregard restrictions of the FDA-approved label,

12   employed sales representatives and healthcare professionals to speak to physicians about off-label uses

13   of the three drugs and funded CME to promote off-label uses. Specifically, the DOJ stated:

14          From 2001 through at least 2006, Cephalon was allegedly promoting [Actiq] for non-
            cancer patients to use for such maladies as migraines, sickle-cell pain crises, injuries,
15          and in anticipation of changing wound dressings or radiation therapy. Cephalon also
            promoted Actiq for use in patients who were not yet opioid-tolerant, and for whom it
16          could have life-threatening results.246
17          343.   Then-acting U.S. Attorney Laurie Magid commented on the dangers of Cephalon’s

18   unlawful practices:

19          “This company subverted the very process put in place to protect the public from harm,
            and put patients’ health at risk for nothing more than boosting its bottom line. People
20          have an absolute right to their doctors’ best medical judgment. They need to know the
            recommendations a doctor makes are not influenced by sales tactics designed to convince
21          the doctor that the drug being prescribed is safe for uses beyond what the FDA has
            approved.”247
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23   //

24   //

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            245
                   Id.
26          246
                   Press Release, U.S. Department of Justice, Pharmaceutical Company Cephalon To Pay
     $425 Million For Off-Label Drug Marketing (Sept. 29, 2008), https://www.justice.gov/
27   archive/usao/pae/News/2008/sep/cephalonrelease.pdf.
            247
28                 Id.

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 1          344.    Upon information and belief, documents uncovered in the government’s investigations

 2   confirm that Cephalon directly targeted non-oncology practices and pushed its sales representatives to

 3   market Actiq for off-label use. For instance, the government’s investigations confirmed:

 4                 Cephalon instructed its sales representatives to ask non-cancer doctors whether
                    they have the potential to treat cancer pain. Even if the doctor answered “no,” a
 5                  decision tree provided by Cephalon instructed the sales representatives to give
                    these physicians free Actiq coupons.
 6
                   Cephalon targeted neurologists in order to encourage them to prescribe Actiq to
 7                  patients with migraine headaches.
 8                 Cephalon sales representatives utilized the assistance of outside pain management
                    specialists when visiting non-cancer physicians to pitch Actiq. The pain
 9                  management specialist would falsely inform the physician that Actiq does not
                    cause patients to experience a “high” and carries a low risk of diversion toward
10                  recreational use.
11                 Cephalon set sales quotas for its sales and marketing representatives that could
                    not possibly have been met solely by promoting Actiq for its FDA-approved
12                  indication.
13                 Cephalon promoted the use of higher doses of Actiq than patients required by
                    encouraging prescriptions of the drug to include larger-than-necessary numbers
14                  of lozenges with unnecessarily high doses of fentanyl.
15                 Cephalon promoted Actiq for off-label use by funding and controlling CME
                    seminars that promoted and misrepresented the efficacy of the drug for off-label
16                  uses such as treating migraine headaches and for patients not already opioid-
                    tolerant.248
17

18          345.    Still, the letters, the FDA’s safety alert, DOJ and state investigations and the massive

19   settlement seemed to have had little impact on Cephalon as it continued its deceptive marketing strategy

20   for both Actiq and Fentora.

21                          c.     Cephalon Falsely and Aggressively Marketed Cancer Drug
                                   Fentora to Non-Cancer Treating Physicians
22

23          346.    From the time it first introduced Fentora to the market in October 2006, Cephalon

24   targeted non-cancer doctors, falsely represented Fentora as a safe, effective off-label treatment for non-

25   cancer pain and continued its disinformation campaign about the safety and non-addictiveness of

26

27
            248
                    John Carreyrou, Cephalon Used Improper Tactics to Sell Drug, Probe Finds, Wall St.
28   J. Nov. 21, 2006, at B1 (hereinafter, “Carreyrou, Cephalon Used Improper Tactics”).

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 1   Fentora specifically and opioids generally. In fact, Cephalon targeted the same pain specialists and non-

 2   oncologists that it had targeted with its off-label marketing of Actiq, simply substituting Fentora.

 3          347.    During an investor earnings call shortly after Fentora’s launch, Cephalon’s CEO

 4   described the “opportunity” presented by the use of Fentora for non-cancer pain:

 5                 The other opportunity of course is the prospect for FENTORA outside of
            cancer pain, in indications such as breakthrough lower back pain and breakthrough
 6          neuropathic pain.
 7                                                   *      *       *
            Of all the patients taking chronic opioids, 32% of them take that medication to treat back
 8          pain, and 30% of them are taking their opioids to treat neuropathic pain. In contrast only
            12% are taking them to treat cancer pain, 12%.
 9
                    We know from our own studies that breakthrough pain episodes experienced by
10          these non-cancer sufferers respond very well to FENTORA. And for all these reasons,
            we are tremendously excited about the significant impact FENTORA can have on patient
11          health and well being and the exciting growth potential that it has for Cephalon.
12                  In summary, we have had a strong launch of FENTORA and continue to grow
            the product aggressively. Today, that growth is coming from the physicians and patient
13          types that we have identified through our efforts in the field over the last seven years. In
            the future, with new and broader indications and a much bigger field force presence, the
14          opportunity that FENTORA represents is enormous.249
15                          d.      The FDA Warned Cephalon Regarding its False and Off-
                                    Label Marketing of Fentora
16

17          348.    On September 27, 2007, the FDA issued a public health advisory to address numerous

18   reports that patients who did not have cancer or were not opioid tolerant had been prescribed Fentora,

19   and warned of death or life-threatening side effects. The FDA warned: “Fentora should not be used to

20   treat any type of short-term pain.”250

21          349.    Nevertheless, in 2008, Cephalon pushed forward to expand the target base for Fentora

22   and filed a supplemental drug application requesting FDA approval of Fentora for the treatment of non-

23   cancer BTP. In the application and supporting presentations to the FDA, Cephalon admitted both that

24   it knew the drug was heavily prescribed for off-label use and that the drug’s safety for such use had

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26          249
                     Seeking Alpha, Transcript of Q1 2007 Cephalon, Inc. Earnings Conference Call (May
     1, 2007), http://seekingalpha.com/article/34163-cephalon-q1-2007-earnings-call-transcript.
27
            250
                     Press Release, U.S. Food & Drug Administration, Public Health Advisory: Important
28   Information for the Safe Use of Fentora (fentanyl buccal tablets) (Sept. 26, 2007).

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 1   never been clinically evaluated.251 An FDA advisory committee lamented that Fentora’s existing risk

 2   management program was ineffective and stated that Cephalon would have to institute a risk evaluation

 3   and mitigation strategy for the drug before the FDA would consider broader label indications. In

 4   response, Cephalon revised Fentora’s label and medication guide to add strengthened warnings.

 5           350.    But in 2009, the FDA once again informed Cephalon that the risk management program

 6   was not sufficient to ensure the safe use of Fentora for already approved indications.

 7           351.    On March 26, 2009, the FDA warned Cephalon against its misleading advertising of

 8   Fentora (“Warning Letter”).       The Warning Letter described a Fentora Internet advertisement as

 9   misleading because it purported to broaden “the indication for Fentora by implying that any patient with

10   cancer who requires treatment for breakthrough pain is a candidate for Fentora . . . when this is not the

11   case.” Rather, Fentora was only indicated for those who were already opioid tolerant. It further

12   criticized Cephalon’s other direct Fentora advertisements because they did not disclose the risks

13   associated with the drug.

14           352.    Flagrantly disregarding the FDA’s refusal to approve Fentora for non-cancer BTP and its

15   warning against marketing the drug for the same, Cephalon continued to use the same sales tactics to

16   push Fentora as it did with Actiq.

17           353.    For example, on January 13, 2012, Cephalon published an insert in Pharmacy Times

18   titled, “An Integrated Risk Evaluation and Mitigation Strategy (REMS) for FENTORA (Fentanyl Buccal

19   Tablet) and ACTIQ (Oral Transmucosal Fentanyl Citrate).” Despite the repeated warnings of the

20   dangers associated with the use of the drugs beyond their limited indication, as detailed above, the first

21   sentence of the insert stated: “It is well recognized that the judicious use of opioids can facilitate effective

22   and safe management of chronic pain.”252

23   //

24   //

25           251
                    FENTORA (fentanyl buccal tablet) CII, Joint Meeting of Anesthetic and Life Support
     Drugs and Drug Safety and Risk Management Advisory Committee, U.S. Food & Drug Administration
26   (May 6, 2008).
            252
27                  An Integrated Risk Evaluation and Mitigation Strategy (REMS) for FENTORA
     (Fentanyl Buccal Tablet) and ACTIQ (Oral Transmucosal Fentanyl Citrate), Pharmacy Times (Jan.
28   13, 2012), http://www.pharmacytimes.com/publications/issue/2012/january2012/r514-jan-12-rems.

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                           e.      Cephalon Funded False Publications and Presentations
 1

 2          354.    In addition to its direct marketing, Cephalon indirectly marketed through third parties to

 3   change the way doctors viewed and prescribed opioids – disseminating the unproven and deceptive

 4   messages that opioids were safe for the treatment of chronic, long-term pain, that they were non-

 5   addictive and that they were woefully under-prescribed to the detriment of patients who were needlessly

 6   suffering. It did so by sponsoring pro-opioid front groups, misleading prescription guidelines, articles

 7   and CME programs and paying physicians thousands of dollars every year to publicly opine that opioids

 8   were safe, effective and non-addictive for a wide variety of uses.

 9          355.    Cephalon sponsored numerous CME programs, which were made widely available

10   through organizations like Medscape, LLC (“Medscape”) and which disseminated false and misleading

11   information to physicians in San Francisco and across the country.

12          356.    For example, a 2003 Cephalon-sponsored CME presentation titled, “Pharmacologic

13   Management of Breakthrough or Incident Pain,” posted on Medscape in February 2003, stated:

14          [C]hronic pain is often undertreated, particularly in the noncancer patient
            population. . . . The continued stigmatization of opioids and their prescription,
15          coupled with often unfounded and self-imposed physician fear of dealing with the
            highly regulated distribution system for opioid analgesics, remains a barrier to
16          effective pain management and must be addressed. Clinicians intimately involved with
            the treatment of patients with chronic pain recognize that the majority of suffering
17          patients lack interest in substance abuse. In fact, patient fears of developing substance
            abuse behaviors such as addiction often lead to undertreatment of pain. The concern
18          about patients with chronic pain becoming addicted to opioids during long-term opioid
            therapy may stem from confusion between physical dependence (tolerance) and
19          psychological dependence (addiction) that manifests as drug abuse.253
20          357.    Another Cephalon-sponsored CME presentation titled, “Breakthrough Pain: Treatment

21   Rationale with Opioids” was available on Medscape starting September 16, 2003 and was given by a

22   self-professed pain management doctor who “previously operated back, complex regional pain

23   syndromes, the neuropathies, and interstitial cystitis.” (One slide from that CME presentation is set

24   forth below). The presentation describes the pain process as a non-time-dependent continuum that

25   requires a balanced analgesia approach using “targeted pharmacotherapeutics to affect multiple points

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27
            253
                  Michael J. Brennan et al., Pharmacologic Management of Breakthrough or Incident
28   Pain, Medscape, https://www.medscape.org/viewarticle/449803 (last visited Dec. 14, 2018).

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 1   in the pain-signaling pathway.”254 The doctor lists fentanyl as one of the most effective opioids available

 2   for treating BTP, describing its use as an expected and normal part of the pain management process.

 3   Nowhere in the CME is cancer or cancer-related pain even mentioned.

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19          358.    Dr. Stephen H. Landy (“Landy”) authored a 2004 CME manuscript available on

20   Medscape titled, “Oral Transmucosal Fentanyl Citrate for the Treatment of Migraine Headache Pain In

21   Outpatients: A Case Series.” The manuscript preparation was supported by Cephalon. Landy describes

22   the findings of a study of fentanyl citrate to treat migraine headache pain and concluded that “OTFC

23   rapidly and significantly relieved acute, refractory migraine pain in outpatients . . . and was associated

24   with high patient satisfaction ratings.”255 Based on an analysis of publicly available data, Cephalon paid

25
            254
                    Daniel S. Bennett, Breakthrough Pain: Treatment Rationale With Opioids, Medscape,
26   https://www.medscape.org/viewarticle/461612 (last visited Dec. 14, 2018).
             255
27                  Stephen H. Landy, Oral Transmucosal Fentanyl Citrate for the Treatment of Migraine
     Headache Pain In Outpatients: A Case Series, 44(8) Headache (2004), https://www.medscape.com/
28   viewarticle/488337_2 (last visited Dec. 14, 2018).

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 1   Landy approximately $190,000 in 2009-2010 alone, and in 2015-2016, Cephalon paid Landy another

 2   $75,000.

 3          359.    In 2006, Cephalon sponsored a review of scientific literature to create additional

 4   fentanyl-specific dosing guidelines titled, Evidence-Based Oral Transmucosal Fentanyl Citrate

 5   (OTFC®) Dosing Guidelines.256 The article purports to review the evidence for dosing and efficacy of

 6   oral transmucosal fentanyl citrate in the management of pain and produce dosing guidelines in both

 7   cancer and non-cancer patients. In pertinent part, it states:

 8                  Oral transmucosal fentanyl citrate has a proven benefit in treating cancer-
            associated breakthrough pain in opioid-tolerant patients with cancer, which is the Food
 9          and Drug Administration (FDA)-approved indication for Actiq. Pain medicine
            physicians have also used OTFC successfully to provide rapid pain relief in moderate
10          to severe noncancer pain in both opioid-tolerant and opioid-nontolerant patients.257
11          360.    Later in the article, the authors attempt to assuage doctors’ concerns regarding possible

12   overdose and respiratory distress in non-cancer patients by arguing “[t]here is no evidence that opioid

13   safety and efficacy differs in opioid-tolerant patients with chronic noncancer pain.” Regarding the

14   use of fentanyl to treat non-opioid-tolerant patients, the article’s authors stated:

15          Alternatively, OTFC might also be used cautiously and safely for acute pain
            experienced by patients who are not opioid tolerant. Parenteral opioids are routinely
16          used for acute pain in patients who are not opioid tolerant. Examples include episodic
            pain (i.e., refractory migraine pain, recurrent renal calculi, etc.) and acute pain that
17          follows surgery, trauma, or painful procedures (burn dressing change, bone marrow
            aspiration, lumbar puncture). Assuming that clinical experience with IV morphine in
18          patients who are not opioid tolerant can be extrapolated, OTFC should be safe and
            efficacious in such settings as well.258
19

20          361.    Through its sponsorship of FSMB (see supra ¶¶78-90), Cephalon continued to encourage

21   the prescribing of opioid medication to “reverse . . . and improve” patient function, attributing patients’

22   displays of traditional drug-seeking behaviors as merely “pseudoaddiction.”

23          362.    Cephalon also disseminated its false messaging through speakers’ bureaus and

24   publications. For example, at an AAPM annual meeting held February 22 through 25, 2006, Cephalon

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            256
26                Gerald M. Aronoff et al., Evidence-Based Oral Transmucosal Fentanyl Citrate (OTFC)
     Dosing Guidelines, 6(4) Pain Med. 305-14 (Aug. 2005).
27         257
                  Id.
            258
28                  Id.

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 1   sponsored a presentation by Webster and others titled, “Open-label study of fentanyl effervescent buccal

 2   tablets in patients with chronic pain and breakthrough pain: Interim safety results.” The presentation’s

 3   agenda description states: “Most patients with chronic pain experience episodes of breakthrough pain

 4   (BTP), yet no currently available pharmacologic agent is ideal for its treatment.” The presentation

 5   purports to cover a study analyzing the safety of a new form of fentanyl buccal tablets in the chronic

 6   pain setting and promises to show the “[i]nterim results of this study suggest that FEBT is safe and well-

 7   tolerated in patients with chronic pain and BTP.”259

 8          363.    Cephalon sponsored another CME presentation written by Webster and M. Beth Dove

 9   titled, “Optimizing Opioid Treatment for Breakthrough Pain” and offered on Medscape from September

10   28, 2007 through December 15, 2008.          The presentation stated that non-opioid analgesics and

11   combination opioids containing non-opioids such as aspirin and acetaminophen are less effective at

12   treating BTP than pure opioid analgesics because of dose limitations on the non-opioid component.260

13          364.    Fine authored a Cephalon-sponsored CME presentation titled, “Opioid-Based

14   Management of Persistent and Breakthrough Pain,” with Drs. Christine A. Miaskowski and Michael J.

15   Brennan. Cephalon paid to have this CME presentation published as a “Special Report” supplement of

16   the journal Pain Medicine News in 2009.261 The CME presentation targeted a wide variety of non-

17   oncologist healthcare providers who treat patients with chronic pain with the objective of educating

18   “health care professionals about a semi-structured approach to the opioid-based management of

19   persistent and breakthrough pain,” including the use of fentanyl. The CME presentation purported to

20   analyze the “combination of evidence- and case-based discussions” and ultimately concluded:

21                 Chronic pain is a debilitating biopsychosocial condition prevalent in both cancer
            and noncancer pain populations. . . . Opioids have an established role in pain related to
22          cancer and other advanced medical illnesses, as well as an increasing contribution to the
            long-term treatment of carefully selected and monitored patients with certain [chronic
23          noncancer pain] conditions. All individuals with chronic, moderate to severe pain
24
            259
25                 Id.
             260
                   Lynn Webster, Optimizing Opioid Treatment for Breakthrough Pain, Medscape,
26   https://www.medscape.org/viewarticle/563417_6 (last visited Dec. 14, 2018).
             261
27                 Perry G. Fine et al., Opioid-Based Management of Persistent and Breakthrough Pain,
     Special Report (2009), https://www.yumpu.com/en/document/view/11409251/opioid-based-
28   management-of-persistent-and-breakthrough-pain/9.

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            associated with functional impairment should be considered for a trial or opioid
 1          therapy, although not all of them will be selected.262
 2          365.    Along with Purdue, Cephalon sponsored the APF’s guide (see supra ¶¶97-108), which

 3   warned against the purported under-prescribing of opioids, taught that addiction is rare and suggested

 4   that opioids have “no ceiling dose” and are therefore the most appropriate treatment for severe pain.

 5          366.    A summary of the February 12-16, 2008 AAPM annual meeting reinforced the message,

 6   promoted both by the AAPM and the APS, that “the undertreatment of pain is unjustified.” It continued:

 7          Pain management is a fundamental human right in all patients not only with acute
            postoperative pain but also in patients suffering from chronic pain. Treating the
 8          underlying cause of pain does not usually treat all of the ongoing pain. Minimal
            pathology with maximum dysfunction remains the enigma of chronic pain. Chronic pain
 9          is only recently being explored as a complex condition that requires individual treatment
            and a multidisciplinary approach. It is considered to be a disease entity.263
10

11          367.    Cephalon was one of several opioid manufacturers who collectively paid 14 of the 21

12   panel members who drafted the 2009 APS-AAPM opioid treatment guidelines.264

13          368.    In the March 2007 article titled, “Impact of Breakthrough Pain on Quality of Life in

14   Patients with Chronic, Noncancer Pain: Patient Perceptions and Effect of Treatment with Oral

15   Transmucosal Fentanyl Citrate,”265 published in the nationally circulated journal Pain Medicine,

16   physicians paid by Cephalon (including Webster) described the results of a Cephalon-sponsored study

17   seeking to expand the definition of BTP to the chronic, non-cancer setting. The authors stated that the

18   “OTFC has been shown to relieve BTP more rapidly than conventional oral, normal-release, or ‘short

19   acting’ opioids” and that “[t]he purpose of [the] study was to provide a qualitative evaluation of the

20   effect of BTP on the [quality of life] of noncancer pain patients.”266 The number-one-diagnosed cause

21   of chronic pain in the patients studied was back pain (44%), followed by musculoskeletal pain (12%)

22   and head pain (7%). The article cited Portenoy and recommended fentanyl for non-cancer BTP patients:

23
            262
                   Id.
24         263
                   Mohamed A. Elkersh & Zahid H. Bajwa, Highlights From the American Academy of
     Pain Medicine 24th Annual Meeting, 2(1) Advances in Pain Management 50-52 (2008).
25
           264
                   See Chou, Clinical Guidelines, supra n.110.
26         265
                   Donald R. Taylor et al., Impact of Breakthrough Pain on Quality of Life in Patients
     With Chronic, Noncancer Pain: Patient Perceptions and Effect of Treatment With Oral Transmucosal
27   Fentanyl Citrate (OTFC, ACTIQ), 8(3) Pain Med. 281-88 (Mar. 2007).
            266
28                  Id.

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                     In summary, BTP appears to be a clinically important condition in patients with
 1           chronic noncancer pain and is associated with an adverse impact on QoL. This
             qualitative study on the negative impact of BTP and the potential benefits of BTP-
 2           specific therapy suggests several domains that may be helpful in developing BTP-
             specific, QoL assessment tools.267
 3

 4           369.    Cephalon also sponsored, through an educational grant, the regularly published journal

 5   Advances in Pain Management. A single 2008 issue of the journal contained numerous articles from

 6   Portenoy, Dr. Steven Passik (“Passik”), Dr. Kenneth L. Kirsh (“Kirsh”) and Webster, all advancing the

 7   safety and efficacy of opioids. In an article titled, “Screening and Stratification Methods to Minimize

 8   Opioid Abuse in Cancer Patients,” Webster expressed disdain for the prior 20 years of opioid phobia.

 9           370.    In another article from the same issue, “Appropriate Prescribing of Opioids and

10   Associated Risk Minimization,” Passik and Kirsh stated: “[c]hronic pain, currently experienced by

11   approximately 75 million Americans, is becoming one of the biggest public health problems in the US.”

12   They assert that addiction is rare, that “[m]ost pain specialists have prescribed opioids for long periods

13   of time with success demonstrated by an improvement in function” and that then-recent work had shown

14   “that opioids do have efficacy for subsets of patients who can remain on them long term and have very

15   little risk of addiction.”268

16           371.    In November 2010, Fine and others published an article presenting the results of another

17   Cephalon-sponsored study titled, “Long-Term Safety and Tolerability of Fentanyl Buccal Tablet for the

18   Treatment of Breakthrough Pain in Opioid-Tolerant Patients with Chronic Pain: An 18-Month Study.”269

19   In that article, Fine explained that the 18-month “open-label” study “assessed the safety and tolerability

20   of FBT [Fentora] for the [long-term] treatment of BTP in a large cohort . . . of opioid-tolerant patients

21   receiving around-the-clock . . . opioids for noncancer pain.” The article acknowledged that: (a) “[t]here

22   has been a steady increase in the use of opioids for the management of chronic noncancer pain over the

23   past two decades”; (b) the “widespread acceptance” had led to the publishing of practice guidelines “to

24
             267
25                   Id.
             268
                     Steven D. Passik & Kenneth L. Kirsh, Appropriate Prescribing of Opioids and
26   Associated Risk Minimization, 2(1) Advances in Pain Management 9-16 (2008).
             269
27                   Perry G. Fine et al., Long-Term Safety and Tolerability of Fentanyl Buccal Tablet for
     the Treatment of Breakthrough Pain in Opioid-Tolerant Patients with Chronic Pain: An 18-Month
28   Study, 40(5) J. Pain & Symptom Management 747-60 (Nov. 2010).

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 1   provide evidence- and consensus-based recommendations for the optimal use of opioids in the

 2   management of chronic pain”; and (c) those guidelines lacked “data assessing the long-term benefits

 3   and harms of opioid therapy for chronic pain.”270

 4           372.    The article concluded: “[T]he safety and tolerability profile of FBT in this study was

 5   generally typical of a potent opioid. The [adverse events] observed were, in most cases, predictable,

 6   manageable, and tolerable.” That article concluded that the number of abuse-related events was

 7   “small.”271

 8           373.    From 2000 forward, Cephalon has paid doctors nationwide millions of dollars for

 9   programs relating to its opioids, many of whom were not oncologists and did not treat cancer pain.

10   These doctors included Portenoy, Webster, Fine, Passik, Kirsh, Landy and others.

11           374.    Cephalon’s payments to doctors have resulted in studies that support its sales but, on

12   closer examination, are biased or irreparably flawed. For instance, and upon information and belief, the

13   governmental whistleblower investigation into Actiq revealed that two studies touted by Cephalon had

14   tested fewer than 28 patients and had no control group whatsoever.272 A 2012 article evaluating the

15   then-current status of transmucosal fentanyl tablet formulations for the treatment of BTP in cancer

16   patients noted that clinical trials to date used varying criteria, that “the approaches taken . . . [did] not

17   uniformly reflect clinical practice” and that “the studies ha[d] been sponsored by the manufacturer and

18   so ha[d] potential for bias.”273

19           375.    Teva, which acquired Cephalon, has repeatedly refused to produce information requested

20   as part of a Senate investigation into opioid manufacturers and distributors. Senator McCaskill issued

21   requests on July 26, 2017 and September 28, 2017. In a letter to Teva sent September 28, 2017, Senator

22   McCaskill explained that “the company’s decision to obstruct basic oversight on the opioid epidemic

23   should deeply concern shareholders.” On March 6, 2018, Senator McCaskill issued a press release

24
             270
                   Id.
25
             271
                   Id.
26          272
                   Carreyrou, Cephalon Used Improper Tactics, supra n.248.
            273
27                 Eric Prommer & Brandy Fleck, Fentanyl transmucosal tablets: current status in the
     management of cancer-related breakthrough pain, 2012(6) Patient Preference and Adherence 465-75
28   (June 25, 2012).

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 1   castigating Teva for its continued refusal to comply with her requests: “Teva’s refusal to cooperate with

 2   Congressional requests strongly suggests they have something to hide.”274 As of July 12, 2018, the date

 3   Senator McCaskill’s third report titled, Fueling an Epidemic: A Flood of 1.6 Billion Doses of Opioids

 4   into Missouri and the Need for Stronger DEA Enforcement, was published, Teva remained

 5   uncooperative.275

 6                          f.     Cephalon Failed to Monitor and Report Suspicious Sales as
                                   Required
 7

 8          376.    The federal CSA imposes on all “registrants” the obligation to design and operate a

 9   system to monitor suspicious orders of controlled substances and requires the registrant to notify the

10   DEA field division office in its area of any suspicious orders. “Suspicious orders include orders of

11   unusual size, orders deviating substantially from a normal pattern, and orders of unusual frequency.” 21

12   C.F.R. §1301.74(b). The CSA’s requirements are also incorporated into California law. Cal. Bus. &

13   Prof. Code §4301(o).

14          377.    Cephalon is a “registrant” under the federal CSA. 21 C.F.R. §1300.02(b) defines a

15   registrant as any person who is registered with the DEA under 21 U.S.C. §823. Section 823, in turn,

16   requires manufacturers of Schedule II controlled substances to register with the DEA.

17          378.    The California Code of Regulations requires all drug manufacturers and wholesalers to

18   report “all sales of dangerous drugs subject to abuse” to the Board up to 12 times per year, pursuant to

19   the Board’s request. 16 C.C.R. §1782.

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21   //

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            274
                    Press Release, U.S. Senate Committee on Homeland Security & Governmental Affairs,
23   McCaskill: Teva Is Stonewalling a Senate Investigation (Mar. 6, 2018),
     https://www.hsgac.senate.gov/media/minority-media/mccaskill-teva-is-stonewalling-a-senate-
24   investigation.
             275
25                  Fueling an Epidemic, Report Three: A Flood of 1.6 Billion Doses of Opioids into
     Missouri and the Need for Stronger DEA Enforcement, U.S. Senate Homeland Security &
26   Governmental Affairs Committee, Ranking Member’s Office at 1 (July 12, 2018),
     https://www.hsgac.senate.gov/ imo/media/doc/REPORT-Fueling%20an%20Epidemic-
27   A%20Flood%20of%201.6%20Billion%20
     Doses%20of%20Opioids%20into%20Missouri%20and%20the%20Need%20for%20Stronger%20
28   DEA%20Enforcement.pdf (hereinafter, “July 2018 McCaskill Report”)

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 1          379.    Cephalon failed to design and operate a system to monitor suspicious orders of controlled

 2   substances and/or failed to notify the appropriate DEA field division of suspicious orders. Cephalon’s

 3   failure to timely report these and other suspicious sales violated the CSA and California law.

 4                  6.      Insys
 5          380.    Insys manufactures, markets, sells and distributes the following pharmaceutical drug in

 6   San Francisco and nationwide:

 7         Subsys            Fentanyl sublingual spray; semi-synthetic opioid agonist,       Schedule II
           (fentanyl)        approved in 2012.
 8

 9          381.    Subsys is indicated “for the management of breakthrough pain in cancer patients 18 years
10   of age and older who are already receiving and are tolerant to opioid therapy for their underlying
11   persistent cancer pain.”276 The indication also specifies that “SUBSYS is intended to be used only in
12   the care of cancer patients and only by oncologists and pain specialists who are knowledgeable of and
13   skilled in the use of Schedule II opioids to treat cancer pain.” In addition, the indication provides that
14   “[p]atients must remain on around-the-clock opioids when taking SUBSYS.” Subsys is contraindicated
15   for, among other ailments, the “[m]anagement of acute or postoperative pain including
16   headache/migraine and dental pain.” It is available in 100 mcg, 200 mcg, 400 mcg, 600 mcg and
17   800 mcg dosage strengths.
18          382.    Insys’ revenue is derived almost entirely from Subsys. According to its Form 10-K for
19   2015, Insys reported revenues of $331 million. Of that total, $329.5 million was derived from sales of
20   Subsys. According to data collected by ProPublica, during the single year of 2014, California doctors’
21   prescriptions of Subsys to patients insured by the Medicare Part D program totaled more than $14.4
22   million, and in 2015, Subsys Medicare Part D prescriptions totaled more than $22 million. The majority
23   of Insys’ sales of Subsys are through wholesalers including AmerisourceBergen, McKesson and
24   Cardinal Health. In 2015, those wholesalers respectively comprised 20%, 17% and 14% of Insys’ total
25   gross sales of Subsys, respectively.
26
            276
                    The indication provides that “[p]atients considered opioid tolerant are those who are
27   taking around-the-clock medicine consisting of at least 60 mg of oral morphine daily, at least 25 mcg
     of transdermal fentanyl/hour, at least 30 mg of oral oxycodone daily, at least 8 mg of oral
28   hydromorphone daily or an equianalgesic dose of another opioid daily for a week or longer.”

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 1             383.   According to Dr. Andrew Kolodny, executive director of Physicians for Responsible

 2   Opioid Prescribing and chief medical officer of the Phoenix House Foundation, fentanyl products are

 3   “‘the most potent and dangerous opioids on the market.’”277

 4             384.   The dangers associated with Subsys are reflected by its extremely limited and specific

 5   indication, as it is approved solely for BTP in cancer patients already receiving opioids for persistent

 6   cancer-related pain.

 7             385.   Despite Subsys’ limited indication and the potent danger associated with fentanyl, Insys

 8   falsely and misleadingly marketed Subsys to doctors as an effective treatment for back pain, neck pain

 9   and other off-label pain conditions.278 Moreover, as of June 2012, Insys defined BTP in cancer patients

10   to include mild pain: a “flare of mild-to-severe pain in patients with otherwise stable persistent pain,”

11   based on a misleading citation to a paper written by Portenoy.279 Insys trained and instructed its sales

12   representatives to use the false definition of breakthrough pain and specifically to use a core visual aid,

13   including the improper definition, whenever they detailed Subsys to a healthcare provider or provider’s

14   office.

15             386.   According to a 2014 article in The New York Times, only 1% of prescriptions for Subsys

16   were written by oncologists. Approximately half the prescriptions were written by pain specialists, with

17   others written by other specialists including dentists and podiatrists.280

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               277
                      Dina Gusovsky, The pain killer: A drug company putting profits above patients, CNBC
21   (Nov. 5, 2015, 10:13 AM), http://www.cnbc.com/2015/11/04/the-deadly-drug-appeal-of-insys-
     pharmaceuticals.html.
22
               278
                      In the Matter of Insys Therapeutics, Inc., Notice of Unlawful Trade Practices and
23   Proposed Resolution (July 10, 2015), https://www.documentcloud.org/documents/2195731-
     insysdoj.html.
24             279
                      Portenoy’s paper, “Breakthrough pain: definition, prevalence and characteristics,”
     which was featured in the 1990 issue of Pain, actually defined breakthrough pain as “a transitory
25   increase in pain to greater than moderate intensity (that is, to an intensity of ‘severe’ or ‘excruciating’)
     . . . on a baseline pain of moderate intensity or less.” Russell K. Portenoy & Neil A. Hagen,
26   Breakthrough pain: Definition, prevalence and characteristics, 41(3) Pain 273-81 (July 1990).
               280
27                    Katie Thomas, Doubts Raised About Off-Label Use of Subsys, a Strong Painkiller, N.Y.
     Times (May 13, 2014), https://www.nytimes.com/2014/05/14/business/doubts-raised-about-off-label-
28   use-of-subsys-a-strong-painkiller.html.

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 1                          a.     The Indictment of Insys Executives and the Arrest of Its
                                   Founder
 2

 3          387.    On December 8, 2016, several former Insys executives were arrested and indicted for
 4   conspiring to bribe practitioners in numerous states, many of whom operated pain clinics, in order to get
 5   them to prescribe Subsys. In exchange for bribes and kickbacks, the practitioners wrote large numbers
 6   of prescriptions for patients, most of whom were not diagnosed with cancer.281
 7          388.    The indictment alleged that the former executives conspired to mislead and defraud
 8   health insurance providers, who were reluctant to approve payment for Subsys when it was prescribed
 9   for patients without cancer. In response, the former executives established a “reimbursement unit” at
10   Insys, which was dedicated to assisting physicians by obtaining prior authorization for prescribing
11   Subsys directly from insurers and PBMs. Insys’ reimbursement unit employees were told to inform
12   agents of insurers and PBMs that they were calling “from” or that they were “with” the doctor’s office,
13   or that they were calling “on behalf of” the doctor.
14          389.    The executive defendants in the indictment include John Kapoor (“Kapoor”), Insys’
15   former CEO and president, as well as the company’s former vice president of sales, former national
16   director of sales, former vice president of managed markets and several former regional sales directors.
17   On October 26, 2017, Kapoor – the billionaire founder, CEO and chairman of Insys, who owns a 60%
18   stake in the company – was also charged with fraud and racketeering and was accused of offering bribes
19   to doctors to write large numbers of prescriptions for Subsys. Most of the patients who received the
20   medication did not have cancer.282
21   //
22   //
23
            281
                     Press Release, U.S. Attorney’s Office for the District of Massachusetts, Pharmaceutical
24   Executives Charged in Racketeering Scheme (Dec. 8, 2016), https://www.justice.gov/usao-
     ma/pr/pharmaceutical-executives-charged-racketeering-scheme (hereinafter, “Insys Indictment Press
25   Release”); United States v. Babich, et al., No. 1:16-cr-10343-ADB, ECF. No. 1 (D. Mass. Dec. 6,
     2016), https://www.justice.gov/usao-ma/press-release/file/916681/download (hereinafter, “Insys
26   Indictment”).
            282
27                   Michela Tindera, Opioid Billionaire Arrested On Racketeering Charges, Forbes (Oct.
     26, 2017), https://www.forbes.com/sites/michelatindera/2017/10/26/opioid-billionaire-arrested-on-
28   racketeering-charges/#1af3f9076a00.

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 1           390.    The charges against all seven executives include alleged violations of the federal Anti-

 2   Kickback Law, the Racketeer Influenced and Corrupt Organizations (“RICO”) statute and conspiracy

 3   to commit wire and mail fraud, as well as allegations of bribery and defrauding insurers.

 4           391.    If found guilty, the defendants face possible sentences of up to 20 years for conspiracy

 5   to commit RICO and conspiracy to commit mail and wire fraud, as well as a fine of $250,000 or twice

 6   the amount of the pecuniary gain or loss. For the charge of conspiracy to violate the Anti-Kickback

 7   Law, the defendants face a sentence of up to five years in prison and a $25,000 fine.

 8           392.    The indictment details a coordinated, centralized scheme by Insys to illegally drive

 9   profits. The company defrauded insurers from a call center at corporate headquarters where Insys

10   employees, acting at the direction of Insys’ former CEO and vice president of managed markets,

11   disguised their identity and the location of their employer and lied about patient diagnoses, the type of

12   pain being treated and the patient’s course of treatment with other medication.

13           393.    Harold H. Shaw (“Shaw”), special agent in charge of the FBI Boston field division, said

14   in a statement, “[a]s alleged, these executives created a corporate culture at Insys that utilized deception

15   and bribery as an acceptable business practice, deceiving patients, and conspiring with doctors and

16   insurers.”283

17                          b.      Insys Targeted Non-Cancer Treating Physicians and Funded
                                    False Publications and Presentations
18

19           394.    As set forth in the above-referenced indictment, Insys targeted and bribed practitioners

20   in a number of ways.        Insys bribed Subsys prescribers through strategic hires, employing sales

21   representatives and other employees at practitioners’ behest and with the expectation that such hires

22   would provide inroads with key practitioners.        Further, the indictment alleges that Insys bribed

23   practitioners through a sham speakers’ bureau that was purportedly intended to increase brand awareness

24   using peer-to-peer educational lunches and dinners.

25           395.    Specifically, in June 2012, former executives began using in-person meetings, telephone

26   calls and texts to inform Insys sales representatives that the key to sales was using the speakers’ bureau

27
             283
28                   Id.

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 1   to pay practitioners to prescribe Subsys. As one of the company’s vice presidents for sales texted one

 2   of his sales representatives about potential physicians for the speakers’ bureau: “[t]hey do not need to

 3   be good speakers, they need to write a lot of [Subsys prescriptions].” The former Insys executives

 4   actively recruited physicians known to have questionable prescribing habits for these speakers’

 5   bureaus.284

 6          396.    Speakers’ bureaus were often just social gatherings at high-priced restaurants involving

 7   neither education nor presentations. Frequently, they involved repeat attendees, including physicians

 8   not licensed to prescribe Subsys. Many of the speakers’ bureaus had no attendees; sales representatives

 9   were instructed to falsely list names of attendees and their signatures on Insys’ sign-in sheets.

10          397.    Insys made thousands of payments to physicians nationwide, including to San Francisco

11   physicians, for participating on these speakers’ bureaus and for other services.

12          398.    Moreover, the executives are charged with targeting practitioners who prescribed Subsys

13   not only for cancer pain, but for all pain.

14          399.    As set forth in the indictment, at one national speakers’ bureau in or about 2014, Insys’

15   then-vice president of sales stated:

16                  “These [doctors] will tell you all the time, well, I’ve only got like eight patients
            with cancer. Or, I only have, like, twelve patients that are on a rapid-onset opioids [sic].
17          Doc, I’m not talking about any of those patients. I don’t want any of those patients.
            That’s, that’s small potatoes. That’s nothing. That’s not what I’m here doing. I’m here
18          selling [unintelligible] for the breakthrough pain. If I can successfully sell you the
            [unintelligible] for the breakthrough pain, do you have a thousand people in your
19          practice, a thousand patients, twelve of them are currently on a rapid-onset opioids [sic].
            That leaves me with at least five hundred patients that can go on this drug.”285
20

21          400.    The indictment also alleges that, when agents of insurers or PBMs asked if a patient was

22   being treated for BTP in cancer patients, Insys’ reimbursement unit employees were instructed to answer

23   using a written script, sometimes called “the spiel”: “The physician is aware that the medication is

24   intended for the management of breakthrough pain in cancer patients. The physician is treating the

25   patient for their pain (or breakthrough pain, whichever is applicable).”286

26
            284
                    Insys Indictment Press Release, supra n.281.
27          285
                    Insys Indictment, supra n.281, at 15.
            286
28                  Id. at 44.

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 1          401.      Insys’ former executives also tracked and internally circulated the number of planned

 2   and completed speakers’ bureau events for each speaker, as well as the number of Subsys prescriptions

 3   each speaker wrote, the percentage of such prescriptions compared to those written for Subsys’

 4   competitor drugs, the total amount of honoraria paid to each speaker and, for a period of time, an explicit

 5   calculation of the ratio of return on investment for each speaker. When a speaker did not write an

 6   appropriate number of Subsys prescriptions, as determined by Insys, the number of future events for

 7   which that speaker would be paid would be reduced unless and until he or she wrote more Subsys

 8   prescriptions.

 9          402.      In a press release issued when the indictment was announced, the Massachusetts U.S.

10   Attorney, Carmen M. Ortiz, stated: “I hope that today’s charges send a clear message that we will

11   continue to attack the opioid epidemic from all angles, whether it is corporate greed or street level

12   dealing.”287

13          403.      In the same press release, Shaw, the FBI Special Agent in charge of the Boston Field

14   Division, linked the allegations to the national opioid epidemic:

15                  As alleged, top executives of Insys Therapeutics, Inc. paid kickbacks and
            committed fraud to sell a highly potent and addictive opioid that can lead to abuse and
16          life threatening respiratory depression . . . . In doing so, they contributed to the
            growing opioid epidemic and placed profit before patient safety. These indictments
17          reflect the steadfast commitment of the FBI and our law enforcement partners to
            confront the opioid epidemic impacting our communities, while bringing to justice
18          those who seek to profit from fraud or other criminal acts.288
19          404.      The Special Agent in Charge at the Defense Criminal Investigative Service in the

20   Northeast Field Office, Craig Rupert, commented specifically on the effect the criminal activities had

21   on members of the military: “Causing the unnecessary use of opioids by current and retired U.S. military

22   service members shows disregard for their health and disrespect for their service to our country . . . .”289

23          405.      On August 31, 2017, Arizona Attorney General Mark Brnovich filed a lawsuit alleging

24   violations of the Arizona Consumer Fraud Act of 1967 (“ACFA”) by Insys, two of its former employees

25   and three doctors. Attorney General Brnovich alleged that Insys and its two named employees – former

26
            287
                      Insys Indictment Press Release, supra n.281.
27          288
                      Id.
            289
28                    Id.

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 1   Vice President of Sales Alec Burlakoff and former Manager of Reimbursement Services Elizabeth

 2   Gurrieri – engaged in numerous deceptive or unfair acts and practices, including those related to:

 3                 the use of the Insys Reimbursement Center (“IRC”), which was designed to obtain prior
                    authorization for Subsys from insurers and PBMs, misleading consumers about the prior
 4
                    authorization process and the IRC’s practices;
 5
                   failing to warn consumers about IRC practices, even though Insys knew or had reason to
 6                  know that healthcare professionals using the IRC would not be in a position to reduce
                    foreseeable risks of harm due to the IRC’s practices;
 7
                   providing healthcare professionals with false and misleading information, and
 8
                    concealing, suppressing or omitting material facts about the definition of “breakthrough
 9                  cancer pain” and the FDA-approved uses of Subsys, in order to deceive healthcare
                    professionals so that they would prescribe more Subsys;
10
                   failing to warn consumers of the foreseeable risks of harm from Subsys and Insys’
11                  practices while knowing or having reason to know that healthcare professionals to whom
                    Insys provided false and misleading information would not be in a position to reduce the
12                  foreseeable risks of harm; and
13
                   providing sham “speaker fees” to healthcare practitioners to induce, and in exchange for,
14                  the healthcare practitioners writing Subsys prescriptions.

15          406.    According to the complaint, between March 2012 and April 2017, the three defendant

16   doctors wrote more than $33 million worth of Subsys prescriptions while being paid, on average,

17   approximately $200,000 each in “speaker fees” by Insys.

18          407.    According to the complaint, in order to be booked as speakers and receive speaker fees,

19   doctors were required to have at least 20 patients on Subsys. On the other hand, frequent prescribers of

20   Subsys were “rewarded” by being paid in speakers fees, which served to “notice[]” “their support of

21   Subsys” with “positive reinforcement.”

22          408.    On April 13, 2018, the DOJ, joined by the states of California, Delaware, Florida,

23   Georgia, Hawaii, Illinois, Indiana, Louisiana, Michigan, Minnesota, Montana, Nevada, New Hampshire,

24   New Jersey, New Mexico, New York, North Carolina, Oklahoma, Rhode Island, Tennessee, Texas,

25   Washington, Massachusetts and Virginia, and the District of Columbia, filed a False Claims Act

26   complaint against Insys, focusing on illegal kickbacks to doctors.

27          409.    Similar to the claims in the ACFA litigation, the DOJ alleged:

28   //

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                     Since 2012, Insys has operated a “speaker program” through which it has paid
 1          Subsys prescribers to give speeches about Subsys to physicians and other healthcare
            professionals. Insys has pretended that these presentations were intended to provide
 2          potential Subsys prescribers with substantive medical information about the drug. In
            reality, many of these events have been mere pretexts for paying thousands of dollars in
 3          sham speaking fees to prescribers for the purpose of inducing them to prescribe Subsys.
            Many of these speeches have been attended only by the prescriber’s own office staff, by
 4          close friends who attended multiple presentations, or by people who were not medical
            professionals and had no legitimate reason for attending. Many of the “speeches” have
 5          not involved any actual substantive presentation by the purported “speaker.” The events
            have often been held in expensive restaurants.
 6
                            c.     Insys Failed to Monitor and Report Suspicious Sales as
 7                                 Required
 8          410.    The federal CSA imposes on all “registrants” the obligation to design and operate a
 9   system to monitor suspicious orders of controlled substances and requires the registrant to notify the
10   DEA field division office in its area of any suspicious orders. “Suspicious orders include orders of
11   unusual size, orders deviating substantially from a normal pattern, and orders of unusual frequency.” 21
12   C.F.R. §1301.74(b).
13          411.    Insys is a “registrant” under the federal CSA. 21 C.F.R. §1300.02(b) defines a registrant
14   as any person who is registered with the DEA under 21 U.S.C. §823. Section 823, in turn, requires
15   manufacturers of Schedule II controlled substances to register with the DEA.
16          412.    The California Code of Regulations requires all drug manufacturers and wholesalers to
17   report “all sales of dangerous drugs subject to abuse” to the Board up to 12 times per year, pursuant to
18   the Board’s request. 16 C.C.R. §1782.
19          413.    Insys failed to design and operate a system to monitor suspicious orders of controlled
20   substances and/or failed to notify the appropriate DEA field division of suspicious orders. Insys’ failure
21   to timely report these and other suspicious sales violated the CSA and California law.
22                  7.      Mallinckrodt
23          414.    Mallinckrodt manufactures, markets, sells and distributes pharmaceutical drugs in San
24   Francisco and nationwide. Mallinckrodt is the largest U.S. supplier of opioid pain medications and
25   among the top ten generic pharmaceutical manufacturers in the United States, based on prescriptions.
26          415.    Among the drugs it distributes are the following:
27   //
28   //

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        Exalgo             Opioid agonist indicated for opioid-tolerant patients for          Schedule II
 1      (hydromorphone     management of pain severe enough to require daily, around-
        hydrochloride      the-clock, long-term opioid treatment and for which
 2      extended           alternative treatment options (e.g., non-opioid analgesics) are
        release)           inadequate. The FDA approved the 8, 12 and 16 mg tablets of
 3                         Exalgo in March 2010 and 32 mg tablet in August 2012.
        Roxicodone         Brand-name instant-release form of oxycodone                       Schedule II
 4      (oxycodone         hydrochloride. Indicated for the management of pain severe
        hydrochloride)     enough to require an opioid analgesic and for which
 5                         alternative treatments are inadequate. Acquired from
                           Xanodyne Pharmaceuticals in 2012. Strengths range up to 30
 6                         mg per pill. Nicknames include Roxies, blues and stars.
        Xartemis XR        The FDA approved Xartemis XR in March 2014 for the                 Schedule II
 7      (oxycodone         management of acute pain severe enough to require opioid
        hydrochloride      treatment and in patients for whom alternative treatment
 8      and                options are ineffective, not tolerated or would otherwise be
        acetaminophen)     inadequate. It was the first extended-release oral combination
 9                         of oxycodone and acetaminophen.
        Methadose          Branded generic product. Opioid agonist indicated for              Schedule II
10      (methadone         treatment of opioid addiction.
        hydrochloride)
11      Morphine           Generic product.                                                   Schedule II
        sulfate extended
12      release
        Fentanyl           Generic product.                                                   Schedule II
13      extended release
14      Fentanyl citrate   Generic product.                                                   Schedule II
        Oxycodone and      Generic product.                                                   Schedule II
15      acetaminophen
        Hydrocodone        Generic product.                                                   Schedule II
16      bitartrate and
        acetaminophen
17      Hydromorphone      Generic product.                                                   Schedule II
        hydrochloride
18      Hydromorphone      Generic product.                                                   Schedule II
        hydrochloride
19      extended release
        Naltrexone         Generic product.                                                   Schedule II
20      hydrochloride
        Oxymorphone        Generic product.                                                   Schedule II
21      hydrochloride
        Methadone          Generic product.                                                   Schedule II
22      hydrochloride
        Oxycodone          Generic product.                                                   Schedule II
23      hydrochloride

24

25         416.    Mallinckrodt purchased Roxicodone from Xanodyne Pharmaceuticals in 2012.290
26
           290
27                 Mallinckrodt Announces Agreement with Xanodyne to Purchase Roxicodone, Bus. Wire
     (Aug. 23, 2012), http://www.businesswire.com/news/home/20120823005209/en/Mallinckrodt-
28   Announces-Agreement-Xanodyne-Purchase-Roxicodone%C2%AE.

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 1          417.    Mallinckrodt debuted Xartemis (MNK-795) at the September 4-7, 2013 PAINWeek in

 2   Las Vegas.
                           a.      Mallinckrodt Funded False Publications and Presentations
 3

 4          418.    Like several of the other Marketing Defendants, Mallinckrodt provided substantial

 5   funding to purportedly neutral organizations that disseminated false messaging about opioids.

 6          419.    For example, until at least February 2009, Mallinckrodt provided an educational grant to

 7   Pain-Topics.org, a now-defunct website that touted itself as “a noncommercial resource for healthcare

 8   professionals, providing open access to clinical news, information, research, and education for a better

 9   understanding of evidence-based pain-management practices.”291

10          420.    Among other content, the website included a handout titled, “Oxycodone Safety Handout

11   for Patients,” which advised practitioners that “[p]atients’ fears of opioid addiction should be

12   dispelled.”292 The handout included several false and misleading statements concerning the risk of

13   addiction associated with prescription opioids:

14          Will you become dependent on or addicted to oxycodone?
15                 After awhile, oxycodone causes physical dependence. That is, if you suddenly
                    stop the medication you may experience uncomfortable withdrawal symptoms,
16                  such as diarrhea, body aches, weakness, restlessness, anxiety, loss of appetite,
                    and other ill feelings. These may take several days to develop.
17
                   This is not the same as addiction, a disease involving craving for the drug, loss of
18                  control over taking it or compulsive use, and using it despite harm. Addiction to
                    oxycodone in persons without a recent history of alcohol or drug problems is
19                  rare.293
20          421.    Additionally, the FAQ section of Pain-Topics.org contained the following false and

21   misleading information downplaying the dangers of prescription opioid use:

22                 Pseudoaddiction – has been used to describe aberrant patient behaviors that may
            occur when pain is undertreated (AAPM 2001). Although this diagnosis is not supported
23          by rigorous investigation, it has been widely observed that patients with unrelieved pain
            may become very focused on obtaining opioid medications, and may be erroneously
24
            291
25                  Pain Treatment Topics, Pain-Topics.org,
     https://web.archive.org/web/20070104235709/ http://www.pain-topics.org:80/ (last visited Dec. 14,
26   2018).
             292
                    Lee A. Kral & Stewart B. Leavitt, Oxycodone Safety Handout for Patients, Pain-
27   Topics.Org (June 2007), http://paincommunity.org/blog/wp-content/uploads/OxycodoneHandout.pdf.
            293
28                  Id.

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 1          perceived as “drug seeking.” Pseudoaddiction can be distinguished from true addiction
            in that the behaviors resolve when the pain is effectively treated. Along with this, two
 2          related phenomena have been described in the literature (Alford et al. 2006):
 3                         Therapeutic dependence – sometimes patients exhibit what is
                    considered drug-seeking because they fear the reemergence of pain and/or
 4                  withdrawal symptoms from lack of adequate medication; their ongoing quest for
                    more analgesics is in the hopes of insuring a tolerable level of comfort.
 5
                           Pseudo-opioid-resistance – other patients, with adequate pain control,
 6                  may continue to report pain or exaggerate its presence, as if their opioid
                    analgesics are not working, to prevent reductions in their currently effective doses
 7                  of medication.
 8                  Patient anxieties about receiving inadequate pain control can be profound,
            resulting in demanding or aggressive behaviors that are misunderstood by healthcare
 9          practitioners and ultimately detract from the provision of adequate pain relief.294
10          422.    Another document available on the website, “Commonsense Oxycodone Prescribing &

11   Safety,” falsely suggests that generic oxycodone is less prone to abuse and diversion than branded

12   oxycodone: “Anecdotally, it has been observed that generic versions of popularly abused opioids usually

13   are less appealing; persons buying drugs for illicit purposes prefer brand names because they are more

14   recognizable and the generics have a lower value ‘on the street,’ which also makes them less alluring

15   for drug dealers.”295

16          423.    In November 2016, Mallinckrodt paid Dr. Scott Gottlieb (“Gottlieb”), the new

17   commissioner of the FDA, $22,500 for a speech in London, shortly after the U.S. presidential election.296

18   Gottlieb has also received money from the Healthcare Distribution Alliance (“HDA”), an industry-

19   funded organization that pushes the agenda of large pharmaceutical wholesalers, and he has often

20   criticized efforts aimed at regulating the pharmaceutical opioid market.297

21          424.    Mallinckrodt also made thousands of payments to physicians nationwide, including to

22   San Francisco physicians.

23          294
                     FAQs, Pain-Topics.org,
     https://web.archive.org/web/20070709031530/http://www.pain-
24   topics.org:80/faqs/index1.php#tolerance (last visited Dec. 14, 2018).
             295
25                   Lee A. Kral, Commonsense Oxycodone Prescribing & Safety, Pain-Topics.org (June
     2007), http://paincommunity.org/blog/wp-content/uploads/OxycodoneRxSafety.pdf.
26           296
                     Lee Fang, Donald Trump’s Pick to Oversee Big Pharma Is Addicted to Opioid-Industry
     Cash, The Intercept (Apr. 4, 2017, 2:15 PM), https://theintercept.com/2017/04/04/scott-gottlieb-
27   opioid/.
            297
28                  Id.

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 1          425.    Exalgo, Roxicodone and Xartemis XR have been prescribed in San Francisco. According

 2   to data collected by ProPublica, during 2015, California doctors’ prescriptions of Exalgo to patients

 3   insured by the Medicare Part D program totaled almost $690,000, prescriptions of Roxicodone totaled

 4   over $381,000 and prescriptions of Xartemis XR totaled a little over $23,000.

 5                          b.      The DEA Investigates Suspicious Orders
 6          426.    In 2008, the DEA and federal prosecutors launched an investigation into Mallinckrodt,

 7   charging that the company ignored red flags and supplied – and failed to report – suspicious orders for

 8   its generic oxycodone between 2008 and 2012.298 The U.S. Attorney’s office in Detroit handled the case.

 9   The investigation uncovered that from 2008 to 2012, Mallinckrodt sent, for example, 500 million tablets

10   of oxycodone into a single state, Florida – “66 percent of all oxycodone sold in the state.”299 According

11   to the internal government documents obtained by the Washington Post, Mallinckrodt’s failure to report

12   could have resulted in “nearly 44,000 federal violations and exposed it to $2.3 billion in fines.”300

13          427.    Despite learning from the DEA that generic opioids seized in a Tennessee drug operation

14   were traceable to one of its Florida distributors, Sunrise Wholesale (“Sunrise”) of Broward County,

15   Mallinckrodt, in the following six weeks, sent 2.1 million tablets of oxycodone to Sunrise. In turn,

16   Sunrise sent at least 92,400 oxycodone tablets to a single doctor over an 11-month period, who, in one

17   day, prescribed 1,000 to a single patient.301

18          428.    According to documents obtained by the Washington Post, investigators also found

19   “scores of alleged violations” at Mallinckrodt’s plant in Hobart, New York. Those violations included

20   the failure to keep accurate records, to document transfers of drugs and to secure narcotics.302

21          429.    During the DEA’s investigation, Mallinckrodt sponsored the HDA (known as the

22   Healthcare Distribution Management Association until 2016), an industry-funded organization that

23
            298
24                  Lenny Bernstein & Scott Higham, The government’s struggle to hold opioid
     manufacturers accountable, Wash. Post (Apr. 2, 2017), https://www.washingtonpost.com/graphics/
25   investigations/dea-mallinckrodt/?utm_term=.7ce8c975dd86.
             299
                    Id.
26
             300
                    Id.
27           301
                    Id.
            302
28                  Id.

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 1   represents pharmaceutical distributors.303 The HDA initiated the Ensuring Patient Access and Effective

 2   Drug Enforcement Act of 2016 (enacted April 19, 2016), which requires the DEA to give notice of

 3   violations and an opportunity to comply, to pharmacies and distributors, before withdrawing licenses.

 4   This Act substantially lessened the DEA’s ability to regulate manufacturers and wholesalers.304

 5          430.    In May 2014, Mallinckrodt posted a video titled, “Red Flags: Pharmacists Anti-Abuse

 6   Video.” The video is a thinly veiled attempt to divert responsibility for the opioid epidemic away from

 7   manufacturers and wholesalers, and toward individual pharmacists. The video was sponsored by the

 8   Anti-Diversion Industry Working Group, which is composed of Cardinal Health, Actavis, McKesson,

 9   Mallinckrodt, AmerisourceBergen and Qualitest – all of whom are conveniently missing from the list of

10   those responsible.305

11          431.    In April 2017, Mallinckrodt reached an agreement with the DEA and the U.S. Attorneys

12   for the Eastern District of Michigan and Northern District of New York to pay $35 million to resolve a

13   probe of its distribution of its opioid medications.306 Mallinckrodt finalized the settlement on July 11,

14   2017, agreeing to pay $35 million while admitting no wrongdoing.307

15                           c.    Mallinckrodt Failed to Monitor and Report Suspicious Sales
                                   as Required
16

17          432.    The federal CSA imposes on all “registrants” the obligation to design and operate a

18   system to monitor suspicious orders of controlled substances and requires the registrant to notify the

19
            303
20                  Sponsors: HDA’s Annual Circle Sponsors, Healthcare Distribution Alliance,
     https://www.healthcaredistribution.org/hda-sponsors (last visited Dec. 14, 2018).
21           304
                    Chris McGreal, Opioid epidemic: ex-DEA official says Congress is protecting drug
     makers, Guardian (Oct. 31, 2016, 9:26 EDT), https://www.theguardian.com/us-
22   news/2016/oct/31/opioid-epidemic-dea-official-congress-big-pharma.
             305
23                  National Association of Boards of Pharmacy, Red Flags, YouTube (May 20, 2014),
     https://www.youtube.com/watch?v=WY9BDgcdxaM.
24           306
                    Linda A. Johnson, Mallinckrodt to Pay $35M in Deal to End Feds’ Opioid Probe, U.S.
     News & World Report (Apr. 3, 2017, 6:47 PM),
25   https://www.usnews.com/news/business/articles/2017-04-03/mallinckrodt-to-pay-35m-in-deal-to-end-
     feds-opioid-probe.
26
             307
                    Press Release, U.S. Department of Justice, Mallinckrodt Agrees to Pay Record $35
27   Million Settlement for Failure to Report Suspicious Orders of Pharmaceutical Drugs and for
     Recordkeeping Violations (July 11, 2017), https://www.justice.gov/opa/pr/mallinckrodt-agrees-pay-
28   record-35-million-settlement-failure-report-suspicious-orders.

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 1   DEA field division office in its area of any suspicious orders. “Suspicious orders include orders of

 2   unusual size, orders deviating substantially from a normal pattern, and orders of unusual frequency.” 21

 3   C.F.R. §1301.74(b). The CSA’s requirements are also incorporated into California law. Cal. Bus. &

 4   Prof. Code §4301(o).

 5          433.    Mallinckrodt is a “registrant” under the federal CSA. 21 C.F.R. §1300.02(b) defines a

 6   registrant as any person who is registered with the DEA under 21 U.S.C. §823. Section 823, in turn,

 7   requires manufacturers of Schedule II controlled substances to register with the DEA.

 8          434.    The California Code of Regulations requires all drug manufacturers and wholesalers to

 9   report “all sales of dangerous drugs subject to abuse” to the Board up to 12 times per year, pursuant to

10   the Board’s request. 16 C.C.R. §1782.

11          435.    Mallinckrodt failed to design and operate a system to monitor suspicious orders of

12   controlled substances and/or failed to notify the appropriate DEA field division of suspicious orders.

13   Mallinckrodt’s failure to timely report these and other suspicious sales violated the CSA and California

14   law.
                    8.      Actavis
15

16          436.    Actavis manufactures, markets, sells and distributes pharmaceutical drugs in San

17   Francisco and nationwide. Until it sold its portfolio of generic opioids to Teva, Actavis was among the

18   largest U.S. suppliers of opioid pain medications.

19          437.    Among the drugs Actavis distributes or distributed during the times relevant to the

20   allegations herein are the following:

21      Kadian              Opioid agonist indicated for the management of pain severe      Schedule II
        (morphine           enough to require daily, around-the-clock, long-term opioid
22      sulfate,            treatment and for which alternative treatments are
        extended            inadequate. 20 mg, 50 mg and 100 mg strengths approved
23      release)            by the FDA in 1996. 30 mg and 60 mg strengths approved
                            by the FDA in 2001. 80 mg strength approved by the FDA
24                          in 2006. 10 mg and 200 mg strengths approved by the
                            FDA in 2007. 40 mg, 70 mg, 130 mg and 150 mg strengths
25                          approved by the FDA in 2012.
        Norco               Opioid agonist initially indicated for the relief of moderate   Schedule III
26      (hydrocodone        to moderately severe pain. Later, indication amended to         (1997-2014)
        bitartate and       treat acute pain severe enough to require opioid analgesic      Schedule II
27      acetaminophen)      and for which alternative treatments are inadequate. Norco      (2014-present)
                            was initially approved by the FDA in 1997.
28

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        Oxymorphone         Generic equivalent of Opana ER. Launched in 2013.                Schedule II
 1      hydrochloride
        extended-
 2      release tablets
        Morphine            Generic equivalent of Kadian. Launched in 2013.                  Schedule II
 3      sulfate
        extended-
 4      release
        Fentanyl citrate    Generic equivalent of Duragesic. Launched in 2007.               Schedule II
 5      transdermal
        patch
 6

 7          438.    Actavis acquired Kadian from King Pharmaceuticals in 2008 for an amount up to $127.5

 8   million, depending on quarterly sales-related milestones.

 9          439.    Actavis marketed and sold generic opioids until it sold its generic opioid portfolio for

10   $40.5 billion to Teva in 2016.

11          440.    According to public records collected by ProPublica, in 2015 alone, Medicare Part D

12   paid $1.6 million, $1.3 million, $2.6 million and $34.4 million for claims arising from California

13   physicians’ Kadian, Norco, oxymorphone hydrochloride extended-release and morphine sulfate

14   extended-release prescriptions, respectively. According to those same ProPublica records, one San

15   Francisco physician filed the fifth most Medicare claims statewide for prescriptions of morphine sulfate

16   extended-release in 2015.

17                          a.        The FDA Issued a Warning Letter to Actavis Concerning
                                      Extensive False and Misleading Claims in Kadian Marketing
18                                    Materials

19          441.    On February 18, 2010, the FDA’s Division of Drug Marketing, Advertising, and

20   Communications issued a warning letter (“2010 Warning Letter”) to Actavis concerning the marketing

21   of Kadian. The letter warned that certain marketing materials for Kadian “are false or misleading

22   because they omit and minimize the serious risks associated with the drug, broaden and fail to present

23   the limitations to the approved indication of the drug, and present unsubstantiated superiority and

24   effectiveness claims” in violation of the FDCA and regulations promulgated thereunder. Specifically,

25   the 2010 Warning Letter addressed two marketing materials: a Comparison Detailer and a Co-Pay

26   Assistance Program brochure.

27          442.    According to the 2010 Warning Letter, the marketing materials “present several

28   effectiveness claims for Kadian but fail to present any contraindications, and also omit several warnings,

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 1   precautions, drug interactions and adverse events” including by failing to include “warnings regarding

 2   potentially fatal abuse of opioids [and] use by individuals other than the patient for whom the drug was

 3   prescribed.”

 4          443.    The 2010 Warning Letter also states that the Comparison Detailer “fails to present risk

 5   information with a prominence and readability that is reasonably comparable to the presentation of

 6   benefit information.” Whereas “the first five of the six pages of the Comparison Detailer prominently

 7   present efficacy claims about Kadian using large, bolded headers and claims surrounded by a significant

 8   amount of white space . . . using colorful charts and graphs,” “the only specific risk information

 9   presented is relegated to the back cover . . . in a small font . . . beneath a large, bolded headline claim

10   that presents a benefit claim.”

11          444.    The 2010 Warning Letter provides that the effect of these presentations “minimizes the

12   risks associated with Kadian and misleadingly suggests that Kadian is safer than has been

13   demonstrated.”

14          445.    Further, the 2010 Warning Letter states that Kadian promotional materials were

15   misleading because they “present broad claims about the drug’s use in treating pain, therefore implying

16   that Kadian is appropriate for use in a broader range than it is approved to treat.” The 2010 Warning

17   Letter cites the following examples from the Comparison Detailer:

18                 “Allow for less breakthrough pain and more consistent pain relief for patients.”
19
                   “Better pain control . . . .”
20
                   “Improved pain control . . . .”
21
                   “Allow patients to live with less pain . . . .”
22
                   “Less Pain. More options.”
23

24          446.    According to the 2010 Warning Letter, “[t]hese presentations in the Comparison Detailer
25   suggest that Kadian is appropriate for patients with broader types of pain than the drug is indicated for.”
26          447.    The 2010 Warning Letter found similar problems in the Co-Pay Assistance Program
27   brochure, which included the following statements (emphases in original):
28   //

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 1                 “Why is pain management important? Pain management is a large part of your overall
 2                  health care plan. Many Americans suffer from chronic or ongoing pain . . . Managing
                    your pain the right way begins by talking to your healthcare provider. Discover the cause
 3                  of your pain by taking note of what makes your pain start and what makes it worse.”

 4                 “What is chronic pain? Chronic pain is ongoing and can last longer than 6 months.
                    Chronic pain can be mild or severe. . . .”
 5
                   “How can I treat my chronic pain? To help manage your pain, your healthcare provider
 6
                    will determine what level of pain control you need. Depending on what kind of pain you
 7                  have and how it affects your life, your healthcare provider will choose a drug that works
                    just for you.”
 8

 9          448.    The 2010 Warning Letter states that these statements “suggest[] that patients with broader

10   types of chronic pain than the drug is indicated for are appropriate candidates for Kadian therapy, when

11   this is not the case. . . . Kadian is only appropriate for a very limited patient population who experience

12   pain.” (Emphasis in original.) It continues, “[i]n addition, the partial indication included on the back

13   cover of the Co-Pay Assistance Program brochure, unlike the chronic pain information, is written in

14   technical medical language that is not likely to be easily understood by consumers.”

15          449.    Next, the 2010 Warning Letter identifies unsubstantiated superiority claims, including

16   that Kadian “[a]llow[s] for less breakthrough pain and more consistent pain relief for patients” and asks,

17   “Why settle for generic MS Contin tablets . . . When you can prescribe the benefits of KADIAN

18   capsules?” According to the Letter, these “claims and presentations misleadingly imply that Kadian has

19   been shown to be superior to MS Contin or generic controlled-release morphine” but the “FDA is not

20   aware of any substantial evidence or substantial clinical expertise that supports these claims and

21   presentations.” (Emphasis in original.)

22          450.    The 2010 Warning Letter also identifies the following claims “supported by a historically

23   controlled study of inadequate design, completely lacking any concurrent control”; “[b]etter pain control

24   and improved sleep scores”; “[i]mproved pain control and sleep scores in patients treated with KADIAN

25   who were previously on CR morphine tablets”; and “[a]llow patients to live with less pain and get

26   adequate rest with less medication.” The 2010 Warning Letter states that the trial identified in support

27   of these claims “clearly do[es] not support any conclusion that Kadian is superior to alternative

28   treatments in pain or sleep measures.”

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 1          451.    Further, the 2010 Warning Letter focuses on the Comparison Detailer’s inclusion of

 2   dosing claims comparing Kadian with MS Contin and Avinza. The Detailer claims that Kadian presents

 3   “[f]ewer barriers to prescribing” because “[t]he unique dosing flexibility of KADIAN gives you more

 4   options with morphine” than does MS Contin or Avinza. However, “the FDA is unaware of any

 5   substantial evidence or substantial clinical experience to support the claim that the above dosing

 6   characteristics allow Kadian to have ‘fewer barriers to prescribing’ (the meaning of which is not clear)

 7   as compared to other extended-release morphine products.”

 8          452.    In conclusion, the 2010 Warning Letter found that the Comparison Detailer and Co-Pay

 9   Assistance Program brochure “misbrand Kadian in violation of the [FDCA].”

10                          b.     Actavis Failed to Monitor and Report Suspicious Sales as
                                   Required
11

12          453.    The federal CSA imposes on all “registrants” the obligation to design and operate a

13   system to monitor suspicious orders of controlled substances and requires the registrant to notify the

14   DEA field division office in its area of any suspicious orders. “Suspicious orders include orders of

15   unusual size, orders deviating substantially from a normal pattern, and orders of unusual frequency.” 21

16   C.F.R. §1301.74(b). The CSA’s requirements are also incorporated into California law. Cal. Bus. &

17   Prof. Code §4301(o).

18          454.    Actavis is a “registrant” under the federal CSA. 21 C.F.R. §1300.02(b) defines a

19   registrant as any person who is registered with the DEA under 21 U.S.C. §823. Section 823, in turn,

20   requires manufacturers of Schedule II controlled substances to register with the DEA.

21          455.    The California Code of Regulations requires all drug manufacturers and wholesalers to

22   report “all sales of dangerous drugs subject to abuse” to the Board up to 12 times per year, pursuant to

23   the Board’s request. 16 C.C.R. §1782.

24          456.    Actavis failed to design and operate a system to monitor suspicious orders of controlled

25   substances and/or failed to notify the appropriate DEA field division of suspicious orders. Actavis’s

26   failure to timely report these and other suspicious sales violated the CSA and California law.

27   //

28   //

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 1          C.      The Wholesaler Defendants Failed to Track and Report Suspicious Sales as
                    Required by California and Federal Law
 2

 3          457.    Manufacturers rely upon distributors to distribute their drugs. The distributors serve as

 4   middlemen, sending billions of doses of opioid pain pills to pharmacists, hospitals, nursing homes and

 5   pain clinics. According to the CDC, the increased distribution of opioids directly correlates to increased

 6   overdose death rates:

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23          458.    On October 23, 2017, CBS aired an episode of 60 Minutes featuring former DEA agent

24   Joe Rannazzisi (“Rannazzisi”), who blamed the Wholesaler Defendants for killing people by violating

25   the CSA requirement to report suspicious orders:

26          RANNAZZISI: This is an industry that’s out of control. What they wanna do, is do what
            they wanna do, and not worry about what the law is. And if they don’t follow the law in
27          drug supply, people die. That’s just it. People die.

28

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 1                                              *    *       *
                   This is an industry that allowed millions and millions of drugs to go into bad
 2          pharmacies and doctors’ offices, that distributed them out to people who had no
            legitimate need for those drugs.
 3
            [INTERVIEWER]: Who are these distributors?
 4
            RANNAZZISI: The three largest distributors are Cardinal Health, McKesson, and
 5          AmerisourceBergen. They control probably 85 or 90 percent of the drugs going
            downstream.
 6
            [INTERVIEWER]: You know the implication of what you’re saying, that these big
 7          companies knew that they were pumping drugs into American communities that were
            killing people.
 8
            RANNAZZISI: That’s not an implication, that’s a fact. That’s exactly what they did.308
 9

10          459.   Jim Geldhof (“Geldhof”), a 40-year veteran of the DEA who ran investigations in the

11   Detroit field office, corroborated Rannazzisi’s account, saying that the wholesalers are “absolutely”

12   responsible for the opioids epidemic:

13          [INTERVIEWER]: These companies are a big reason for this epidemic?
14          GELDHOF: Yeah, absolutely they are. And I can tell you with 100 percent accuracy
            that we were in there on multiple occasions trying to get them to change their behavior.
15          And they just flat out ignored us.309
16          460.   Indeed, according to Rannazzisi, the Wholesaler Defendants succeeded in lobbying

17   Congress to strip the DEA of its most potent tool for fighting against diversion and abuse. In 2013, a

18   bill was introduced in the House that “was promoted as a way to ensure that patients had access to the

19   pain medication they needed.” What it “really did,” however, “was strip the [DEA] of its ability to

20   immediately freeze suspicious shipments of prescription narcotics to keep drugs off U.S. streets.” A

21   2015 DOJ memo confirmed that the bill “could actually result in increased diversion, abuse, and public

22   health and safety consequences.”310

23          461.   During the two years the legislation was considered and amended, defendants and others

24   in the industry spent $102 million lobbying Congress on the bill and other legislation, “claiming the

25   DEA was out of control [and] making it harder for patients to get needed medication.” The APA co-

26
            308
                   Whitaker, Opioid Crisis Fueled by Drug Industry, supra n.122.
27          309
                   Id.
            310
28                 Id.

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 1   signed a letter in support of the legislation. As discussed supra ¶¶114-121, the APA receives funding

 2   from numerous industry participants, including Johnson & Johnson, Endo, Mallinckrodt, Purdue and

 3   Cephalon. Metadata associated with the letter co-signed by the APA shows that it was created by Kristen

 4   L. Freitas (“Freitas”), vice president for federal government affairs at the HDA – the trade group that

 5   represents McKesson, Cardinal Health and AmerisourceBergen. Freitas is also a registered lobbyist

 6   who lobbied in support of the bill. According to the July 2018 McCaskill Report, patient advocacy

 7   groups and professional societies – many of which were funded in part by opioid manufacturers – sent

 8   a letter in November 2017 praising the 2016 law and warning that “unchecked DEA authority can result

 9   in profound consequences for chronic pain sufferers.”311

10          462.    According to 60 Minutes, the chief administrative law judge of the DEA, Mulrooney, has

11   written “that the new legislation ‘would make it all but . . . impossible’ to prosecute unscrupulous

12   distributors.”312 The proposed bill was signed into law in 2016. The primary author of the bill is former

13   DEA associate chief counsel Linden Barber. He was recently hired by Cardinal Health as senior vice

14   president.

15                  1.     McKesson
16          463.    McKesson, headquartered in San Francisco, is a wholesale pharmaceutical distributor of

17   controlled and uncontrolled prescription medications, including opioids. It is the largest pharmaceutical

18   drug distributor in the United States. It distributes pharmaceuticals through a network of distribution

19   centers across the country. McKesson ranked fifth on the 2017 Fortune 500 list, with over $192 billion

20   in revenues.

21          464.    McKesson supplies various United States pharmacies an increasing amount of

22   prescription opioids, products frequently misused that are at the heart of the current opioid epidemic.

23          465.    McKesson distribution centers are required to operate in accordance with the statutory

24   provisions of the CSA. The regulations promulgated under the CSA include a requirement to design

25   and operate a system to detect and report “suspicious orders” for controlled substances, as that term is

26   defined in the regulation. See 21 C.F.R. §1301.74(b). The CSA authorizes the imposition of a civil

27          311
                    July 2018 McCaskill Report, supra n.275, at 26.
            312
28                  Whitaker, Opioid Crisis Fueled by Drug Industry, supra n.122.

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 1   penalty of up to $10,000 for each violation of 21 C.F.R. §1301.74(b). See 21 U.S.C. §842(a)(5) &

 2   (c)(1)(B). The CSA’s requirements are also incorporated into California law. Cal. Bus. & Prof. Code

 3   §4301(o).

 4          466.    California also imposes independent requirements on distributors, including that all

 5   opioids that are distributed or furnished for sale in the state be distributed or furnished for legitimate

 6   purposes only (Cal. Health & Safety Code §11153.5) and that wholesalers report “all sales of dangerous

 7   drugs subject to abuse” to the Board in excess of amounts it sets (16 C.C.R. §1782). Moreover, effective

 8   January 1, 2018, pharmaceutical wholesalers must notify the Board of suspicious orders placed by a

 9   California-licensed pharmacy or wholesaler. Cal. Bus. & Prof. Code §4169.1.

10          467.    In or about 2007, the DEA accused McKesson of failing to report suspicious orders and

11   launched an investigation. In 2008, McKesson entered into a settlement agreement with the DOJ and a

12   memorandum of agreement, agreeing to pay a $13.25 million fine for failure to report suspicious orders

13   of pharmaceutical drugs and promising to set up a monitoring system.

14          468.    As a result, McKesson developed a Controlled Substance Monitoring Program

15   (“CSMP”) but nevertheless failed to design and implement an effective system to detect and report

16   “suspicious orders” for controlled substances distributed to its independent and small chain pharmacy

17   customers – i.e., orders that are unusual in their frequency, size or other patterns. McKesson continued

18   to fail to detect and disclose suspicious orders of controlled substances. It failed to conduct adequate

19   due diligence of its new or existing customers, failed to keep complete and accurate records in the CSMP

20   files maintained for many of its customers and bypassed suspicious order reporting procedures set forth

21   in the CSMP.

22          469.    In 2013, the DEA again began investigating reports that McKesson was failing to

23   maintain proper controls to prevent the diversion of opioids and accused McKesson of failing to design

24   and use an effective system to detect “suspicious orders” from pharmacies for powerful painkillers such

25   as oxycodone, as required by the CSA. Nine DEA field divisions and 12 U.S. Attorneys General built a

26   case against McKesson for the company’s role in the opioid crisis, which David Schiller (“Schiller”),

27   then Assistant Special Agent in Charge for the Denver Field Division and leader of the DEA team

28

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 1   investigating McKesson, called “the best case we’ve ever had against a major distributor in the history

 2   of the Drug Enforcement Administration.”313

 3             470.   On December 17, 2017, CBS aired an episode of 60 Minutes featuring Assistant Special

 4   Agent Schiller, who described McKesson as a company that killed people for its own financial gain and

 5   blatantly ignored the CSA requirement to report suspicious orders:

 6             SCHILLER: If they woulda stayed in compliance with their authority and held those
               that they’re supplying the pills to, the epidemic would be nowhere near where it is right
 7             now. Nowhere near.
 8
                                                       *      *       *
 9
                      They had hundreds of thousands of suspicious orders they should have reported,
10             and they didn’t report any. There’s not a day that goes by in the pharmaceutical world,
               in the McKesson world, in the distribution world, where there’s not something
11             suspicious. It happens every day.
12             [INTERVIEWER]: And they had none.
13             SCHILLER: They weren’t reporting any. I mean, you have to understand that, nothing
               was suspicious?314
14

15             471.   Indeed, according to the DOJ, McKesson continued to fail to report suspicious orders

16   between 2008 and 2012, in violation of the company’s settlement with the DOJ, and never fully

17   implemented or followed the monitoring program required under the terms of the settlement to which it

18   agreed.

19             472.   On January 17, 2017, in one of the most severe sanctions ever agreed to by a distributor,

20   McKesson agreed to pay a record $150 million in fines and suspend sales of controlled substances from

21   distribution centers in four states (Colorado, Ohio, Michigan and Florida) to settle allegations that the

22   company violated federal law.        As part of the 2017 agreement, McKesson acknowledged that:

23   //

24   //

25
               313
                    Bill Whitaker, Whistleblowers: DEA Attorneys Went Easy on McKesson, the Country’s
26   Largest Drug Distributor, CBS News (Dec. 17, 2017),
     https://www.cbsnews.com/news/whistleblowers-dea-attorneys-went-easy-on-mckesson-the-countrys-
27   largest-drug-distributor/.
               314
28                    Id.

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 1              at various times during the Covered Time Period, it did not identify or report to DEA
                certain orders placed by certain pharmacies, which should have been detected by
 2              McKesson as suspicious, in a manner fully consistent with the requirements set forth in
                the 2008 MOA.
 3
                       2.     Cardinal Health
 4

 5              473.   Cardinal Health describes itself as a global integrated healthcare services and products

 6   company. It generated $121.5 billion in total revenue during fiscal year 2016 (ended June 30, 2016). It

 7   is ranked 15th on the 2017 Fortune 500 list of top United States companies with revenues of over $121

 8   billion.

 9              474.   Cardinal Health has two operating segments: pharmaceutical and medical.                     Its

10   pharmaceutical segment, at issue in this action, distributes branded and generic pharmaceutical, special

11   pharmaceutical, over-the-counter and consumer products in the United States. Of Cardinal Health’s

12   $121.5 billion in revenue during fiscal year 2016, $109.1 billion was derived from the pharmaceutical

13   operating segment.

14              475.   Cardinal Health distributes pharmaceuticals through a network of distribution centers

15   across the country. Cardinal Health’s largest customer is CVS Health (“CVS”), which accounted for

16   25% of Cardinal Health’s fiscal year 2016 revenue. According to its website, CVS operates 23

17   pharmacies in San Francisco.315

18              476.   Cardinal Health distribution centers are required to operate in accordance with the

19   statutory provisions of the CSA and the regulations promulgated thereunder, 21 C.F.R. §1300, et seq.

20   The regulations promulgated under the CSA include a requirement to design and operate a system to

21   detect and report “suspicious orders” for controlled substances as that term is defined in the regulation.

22   See 21 C.F.R. §1301.74(b). The CSA authorizes the imposition of a civil penalty of up to $10,000 for

23   each violation of 21 C.F.R. §1301.74(b).         See 21 U.S.C. §842(a)(5) & (c)(1)(B).           The CSA’s

24   requirements are also incorporated into California law. Cal. Bus. & Prof. Code §4301(o).

25              477.   California also imposes independent requirements on distributors, including that all

26   opioids that are distributed or furnished for sale in the state be distributed or furnished for legitimate

27
                315
                    Store Locator, CVS Pharmacy, https://www.cvs.com/store-locator/cvs-pharmacy-
28   locations/California/San-Francisco (last visited Dec. 14, 2018).

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 1   purposes only (Cal. Health & Safety Code §11153.5) and that wholesalers report “all sales of dangerous

 2   drugs subject to abuse” to the Board in excess of amounts it sets (16 C.C.R. §1782). Moreover, effective

 3   January 1, 2018, pharmaceutical wholesalers must notify the Board of suspicious orders placed by a

 4   California-licensed pharmacy or wholesaler. Cal. Bus. & Prof. Code §4169.1.

 5          478.    On December 23, 2016, Cardinal Health agreed to pay the United States $44 million to

 6   resolve allegations that it violated the CSA in Maryland, Florida and New York by failing to report

 7   suspicious orders of controlled substances, including oxycodone, to the DEA.316

 8          479.    In the settlement agreement, Cardinal Health admitted, accepted and acknowledged that

 9   it had violated the CSA between January 1, 2009 and May 14, 2012 by failing to:

10                 “timely identify suspicious orders of controlled substances and inform the DEA
                    of those orders, as required by 21 C.F.R. §1301.74(b)”;
11
                   “maintain effective controls against diversion of particular controlled substances
12                  into other than legitimate medical, scientific, and industrial channels, as required
                    by 21 C.F.R. §1301.74, including the failure to make records and reports required
13                  by the CSA or DEA’s regulations for which a penalty may be imposed under 21
                    U.S.C. §842(a)(5)”; and
14
                   “execute, fill, cancel, correct, file with the DEA, and otherwise handle DEA
15                  ‘Form 222’ order forms and their electronic equivalent for Schedule II controlled
                    substances, as required by 21 U.S.C. §828 and 21 C.F.R. Part 1305.”
16

17          480.    The settlement agreement was announced by the U.S. Attorney for the District of

18   Maryland, Rod J. Rosenstein (“Rosenstein”), and the DEA Special Agent in Charge – Washington Field

19   Division, Karl C. Colder (“Colder”).317

20          481.    In the press release announcing the settlement agreement, Rosenstein stated:

21   //

22   //

23
            316
                     Earlier in 2016, CVS also agreed to pay the United States $8 million to resolve
24   violations of the CSA by its Maryland pharmacies. According to the settlement agreement, CVS
     admitted that between 2008 and 2012, certain of its Maryland pharmacies dispensed oxycodone,
25   fentanyl, hydrocodone and other pharmaceuticals in violation of the CSA because the drugs were
     dispensed without ensuring that the prescriptions were issued for legitimate medical purposes.
26
             317
                     Press Release, U.S. Attorney’s Office for the District of Maryland, Cardinal Health
27   Agrees to $44 Million Settlement for Alleged Violations of Controlled Substances Act (Dec. 23,
     2016), https://www.justice.gov/usao-md/pr/cardinal-health-agrees-44-million-settlement-alleged-
28   violations-controlled-substances-act.

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 1                 “Pharmaceutical suppliers violate the law when they fill unusually large or
            frequent orders for controlled substances without notifying the DEA . . . . Abuse of
 2          pharmaceutical drugs is one of the top federal law enforcement priorities. Cases such as
            this one, as well as our $8 million settlement with CVS in February 2016, reflect the
 3          federal commitment to prevent the diversion of pharmaceutical drugs for illegal
            purposes.”318
 4

 5          482.    In the press release, Colder clarified that the settlement primarily concerned the opioid

 6   oxycodone:

 7                 “DEA is responsible for ensuring that all controlled substance transactions take
            place within DEA’s regulatory closed system. All legitimate handlers of controlled
 8          substances must maintain strict accounting for all distributions and Cardinal failed to
            adhere to this policy . . . . Oxycodone is a very addictive drug and failure to report
 9          suspicious orders of oxycodone is a serious matter. The civil penalty levied against
            Cardinal should send a strong message that all handlers of controlled substances must
10          perform due diligence to ensure the public safety . . . .”319

11                  3.      AmerisourceBergen

12          483.    AmerisourceBergen is a wholesale distributor of pharmaceuticals, including controlled

13   substances and non-controlled prescription medications. It handles the distribution of approximately

14   20% of all pharmaceuticals sold and distributed in the United States through a network of 26

15   pharmaceutical distribution centers, including one in Sacramento, California.320 It ranked 11th on the

16   Fortune 500 list in 2017, with over $146 billion in annual revenue.

17          484.    AmerisourceBergen distribution centers are required to operate in accordance with the

18   statutory provisions of the CSA and the regulations promulgated thereunder, 21 C.F.R. §1300, et seq.

19   The regulations promulgated under the CSA include a requirement to design and operate a system to

20   detect and report “suspicious orders” for controlled substances as that term is defined in the regulation.

21   See 21 C.F.R. §1301.74(b). The CSA authorizes the imposition of a civil penalty of up to $10,000 for

22   each violation of 21 C.F.R. §1301.74(b).        See 21 U.S.C. §842(a)(5) & (c)(1)(B).            The CSA’s

23   requirements are also incorporated into California law. Cal. Bus. & Prof. Code §4301(o).

24
            318
25                   Id.
            319
                     Id.
26
            320
                     AmerisourceBergen, Wikipedia, https://en.wikipedia.org/wiki/AmerisourceBergen
27   (hereinafter, “AmerisourceBergen”) (last visited Dec. 14, 2018); Drug Distribution Locations –
     Mainland US, https://batchgeo.com/map/788de3747b01802c0171abfa8a4b5eca (last visited Dec. 14,
28   2018).

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 1          485.    California also imposes independent requirements on distributors, including that all

 2   opioids that are distributed or furnished for sale in the state be distributed or furnished for legitimate

 3   purposes only (Cal. Health & Safety Code §11153.5) and that wholesalers report “all sales of dangerous

 4   drugs subject to abuse” to the Board in excess of amounts it sets (16 C.C.R. §1782). Moreover, effective

 5   January 1, 2018, pharmaceutical wholesalers must notify the Board of suspicious orders placed by a

 6   California-licensed pharmacy or wholesaler. Cal. Bus. & Prof. Code §4169.1.

 7          486.    In 2012, West Virginia sued AmerisourceBergen and Cardinal Health, as well as several

 8   smaller wholesalers, for numerous causes of action, including violations of the CSA, consumer credit

 9   and protection, and antitrust laws and the creation of a public nuisance. Unsealed court records from

10   that case demonstrate that AmerisourceBergen, along with McKesson and Cardinal Health, together

11   shipped 423 million pain pills to West Virginia between 2007 and 2012.321 AmerisourceBergen itself

12   shipped 80.3 million hydrocodone pills and 38.4 oxycodone pills during that time period.322 Moreover,

13   public documents also demonstrate that the average dose of each tablet distributed grew substantially

14   during that time period. The Wholesaler Defendants, including AmerisourceBergen, shipped large

15   quantities of oxycodone and hydrocodone tablets to the state. In 2016, AmerisourceBergen agreed to

16   settle the West Virginia lawsuit by paying $16 million to the state, with the funds set aside to fund drug

17   treatment programs in order to respond to the opioid addiction crisis.

18                                         FIRST CAUSE OF ACTION
19                  Public Nuisance (in the Name of the People of the State of California)
                              Violations of California Civil Code §§3479-3480
20                                        (Against All Defendants)
21          487.    The People incorporate herein by reference all of the allegations in this complaint.

22          488.    California Civ. Code §3479 provides that “[a]nything which is injurious to health . . . or

23   is indecent or offensive to the senses, or an obstruction to the free use of property, so as to interfere with

24   the comfortable enjoyment of life or property . . . is a nuisance.”

25   //

26          321
                   Eric Eyre, Drug firms poured 780M painkillers into WV amid rise of overdoses,
     Charleston Gazette-Mail (Dec. 17, 2016), http://www.wvgazettemail.com/news-
27   health/20161217/drug-firms-poured-780m-painkillers-into-wv-amid-rise-of-overdoses.
            322
28                  AmerisourceBergen, supra n.320.

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 1          489.    California Civ. Code §3480 defines a “public nuisance” as “one which affects at the same

 2   time an entire community or neighborhood, or any considerable number of persons, although the extent

 3   of the annoyance or damage inflicted upon individuals may be unequal.”

 4          490.    California Civ. Proc. Code §731 authorizes the “city attorney of any . . . city in which the

 5   nuisance exists” to bring a “civil action . . . in the name of the people of the State of California to abate

 6   a public nuisance.”

 7          491.    A public nuisance cause of action is established where a defendant knowingly created or

 8   assisted in the creation of a substantial and unreasonable interference with a public right.

 9          492.    California Civ. Code §3490 states that “[n]o lapse of time can legalize a public nuisance,

10   amounting to an actual obstruction of public right.”

11          493.    Each of the Marketing Defendants acted in a way injurious to the public health and

12   interfered with the comfortable enjoyment of life and property of San Francisco’s residents by, among

13   other things, promoting and marketing the use of prescription opioids for indications not federally

14   approved, circulating false and misleading information concerning prescription opioids’ safety and

15   efficacy and/or downplaying or omitting the risk of addiction and overdose arising from the use of

16   prescription opioids. In so doing, each Marketing Defendant acted with oppression, fraud or malice.

17          494.    Each of the defendants unreasonably interfered with the public health, safety, peace and

18   comfort of San Francisco’s residents by failing to design and operate a system that would disclose the

19   existence of suspicious orders of controlled substances or by failing to report suspicious orders of opioids

20   as required by the federal CSA, 21 C.F.R. §1301.74(b), and Cal. Bus. & Prof. Code §§4301 and 4164.

21   In so doing, each defendant acted with oppression, fraud or malice.

22          495.    As detailed herein, defendants’ conduct has interfered, and continues to interfere, with

23   rights common to the general public of San Francisco and has caused its residents to sustain injury.

24          496.    The People seek costs that will be associated with future efforts to abate the public

25   nuisance caused in whole or in part by defendants, as well as injunctive relief to lessen or prevent the

26   threat of future harm from defendants’ actions.

27   //

28   //

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 1                                       SECOND CAUSE OF ACTION
 2                                 Public Nuisance (on Behalf of San Francisco)
                                  Violations of California Civil Code §§3479-3480
 3                                            (Against All Defendants)
 4          497.    San Francisco incorporates herein by reference all of the allegations in this complaint.
 5          498.    California Civ. Code §3479 provides that “[a]nything which is injurious to health . . . or
 6   is indecent or offensive to the senses, or an obstruction to the free use of property, so as to interfere with
 7   the comfortable enjoyment of life or property . . . is a nuisance.”
 8          499.    California Civ. Code §3480 defines a “public nuisance” as “one which affects at the same
 9   time an entire community or neighborhood, or any considerable number of persons, although the extent
10   of the annoyance or damage inflicted upon individuals may be unequal.”
11          500.    A public nuisance cause of action is established where a defendant knowingly created,
12   or assisted in the creation of, a substantial and unreasonable interference with a public right.
13          501.    California Civ. Code §3490 states that “[n]o lapse of time can legalize a public nuisance,
14   amounting to an actual obstruction of public right.”
15          502.    Under California law damages may be recovered in a public nuisance action brought by
16   a specially injured party.
17          503.    Each of the Marketing Defendants acted in a way injurious to the public health and
18   interfered with the comfortable enjoyment of life and property of San Francisco’s residents by, among
19   other things, promoting and marketing the use of prescription opioids for indications not federally
20   approved, circulating false and misleading information concerning prescription opioids’ safety and
21   efficacy and/or downplaying or omitting the risk of addiction and overdose arising from the use of
22   prescription opioids. In so doing, each Marketing Defendant acted with oppression, fraud or malice.
23          504.    Each of the defendants unreasonably interfered with the public health, safety, peace and
24   comfort of San Francisco’s residents by failing to design and operate a system that would disclose the
25   existence of suspicious orders of controlled substances or by failing to report suspicious orders of opioids
26   as required by the federal CSA, 21 C.F.R. §1301.74(b), and Cal. Bus. & Prof. Code §§4301 and 4164.
27   In so doing, each defendant acted with oppression, fraud or malice.
28   //

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 1          505.    As detailed herein, San Francisco has suffered special injury, different in kind from those

 2   suffered by the general public. The damages suffered by San Francisco have been greater in degree and

 3   different in kind than those suffered by its residents and the public at large, including, but not limited to,

 4   those arising from: combatting the effects of defendants’ actions that have injured the public health

 5   through City or County programs; payments for opioids and opioid addiction treatment for employees

 6   and their dependents; costs associated with managing, staffing and supervising San Francisco’s needle

 7   exchange program; costs associated with the requisition and training for administration of medications

 8   for opioid overdose reversal; and costs associated with the public health crisis and other costs different

 9   in kind to San Francisco from the injury suffered by the general public.

10          506.    San Francisco seeks damages associated with the past and future costs due to the special

11   injuries it has suffered, including costs already incurred in the effort to abate the public nuisance caused

12   in whole or in part by defendants.

13                                        THIRD CAUSE OF ACTION

14                              Violation of California Unfair Competition Law
                                   (By the People of the State of California)
15                                  (Cal. Bus. & Prof. Code §17200, et seq.)
                                            (Against All Defendants)
16

17          507.    The People incorporate herein by reference all of the allegations in this complaint.

18          508.    The California Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §17200,

19   et seq., prohibits “any unlawful, unfair or fraudulent business act or practice and unfair, deceptive,

20   untrue or misleading advertising and any act prohibited by” Cal. Bus. & Prof. Code §17500. Section

21   17500, in turn, prohibits any untrue or misleading statements made in connection with the sale of goods

22   and services. The Consumers Legal Remedies Act (“CLRA”) defines as statutorily unlawful certain

23   unfair methods of competition and unfair or deceptive practices. Cal. Civ. Code §1750, et seq.

24          509.    San Francisco City Attorney Dennis J. Herrera has standing to prosecute this claim on

25   behalf of the People under Cal. Bus. & Prof. Code §17204.

26          510.    During the relevant period and as detailed herein, defendants have each engaged in

27   unlawful, unfair and fraudulent business acts and practices in violation of the UCL, including, but not

28   limited to, making untrue and misleading statements in connection with the sale of goods as prohibited

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 1   by Cal. Bus. & Prof. Code §17500 and certain unfair methods of competition and unfair or deceptive

 2   acts prohibited by the CLRA.

 3                  (a)    Each Marketing Defendant circulated false and misleading information

 4   concerning, among other things, the safety and efficacy of its prescription opioids and/or prescription

 5   opioids generally, and falsely and misleadingly downplayed or omitted the risk of addiction arising from

 6   their use. In addition, each Marketing Defendant represented that its prescription opioids and/or

 7   prescription opioids in general had characteristics, uses and benefits that they did not have, and

 8   disparaged other medications, including NSAIDs, by false and misleading representations of fact.

 9                  (b)    Each defendant failed to design and operate a system to monitor suspicious orders

10   of controlled substances, and failed to disclose such suspicious orders, as required of “registrants” by

11   the federal CSA, 21 C.F.R. §1301.74(b), and Cal. Bus. & Prof. Code §§4301 and 4164. The CSA defines

12   “registrant” as any person who is registered pursuant to 21 U.S.C. §823. 21 C.F.R. §1300.02(b). Section

13   823(a)-(b) requires manufacturers and distributors of controlled substances on Schedule II, including

14   each of the defendants, to register. In addition, each defendant failed to report all sales of dangerous

15   drugs subject to abuse pursuant to 16 C.C.R. §1782.

16                  (c)    Each Wholesaler Defendant failed to notify the Board in writing of suspicious

17   orders of controlled substances, as required by Cal. Bus. & Prof. Code §4169.1.

18          511.    Each defendant’s unlawful, unfair and deceptive acts or practices in violation of the UCL

19   offend California’s public policy, are immoral, unethical, oppressive or unscrupulous, are malicious,

20   wanton and manifest ill will and caused substantial injury to San Francisco and its residents.

21          512.    As a direct and proximate result of the foregoing acts and practices, each defendant

22   received income, profits and other benefits that it would not have received if it had not engaged in UCL

23   violations. As a direct and proximate result of the foregoing acts and practices, each defendant has

24   obtained an unfair advantage over similar businesses that have not engaged in such practices. The

25   People seek injunctive relief, restitution and civil penalties as permitted by law for defendants’ UCL

26   violations.

27   //

28   //

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                                        FOURTH CAUSE OF ACTION
 1

 2                                     Violation of False Advertising Law
                                    (By the People of the State of California)
 3                                   (Cal. Bus. & Prof. Code §17500, et seq.)
                                        (Against Marketing Defendants)
 4

 5           513.    The People incorporate herein by reference all of the allegations in this complaint.

 6           514.    The False Advertising Law, Cal. Bus. & Prof. Code §17500, makes it unlawful for any

 7   corporation or employee thereof to make or disseminate, or cause to be made or disseminated, any untrue

 8   or misleading statement in connection with the sale of any good or service, when it was known or could

 9   have been known by the exercise of reasonable care to be untrue or misleading.

10           515.    During the relevant period and as detailed herein, each Marketing Defendant engaged in

11   unlawful, unfair and fraudulent business acts and practices in violation of the False Advertising Law by

12   making untrue and misleading statements in connection with the sale of goods. Each Marketing

13   Defendant circulated false and misleading information concerning, among other things, the safety and

14   efficacy of its prescription opioids and/or prescription opioids generally, and falsely and misleadingly

15   downplayed or omitted the risk of addiction arising from their use. In addition, each Manufacturing

16   Defendant represented that its prescription opioids and/or prescription opioids in general had

17   characteristics, uses and benefits that they did not have, and disparaged other medications, including

18   NSAIDs, by false and misleading representations of fact.

19           516.    Each Marketing Defendant’s misrepresentations and omissions in connection with the

20   sale of its prescription opioids offend California’s public policy, are immoral, unethical, oppressive or

21   unscrupulous, are malicious, wanton and manifest ill will and caused substantial injury to San Francisco

22   and its residents.

23           517.    As a direct and proximate result of the foregoing acts and practices, each defendant

24   received income, profits and other benefits that it would not have received if it had not engaged in

25   violations of the False Advertising Law. As a direct and proximate result of the foregoing acts and

26   practices, each defendant has obtained an unfair advantage over similar businesses that have not engaged

27   in such practices. The People seek injunctive relief, restitution and civil penalties as permitted by law

28   for the Marketing Defendants’ violations of the False Advertising Law.

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                                          FIFTH CAUSE OF ACTION
 1

 2                    Violation of Racketeer Influenced and Corrupt Organizations Act
                                        (on Behalf of San Francisco)
 3                                         (18 U.S.C. §1962(c)-(d))
                                          (Against All Defendants)
 4

 5          518.    San Francisco incorporates herein by reference all of the allegations in this complaint.

 6          519.    At all relevant times, defendants have been “person[s]” under 18 U.S.C. §1961(3)

 7   because they are capable of holding, and do hold, a “legal or beneficial interest in property.”

 8          520.    RICO makes it “unlawful for any person employed by or associated with any enterprise

 9   engaged in, or the activities of which affect, interstate or foreign commerce, to conduct or participate,

10   directly or indirectly, in the conduct of such enterprise’s affairs through a pattern of racketeering

11   activity.” 18 U.S.C. §1962(c).

12          521.    RICO makes it unlawful for “any person to conspire to violate” the provisions of 18

13   U.S.C. §1962(c). 18 U.S.C. §1962(d).

14          522.    As alleged herein, at all relevant times, defendants moved aggressively to capture a large

15   portion of the opioid sales market. In so doing, the Marketing Defendants launched an aggressive

16   nationwide campaign over-emphasizing the under-treatment of pain and deceptively marketing opioids

17   as being: (a) rarely, if ever, addictive; (b) safe and effective for the treatment of chronic long-term pain

18   and everyday use; (c) abuse resistant or deterrent; and/or (d) safe and effective for other types of pain

19   for which the drugs were not approved. All defendants knowingly failed to report suspicious orders as

20   required by state and federal law, thereby inundating the market with opioids.

21          523.    In particular, defendants, along with other entities and individuals, were employed by or

22   associated with, and conducted or participated in the affairs of, one or several RICO enterprises (the

23   “Opioid Fraud Enterprise”), whose purpose was to deceive opioid prescribers, the public and regulators

24   into believing that: (a) opioids were safe and effective for the treatment of long-term chronic pain;

25   (b) opioids presented minimal risk of addiction; and/or (c) defendants were in compliance with their

26   state and federal reporting obligations. In participating in these enterprises, defendants sought to

27   maximize revenues from the design, manufacture, sale and distribution of opioids which, in fact, were

28

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 1   highly addictive and often ineffective and dangerous when used for chronic long-term and other types

 2   of pain.

 3          524.    As a direct and proximate result of their fraudulent scheme and common course of

 4   conduct, defendants were able to extract billions of dollars of profit. As explained in detail below,

 5   defendants’ years-long misconduct violated 18 U.S.C. §1962(c)-(d).

 6          A.      The Opioid Fraud Enterprise
 7          525.    At all relevant times, defendants, along with other individuals and entities, including

 8   unknown third parties involved in the marketing and sale of opioids, operated an “enterprise” within the

 9   meaning of 18 U.S.C. §1961(4), because they are a group of individuals associated in fact, even though

10   they are not a collective legal entity. The Opioid Fraud Enterprise: (a) existed separately from each of

11   its component entities; (b) existed separately from the pattern of racketeering in which defendants

12   engaged; and (c) constituted an ongoing organization consisting of legal entities, including, but not

13   limited to, the Marketing Defendants, the Wholesaler Defendants, pharmacies, employees and agents of

14   the FSMB, APF, AAPM, APS and APA, as well as other entities and individuals, including physicians.

15          526.    Within the Opioid Fraud Enterprise, there was a common communication network by

16   which members exchanged information on a regular basis through the use of wires and mail. The Opioid

17   Fraud Enterprise used this common communication network for the purpose of deceptively marketing,

18   selling and distributing opioids to the general public. When their products, sales, distributions and

19   failure to report suspicious sales were contested by other parties, the Opioid Fraud Enterprise members

20   took action to hide the scheme to continue its existence.

21          527.    The participants in the Opioid Fraud Enterprise were systematically linked to each other

22   through corporate ties, contractual relationships, financial ties and the continuing coordination of

23   activities. Through the Opioid Fraud Enterprise, defendants functioned as a continuing unit with the

24   purpose of furthering the illegal scheme and their common purposes of increasing their revenues and

25   market share, and minimizing losses. Each member of the Opioid Fraud Enterprise reaped the bounty

26   generated by the enterprise by sharing the benefit derived from increased sales of opioids and other

27   revenue generated by the scheme to defraud prescribers and consumers and by failing to report

28   suspicious sales in San Francisco.

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 1          528.    The Opioid Fraud Enterprise engaged in and continues to engage in deceptive marketing

 2   of opioids as non-addictive, and as safe and effective for chronic long-term pain and for uses that are

 3   not FDA-approved. Further, the Opioid Fraud Enterprise continues to not report suspicious sales. The

 4   Opioid Fraud Enterprise has engaged in such activity for the purpose of maximizing the sale and profits

 5   of opioids. To fulfill this purpose, the Opioid Fraud Enterprise has advocated for, and caused the over-

 6   prescription and over-distribution of, opioids by marketing, promoting, advertising and selling opioids

 7   throughout the country and across state boundaries and by failing to report suspicious sales. Their

 8   receipt of monies from these activities has consequentially affected interstate and foreign commerce.

 9   The Opioid Fraud Enterprise’s past and ongoing practices thus constitute a pattern of racketeering

10   activity under 18 U.S.C. §1961(5).

11          529.    The Opioid Fraud Enterprise functioned by marketing, selling and distributing opioids to

12   states, counties, other municipalities, doctors, healthcare organizations, pharmacies and the consuming

13   public, while failing to report suspicious sales. Through their illegal enterprise, defendants as co-

14   conspirators engaged in a pattern of racketeering activity that involves a fraudulent scheme to increase

15   revenue for defendants and the other entities and individuals associated in fact with the Opioid Fraud

16   Enterprise’s activities through the deceptive marketing and sale of opioids and the failure to report

17   suspicious sales.

18          530.    Defendants participated in operating and managing the Opioid Fraud Enterprise by

19   directing its affairs as described in this complaint. While defendants participated in, and are members

20   of, the Opioid Fraud Enterprise, they have a separate existence from the Opioid Fraud Enterprise,

21   including distinct legal statuses, different offices and roles, bank accounts, officers, directors,

22   employees, individual personhood, reporting requirements and financial statements.

23          531.    Each member of the Opioid Fraud Enterprise furthered the ends of the Opioid Fraud

24   Enterprise through the acts and omissions pled in this complaint.

25          532.    Each Marketing Defendant relentlessly promoted opioids to prescribers, regulators and

26   the public as having little to no risk of addiction, and as being safe and effective for the treatment of

27   chronic, long-term pain and other common, everyday uses. The Marketing Defendants’ success in

28   maximizing sales was due to the tight collaboration among the Marketing Defendants through, and in

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 1   collaboration with, the pain foundations – a formidable partnership that marketed to hundreds of

 2   thousands of prescribers across the country, including prescribers in San Francisco. The relationship

 3   was strengthened, in part, by individuals, including physicians, that held different leadership roles at

 4   different times across the various entities participating in the Opioid Fraud Enterprise over the years.

 5             533.   On numerous occasions, the Marketing Defendants funded the pain foundations’

 6   marketing efforts. The Marketing Defendants specifically chose to partner with the pain foundations

 7   and individual physicians to publish and otherwise disseminate misleading pro-opioid material, knowing

 8   the public and prescribers would be more receptive to statements made by what they perceived to be

 9   scholarly, neutral, third-party sources.

10             534.   Furthermore, all defendants knowingly failed to design and operate a system to monitor

11   suspicious orders of controlled substances and failed to notify the appropriate DEA field division offices

12   in their areas of suspicious orders, including “orders of unusual size, orders deviating substantially from

13   a normal pattern, and orders of unusual frequency.” 21 C.F.R. §1301.74(b).

14             535.   The members of the Opioid Fraud Enterprise worked together to further the enterprise by

15   the following manner and means:

16                    (a)    jointly planning to deceptively market and manufacture opioids that were

17   purportedly non-addictive, safe and effective for the treatment of chronic long-term pain;

18                    (b)    concealing the addictive qualities and risks of opioids from prescribers and the

19   public;

20                    (c)    misleading the public about the addictive nature, safety and efficacy of opioids;

21                    (d)    otherwise misrepresenting or concealing the highly dangerous nature of opioids

22   from prescribers and the public;

23                    (e)    illegally marketing, selling and/or distributing opioids;

24                    (f)    collecting revenues and profits from the sale of such products for uses for which

25   they are unapproved, unsafe or ineffective; and/or

26                    (g)    failing to report suspicious sales as required by the CSA.

27             536.   To achieve their common goals, defendants hid from the general public the full extent of

28   the unsafe and ineffective nature of opioids for chronic and other types of pain as described herein.

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 1   Defendants suppressed and/or ignored warnings from third parties, whistleblowers and governmental

 2   entities about the addictive, unsafe and often ineffective nature of opioids.

 3          537.     The foregoing allegations support that defendants were part of an association of entities

 4   that shared a common purpose, had relationships across various members of the Opioid Fraud Enterprise

 5   and collaborated to further the goals of the Opioid Fraud Enterprise for a continuous period of time. The

 6   Marketing Defendants knowingly and intentionally engaged in deceptive marketing practices and

 7   incentivized pain foundations, marketing firms and physicians to do so as well. Defendants knowingly

 8   and intentionally failed to report suspicious orders as required by state and federal law and defendants

 9   inundated the market with opioids.

10          B.       Mail and Wire Fraud
11          538.     To attempt to carry out and to carry out the scheme to defraud, defendants, each of whom

12   is a person associated in fact with the Opioid Fraud Enterprise, did knowingly conduct and participate,

13   directly and indirectly, in the conduct of the affairs of the Opioid Fraud Enterprise through a pattern of

14   racketeering activity within the meaning of 18 U.S.C. §§1961(1), 1961(5) and 1962(c). And defendants

15   employed the use of the mail and wire facilities, in violation of 18 U.S.C. §§1341 (mail fraud) and 1343

16   (wire fraud).

17          539.     Specifically, defendants have committed, conspired to commit and/or aided and abetted

18   in the commission of at least two predicate acts of racketeering activity (i.e., violations of 18 U.S.C.

19   §§1341 and 1343) within the past four years. The multiple acts of racketeering activity which defendants

20   committed, or aided and abetted in the commission of, were related to each other and also posed a threat

21   of continued racketeering activity. They therefore constitute a “pattern of racketeering activity.” The

22   racketeering activity was made possible by defendants’ regular use of the facilities, services, distribution

23   channels and employees of the Opioid Fraud Enterprise. Defendants participated in the scheme to

24   defraud by using the mail, telephone and Internet to transmit mailings and wires in interstate or foreign

25   commerce.

26          540.     In devising and executing the illegal scheme, defendants devised and knowingly carried

27   out a material scheme and/or artifice to defraud regulators, prescribers and the public to obtain money

28   from San Francisco by means of materially false or fraudulent pretenses, representations, promises or

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 1   omissions of material facts. For the purpose of executing the illegal scheme, defendants committed

 2   these racketeering acts intentionally and knowingly with the specific intent to advance the illegal

 3   scheme.

 4          541.    Defendants’ predicate acts of racketeering, 18 U.S.C. §1961(1), include:

 5                  (a)    Mail Fraud: Defendants violated 18 U.S.C. §1341 by sending and receiving, and

 6   by causing to be sent and/or received, materials via U.S. mail or commercial interstate carriers for the

 7   purpose of executing the unlawful scheme to deceptively market, sell and distribute the opioids by means

 8   of false pretenses, misrepresentations, promises and omissions; and

 9                  (b)    Wire Fraud: Defendants violated 18 U.S.C. §1343 by transmitting and/or

10   receiving, and by causing to be transmitted and/or received, materials by wire for the purpose of

11   executing the unlawful scheme to defraud and obtain money on misrepresentations and false pretenses,

12   promises and omissions.

13          542.    Defendants’ use of the mails and wires include, but are not limited to, the transmission,

14   delivery and shipment of deceptive marketing materials, the filling of suspicious orders, and the

15   misleading of regulators and the public as to defendants’ compliance with state and federal reporting

16   obligations. These materials would not have been delivered, orders would not have been filled and

17   regulators would have not been misled but for defendants’ illegal scheme, including:

18                  (a)    the FSMB’s publication of opioid prescribing guidelines titled, “Responsible

19   Opioid Prescribing: A Physician’s Guide,” by Fishman;

20                  (b)    the FSMB’s publication of “Responsible Opioid Prescribing: A Clinician’s Guide

21   (Second Edition, Revised and Expanded),” by Fishman;

22                  (c)    the APF’s publication of Exit Wounds;

23                  (d)    the AAPM’s “consensus statement” and educational programs featuring Fine;

24                  (e)    the APA’s publication and dissemination of “Prescription Pain Medication:

25   Preserving Patient Access While Curbing Abuse”;

26                  (f)    false or misleading communications to the public and to regulators;

27                  (g)    failing to report suspicious orders as required by state and federal law;

28   //

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 1                   (h)     sales and marketing materials, including slide decks, presentation materials,

 2   purported guidelines, advertising, web sites, product packaging, brochures, labeling and other writings

 3   which misrepresented, falsely promoted and concealed the true nature of opioids;

 4                   (i)     documents intended to facilitate the manufacture and sale of opioids, including

 5   bills of lading, invoices, shipping records, reports and correspondence;

 6                   (j)     documents to process and receive payment for opioids, including invoices and

 7   receipts;

 8                   (k)     payments to the foundations and physicians that deceptively marketed the

 9   Marketing Defendants’ opioids;

10                   (l)     deposits of proceeds; and

11                   (m)     other documents and things, including electronic communications.

12           543.    Defendants also used the Internet and other electronic facilities to carry out the scheme

13   and conceal the ongoing fraudulent activities.          For example, the Marketing Defendants made

14   misrepresentations about opioids on their websites, YouTube and through online ads, all of which were

15   intended to mislead prescribers and the public about the safety, efficacy and non-addictiveness of

16   opioids.

17           544.    Defendants also communicated by U.S. mail, by interstate facsimile and by interstate

18   electronic mail with various affiliates, regional offices, divisions, distributors, regulators and other third-

19   party entities in furtherance of the scheme. The mail and wire transmissions described in this complaint

20   were made in furtherance of defendants’ scheme and common course of conduct to deceive prescribers,

21   consumers and regulators, oversupply the market and fail to report suspicious sales.

22           545.    Many of the precise dates of the fraudulent uses of the U.S. mail and interstate wire

23   facilities have been concealed from San Francisco, and they cannot be alleged without access to

24   defendants’ books and records. However, San Francisco has described the types of predicate acts of

25   mail and/or wire fraud that occurred. The secretive nature of the Opioid Fraud Enterprise’s activities

26   made the unlawful tactics discussed in this complaint even more deceptive and harmful.

27           546.    The foregoing allegations support that: (a) the Marketing Defendants engaged in a pattern

28   of racketeering activity by repeatedly engaging in wire and mail fraud to deceptively market their

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 1   products through the use of both print and electronic outlets; and (b) all defendants engaged in a pattern

 2   of racketeering activity by repeatedly engaging in wire and mail fraud to deceive regulators and

 3   oversupply the market while failing to report suspicious sales.

 4          C.      Conspiracy Allegations
 5          547.    Defendants have not undertaken the practices described herein in isolation, but as part of

 6   a common scheme and conspiracy. In violation of 18 U.S.C. §1962(d) defendants conspired to violate

 7   18 U.S.C. §1962(c), as described in this complaint.

 8          548.    Defendants conspired to incentivize and encourage various other persons, firms and

 9   corporations, including third-party entities and individuals not named as defendants in this complaint,

10   to carry out offenses and other acts in furtherance of the conspiracy. Defendants conspired to increase

11   or maintain revenues, increase market share and/or minimize losses for defendants and their other

12   collaborators throughout the illegal scheme and common course of conduct. In order to achieve this

13   goal, defendants engaged in the aforementioned predicate acts on numerous occasions. Defendants,

14   with knowledge and intent, agreed to the overall objectives of the conspiracy and participated in the

15   common course of conduct to commit acts of fraud and indecency in defectively marketing and/or selling

16   opioids through the use of mail and wire fraud.

17          549.    Indeed, for the conspiracy to succeed, each defendant had to agree to deceptively market,

18   sell and/or distribute opioids while failing to report suspicious sales. The unanimity of the Marketing

19   Defendants’ marketing tactics and all defendants’ failure to report suspicious sales gave credence to

20   their misleading statements and omissions to prescribers, consumers and regulators, and directly caused

21   opioids to inundate the market in San Francisco.

22          550.    Defendants knew and intended that government regulators, prescribers, consumers and

23   governmental entities, including San Francisco, would rely on the collective material misrepresentations

24   and omissions made by them and the other Opioid Fraud Enterprise members about opioids and

25   suspicious sales. Defendants knew and recklessly disregarded the cost that would be suffered by the

26   public, including San Francisco.

27   //

28   //

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 1           551.    The Marketing Defendants knew that by partnering with the pain foundations and

 2   individual physicians who carried a more neutral public image, they would be able to attribute more

 3   scientific credibility to their products, thereby increasing their sales and profits.

 4           552.    Defendants also knew that by filling, and failing to report, suspicious sales, they would

 5   significantly increase their sales and profits.

 6           553.    The foregoing illustrates defendants’ liability under 18 U.S.C. §1962(d), by engaging in

 7   their pattern of racketeering and conspiring to achieve their common goal of maximizing opioid sales.

 8           554.    As described herein, defendants engaged in a pattern of related and continuous predicate

 9   acts for years. The predicate acts constituted a variety of unlawful activities, each conducted with the

10   common purpose of obtaining significant monies and revenues from consumers, based on defendants’

11   misrepresentations and omissions. The predicate acts also had the same or similar results, participants,

12   victims and methods of commission. The predicate acts were related and not isolated events. The

13   predicate acts all had the purpose of generating significant revenue and profits for defendants. The

14   predicate acts were committed or caused to be committed by defendants through their participation in

15   the Opioid Fraud Enterprise and in furtherance of their fraudulent scheme.

16           555.    As alleged in this complaint, scores of counties and municipalities, including San

17   Francisco, relied on defendants’ representations and omissions.

18           556.    San Francisco’s injuries were directly proximately caused by defendants’ racketeering

19   activity. But for defendants’ misstatements and omissions – and the scheme employed by the Opioid

20   Fraud Enterprise – San Francisco would not have been forced to bear the costs of the current opioid

21   epidemic.

22           557.    As a direct and proximate result of each defendant’s conduct and its pattern of

23   racketeering activity, San Francisco has been injured.

24           558.    Defendants’ violations of 18 U.S.C. §1962(c)-(d) have directly and proximately caused

25   injuries and damages to San Francisco, and San Francisco is entitled to bring this action for three times

26   its actual damages, as well as injunctive/equitable relief, costs and reasonable attorneys’ fees in

27   accordance with 18 U.S.C. §1964(c).

28   //

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 1                                        SIXTH CAUSE OF ACTION

 2                                                 Negligence
                                           (on Behalf of San Francisco)
 3                                           (Against All Defendants)

 4          559.    San Francisco incorporates herein by reference all of the allegations in this complaint.
 5          560.    Negligence is established where the defendant owes the plaintiff a duty of care, breaches
 6   that duty and the plaintiff sustains harm proximately caused by the defendant’s breach. A presumption
 7   of negligence (negligence per se) is established where a defendant’s negligence involves the violation
 8   of a statute or regulation, where plaintiff is within the class of persons that the statute or regulation was
 9   designed to protect and the violation is a substantial factor in the plaintiff’s harm.
10          561.    Each of the Marketing Defendants owed San Francisco duties under statutory and
11   common law, including: (a) the duty to comply with Cal. Bus. & Prof. Code §17200, et seq.’s prohibition
12   on unlawful, unfair or fraudulent business acts or practices, Cal. Bus. & Prof. Code §17500, et seq.’s
13   prohibition on the dissemination of untrue and misleading statements and the CLRA; (b) the duty to
14   promote and market prescription opioids truthfully and without misleading statements and omissions;
15   and (c) the duty to disclose the true risk of addiction associated with the use of prescription opioids.
16          562.    Each of the Marketing Defendants breached these duties by, among other things,
17   promoting and marketing the use of opioids in San Francisco for indications not federally approved,
18   circulating false and misleading information to prescribers, regulators and the public in San Francisco
19   concerning its products and downplaying or omitting the risk of addiction arising from their use.
20          563.    Each of the defendants owed San Francisco duties under statutory and common law,
21   including: (a) the duty not to fill suspicious or excessive orders; (b) the duty to abide by any government
22   agreements entered into regarding the same; and (c) the duty to comply with the federal CSA, 21 C.F.R.
23   §1301.74(b) and 16 C.C.R. §1782, as set forth above, and Cal. Bus. & Prof. Code §§4301 and 4164,
24   which required the design and operation of a system to detect and disclose suspicious orders of
25   controlled substances.
26          564.    Each of the defendants breached these duties by failing to design and operate a system
27   that would disclose the existence of suspicious orders of controlled substances in San Francisco and/or
28

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 1   by failing to report such suspicious orders to the appropriate regulators as required by state and federal

 2   law.

 3             565.   Each of the Wholesaler Defendants owed San Francisco additional duties under statutory

 4   law, including: (a) the duty under Cal. Health & Safety Code §11153.5 to ensure that all of the opioids

 5   they distributed and furnished for sale in California and its counties were furnished only for legitimate

 6   medical purposes; and (b) the duty under Cal. Bus. & Prof. Code §4169.1, which requires them to report

 7   suspicious orders of opioids.

 8             566.   Each Wholesaler Defendant breached these duties by failing to take any reasonable

 9   measures to ensure that the prescription opioids it distributed and furnished for sale in San Francisco

10   were furnished only for legitimate medical purposes and by failing to track and report suspicious sales.

11             567.   San Francisco was within the protected class of persons that the UCL, the CLRA, Cal.

12   Bus. & Prof. Code §§4301, 4164 and 17500, 21 C.F.R. §1301.74(b), Cal. Health & Safety Code

13   §11153.5 and 16 C.C.R. §1782 were designed to protect.

14             568.   San Francisco has suffered damages directly, proximately and foreseeably caused by

15   defendants’ breaches of their statutory and common law duties.

16             569.   Defendants’ negligent acts as set forth herein were made with oppression, fraud or

17   malice.

18                                      SEVENTH CAUSE OF ACTION
                                          Negligent Misrepresentation
19                                        (on Behalf of San Francisco)
                                       (Against the Marketing Defendants)
20

21             570.   San Francisco incorporates herein by reference all of the allegations in this complaint.
22             571.   A defendant is liable for negligent misrepresentation where, in the course of its business,
23   profession or employment, or in any other transaction in which it has a pecuniary interest, it supplies
24   false information for the guidance of others in their business transactions and where the defendant fails
25   to exercise reasonable care or competence in obtaining or communicating the false information at issue.
26             572.   The Marketing Defendants are liable for the pecuniary loss caused to San Francisco by
27   its justifiable reliance upon the information. In the course of their businesses, each Marketing Defendant
28   made and caused to be made affirmatively false statements about prescription opioids, including, but

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 1   not limited to, statements and omissions concerning the safety and efficacy of prescription opioids and

 2   the risk of addiction and overdose associated therewith. Each Marketing Defendant failed to exercise

 3   reasonable care and competence in communicating the false information.

 4           573.   Each Marketing Defendant wrongfully concealed the falsity of its statements, the truth

 5   about which San Francisco did not discover until recently despite exercising due diligence. San

 6   Francisco, San Francisco’s agents, persons on whom San Francisco and its agents justifiably relied and

 7   the public justifiably relied on the false information the Marketing Defendants provided, both directly

 8   and indirectly. As a result, San Francisco proceeded under the misapprehension that the opioid crisis

 9   was a result of conduct by persons other than defendants. As a result, San Francisco was prevented from

10   taking more effective and earlier steps to respond to the opioid crisis.

11           574.   Had San Francisco known the truth about the concealed facts, San Francisco would have

12   taken steps to correct the false and misleading information and also would not have authorized and paid

13   for certain prescription opioid treatments for its employees and inhabitants.

14           575.   Each Marketing Defendant’s dissemination of false statements demonstrated a conscious

15   disregard for the rights and safety of other persons that had a great probability of causing substantial

16   harm.

17           576.   As a direct and proximate result of the Marketing Defendants’ affirmatively false

18   statements, San Francisco suffered damages.

19                                      EIGHTH CAUSE OF ACTION
20                                         Fraudulent Concealment
                                         (on Behalf of San Francisco)
21                                    (Against the Marketing Defendants)

22           577.   San Francisco incorporates herein by reference all of the allegations in this complaint.

23           578.   At all times relevant, each Marketing Defendant concealed and intentionally failed to

24   disclose material facts known to it including that: (a) there was no basis for making claims as to

25   prescription opioids’ safety or efficacy for the treatment of certain indications for which each Marketing

26   Defendant promoted them; and (b) there was no basis for its representations concerning the risk of

27   addiction and overdose resulting from the use of prescription opioids, which each Marketing Defendant

28   substantially understated.

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 1           579.    Each Marketing Defendant intended the omission of the concealed facts to deceive San

 2   Francisco.

 3           580.    San Francisco was unaware of the concealed facts. San Francisco, its agents, and the

 4   public justifiably relied on the false information the Marketing Defendants provided to them both

 5   directly and indirectly, as the Marketing Defendants intended. As a result, San Francisco proceeded

 6   under the misapprehension that the opioid crisis was a result of conduct by persons other than defendants

 7   and was prevented from taking more effective and earlier steps to respond to the opioid crisis.

 8           581.    Had San Francisco known the truth about the concealed facts, San Francisco would have

 9   taken other steps to correct the false information and also would not have authorized and paid for certain

10   prescription opioid treatments for its employees and inhabitants.

11           582.    Each Marketing Defendant’s failure to disclose information about the true level of

12   addictiveness of prescription opioids deceived San Francisco and was a substantial factor in causing San

13   Francisco to pay for prescription opioids for uses that were not medically necessary.

14           583.    San Francisco was damaged due to its justified reliance on each of the Marketing

15   Defendant’s concealments, which were made with oppression, fraud or malice.

16                                           PRAYER FOR RELIEF
17           WHEREFORE, plaintiffs The City and County of San Francisco and The People of the State of

18   California pray that the Court render judgment in plaintiffs’ favor against defendants jointly and

19   severally, and grant the following relief to the full extent allowed under the law:

20           A.      Enjoin defendants from further false marketing and require they take affirmative action

21   to ameliorate the effects of their prior false marketing as set forth above;

22           B.      Enjoin defendants from failing to report suspicious orders as required by the federal CSA,

23   compliance with which is required under Cal. Bus. & Prof. Code §4301(o);

24           C.      Enjoin defendants from maintaining the public nuisance that defendants created or

25   assisted in the creation of;

26           D.      Order defendants, jointly and severally, to pay costs, losses and damages, general and

27   consequential, for injuries sustained as a proximate result of defendants’ unlawful conduct as set forth

28

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 1   herein, including restitution, disgorgement of unjust enrichment, exemplary damages, punitive damages

 2   and attorneys’ fees;

 3          E.      Award civil penalties of up to $2,500 per violation to The People of the State of California

 4   as permitted by law under Cal. Bus. & Prof. Code §§17204 and 17536;

 5          F.      Award treble damages, as well as costs and reasonable attorneys’ fees, in accordance

 6   with 18 U.S.C. §1964(c); and

 7          G.      Award any such further relief as this Court deems appropriate.

 8                                              JURY DEMAND
 9          Plaintiffs hereby demand trial by jury on all claims so triable.

10
      DATED: December 18, 2018                          DENNIS J. HERRERA
11                                                      CITY ATTORNEY
                                                        RONALD P. FLYNN
12                                                      YVONNE R. MERÉ
                                                        OWEN J. CLEMENTS
13                                                      JAIME M. HULING DELAYE
                                                        DEPUTY CITY ATTORNEYS
14

15
                                                                        /s/ Dennis J. Herrera
16                                                                     DENNIS J. HERRERA
                                                        Fox Plaza
17                                                      1390 Market Street, Sixth Floor
                                                        San Francisco, CA 94102
18                                                      Telephone: (415) 554-3944
                                                        Facsimile: (415) 437-4644
19                                                      Email: owen.clements@sfcityatty.org
20                                                      ROBBINS GELLER RUDMAN
                                                          & DOWD LLP
21                                                      AELISH M. BAIG
                                                        MATTHEW S. MELAMED
22                                                      Post Montgomery Center
                                                        One Montgomery Street, Suite 1800
23                                                      San Francisco, CA 94104
                                                        Telephone: (415) 288-4545
24                                                      Facsimile: (415) 288-4534
                                                        Email: aelishb@rgrdlaw.com
25                                                      mmelamed@rgrdlaw.com
26

27

28

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 1                                        ROBBINS GELLER RUDMAN
                                            & DOWD LLP
 2                                        PAUL J. GELLER
                                          MARK J. DEARMAN
 3                                        DOROTHY P. ANTULLIS
                                          120 East Palmetto Park Road, Suite 500
 4                                        Boca Raton, FL 33432
                                          Telephone: (561) 750-3000
 5                                        Facsimile: (561) 750-3364
                                          Email: pgeller@rgrdlaw.com
 6                                        mdearman@rgrdlaw.com
                                          dantullis@rgrdlaw.com
 7
                                          ROBBINS GELLER RUDMAN
 8                                          & DOWD LLP
                                          THOMAS E. EGLER
 9                                        CARISSA J. DOLAN
                                          655 West Broadway, Suite 1900
10                                        San Diego, CA 92101
                                          Telephone: (619) 231-1058
11                                        Facsimile: (619) 231-7423
                                          Email: tome@rgrdlaw.com
12                                        cdolan@rgrdlaw.com
13                                        LIEFF, CABRASER, HEIMANN
                                            & BERNSTEIN, LLP
14                                        ELIZABETH J. CABRASER
                                          275 Battery Street, 29th Floor
15                                        San Francisco, CA 94111-3339
                                          Telephone: (415) 956-1000
16                                        Facsimile: (415) 956-1008
                                          Email: ecabraser@lchb.com
17
                                          LIEFF, CABRASER, HEIMANN
18                                          & BERNSTEIN, LLP
                                          PAULINA DO AMARAL
19                                        250 Hudson Street, 8th Floor
                                          New York, NY 10013
20                                        Telephone: (212) 355-9500
                                          Facsimile: (212) 355-9592
21                                        Email: pdoamaral@lchb.com
22                                        RENNE PUBLIC LAW GROUP
                                          LOUISE RENNE
23                                        350 Sansome Street, Suite 300
                                          San Francisco, CA 94104
24                                        Telephone: (415) 848-7240
                                          Facsimile: (415) 848-7230
25                                        Email: lrenne@publiclawgroup.com
26

27

28

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 1                                        ANDRUS ANDERSON LLP
                                          JENNIE LEE ANDERSON
 2                                        PAUL LAPRAIRIE
                                          155 Montgomery Street, Suite 900
 3                                        San Francisco, CA 94104
                                          Telephone: (415) 986-1400
 4                                        Facsimile: (415) 986-1474
                                          Email: jennie@andrusanderson.com
 5                                        paul.laprairie@andrusanderson.com
 6                                        SANFORD HEISLER SHARP, LLP
                                          KEVIN SHARP
 7                                        611 Commerce Street
                                          Suite 3100
 8                                        Nashville, TN 37203
                                          Telephone: (615) 434-7000
 9                                        Facsimile: (615) 434-7020
                                          Email: ksharp@sanfordheisler.com
10
                                          SANFORD HEISLER SHARP, LLP
11                                        EDWARD CHAPIN
                                          655 West Broadway, Suite 1700
12                                        San Diego, CA 92101
                                          Telephone: (619) 577-4253
13                                        Facsimile: (619) 577-4250
                                          Email: echapin2@sanfordheisler.com
14
                                          CASEY GERRY SCHENK
15                                         FRANCAVILLA
                                           BLATT & PENFIELD LLP
16                                        DAVID S. CASEY, JR.
                                          GAYLE M. BLATT
17                                        ALYSSA WILLIAMS
                                          110 Laurel Street
18                                        San Diego, CA 92101-1486
                                          Tel: 619.238.1811
19                                        Fax: 619.544.9232
                                          Telephone: (619) 238-1811
20                                        Facsimile: (619) 544-9232
                                          Email: dcasey@cglaw.com
21                                        gmb@cglaw.com
                                          awilliams@cglaw.com
22
                                          WEITZ & LUXENBERG P.C.
23                                        ELLEN RELKIN
                                          PAUL PENNOCK
24                                        700 Broadway
                                          New York, NY 10003
25                                        Telephone: (212) 558-5500
                                          Facsimile: (212) 344-5461
26                                        Email: erelkin@weitzlux.com
                                          ppennock@weitzlux.com
27

28

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 1                                        WEITZ & LUXENBERG P.C.
                                          MELINDA DAVIS NOKES
 2                                        1880 Century Park East
                                          Los Angeles, CA 90067
 3                                        Telephone: (310) 247-0921
                                          Facsimile: (310) 786-9927
 4                                        Email: mnokes@weitzlux.com
 5                                        Attorneys for Plaintiffs
                                          CITY AND COUNTY OF SAN FRANCISCO and
 6                                        THE PEOPLE OF THE STATE OF
                                          CALIFORNIA, acting by and through San
 7                                        Francisco City Attorney DENNIS J. HERRERA
 8

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